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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 Palm Beach County Division



  ROGELIO LUIS NORES,                                                   Case No.
                      Plaintiff,
  v.

  GEOFF PAYNE,
                  Defendant
  _________________________________________
             COMPLAINT FOR DEFAMATION AND DECLARATORY RELIEF

       Plaintiff Rogelio Luis Nores, an individual (“Plaintiff”) brings this action against Geoff Payne,

  an individual (“Defendant Geoff”) and alleges as follows:

                                         INTRODUCTION
       Plaintiff brings this defamation claim and declaratory judgement action against Defendant Geoff

  arising from the May – September 2024 activities in Wellington, Florida (Palm Beach County) of

  Defendant Geoff and other persons. Liam Payne (deceased October 16, 2024) was a member of the

  globally famous One Direction music group and subsequently a globally famous solo entertainment

  artist. Liam was an incredible individual. Liam and Plaintiff were mutual dear friends. Predicated on

  and arising from Defendant Geoff’s and other peoples’ 2024 activities in Palm Beach County,

  Defendant Geoff published Two Sworn Declarations which are false and constitute defamation of

  Plaintiff. Defendant Geoff’s defamation of Plaintiff has had a Palm Beach County defamatory adverse

  impact/injury on Plaintiff and Plaintiff’s reputation of mega proportions with extensive damages1 all

  which were done negligently, with intent, recklessly and/or malice ill will by Defendant Geoff the

  results of which were all known to and foreseeable by Defendant Geoff.



  1
   Plaintiff will donate net financial proceeds of the judicial proceedings for the benefit of Liam
  Payne’s son – Bear Payne
                                                                                                      1
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                                           JURISDICTION/VENUE

         1.             (a) This Court has subject matter jurisdiction over this matter pursuant to 28

  U.S.C. § 1332(a) because there is complete diversity of citizenship between the parties and the

  amount in controversy exceeds $75,000, exclusive of interest and costs. Plaintiff is a United States

  citizen resident in Miami, Florida. Defendant Geoff is a United Kingdom citizen resident in England.

         2.         This Court has personal jurisdiction over Defendant Geoff under the U.S.

  Constitution, the Florida Constitution and pursuant to Florida Statute § 48.193(1)(a)(2) and his

  substantial physical presence in Palm Beach County, Florida from which Plaintiff’s claims arise.

         3.         Defendant Geoff has submitted himself to the Court’s jurisdiction by his acts and

  substantial physical presence in Palm Beach County, Florida and the publication of the false Relevant

  Content information and statements in Defendant Geoff’s Two Sworn Declarations [See Paragraphs

  71, 72, 73, and 74 of this Complaint], which were published in Palm Beach County, Florida and

  accessible in Palm Beach County Florida, from which Plaintiff’s claims arise. (Exhibit G and as

  alleged herein). As alleged herein, Defendant Geoff’s Palm Beach activities include, among others:

              (a)       (i) May – July 2024 – a 10+ week physical presence in Palm Beach County,

                        Florida, and interactions in Palm Beach County with Liam Payne (deceased son

                        of Defendant Geoff) (“Liam”), Katelyn (Kate) Cassidy (Liam girlfriend), Bledar

                        Vata (Liam bodyguard) and Plaintiff, (ii) interactions with and/or failure to

                        interact with Liam’s professional doctors, psychiatrists, therapists, addiction

                        experts, and other medical specialists in and from Palm Beach County, and (iii)

                        interactions with other persons in Palm Beach County who interacted with

                        Defendant Geoff, Liam, Kate Cassidy (girlfriend) and Bledar Vata (bodyguard);

                        and (iv) knowledge created, learned, and retained2 during the 10+ week stay in


  2
    This also includes (1) the statements and contents in Defendant Geoff’s Two Sworn Declarations
  that were not based on personal knowledge and (2) the material omissions from Defendant Geoff’s
  Two Sworn Declarations.
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                    Palm Beach County which are the predicate/foundation for the false Relevant

                    Contents information and statements [see paragraphs 71, 72 and 73 of this

                    Complaint] of Defendant Geoff’s October 22, 2024 1st Sworn Declaration

                    (Exhibit J) and October 25, 2024 2nd Sworn Declaration (Exhibit K) (collectively

                    “Defendant Geoff’s Two Sworn Declarations” or “Two Sworn Declarations”3)

                    (collectively referred to “Defendant Geoff’s Palm Beach Presence Activities”).

             (b)    Defendant Geoff’s wrongful activities, tortious activities and unlawful,

                    defamation publication predicated on Defendant Geoff’s Palm Beach Presence

                    Activities and Defendant Geoff’s publication of the false Relevant Contents

                    information and statements [see paragraphs 71, 72 and 73 of this Complaint] of

                    Defendant Geoff’s Two Sworn Declarations (Exhibits J and K) which were

                    published in Palm Beach County/Florida and accessed by persons in the Palm

                    Beach County/Florida, caused injury and damages to Plaintiff in Palm Beach

                    County/Florida (Exhibit G and as alleged herein); and

             (c)     Defendant Geoff’s Palm Beach Presence Activities, conduct, publication,

                    access, and defamation and injury of Plaintiff in Palm Beach County, Florida are

                    the proximate cause of Plaintiff’s injury and damages incurred by Plaintiff in

                    Palm Beach County. Defendant Geoff’s Palm Beach Presence Activities and

                    Defendants Geoff’s publication of Defendant Geoff’s Two Sworn Declarations

                    [see paragraphs 71, 72 and 73 of this Complaint] (Exhibits J and K), which were

                    published in Palm Beach County/Florida and were accessible from Palm Beach

                    County/ Florida, give rise to Plaintiff’s cause of action against Defendant Geoff

                    in Palm Beach County, Florida. See Exhibits E, F, and G.



  3
    The Two Sworn Declarations of Defendant Geoff are internally inconsistent and self
  incriminating for Defendant Geoff.
                                                                                                   3
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              (d)       At the time of Defendant’s publication and re-publication of the false Relevant

                        Contents information and statements [see Paragraphs 71, 72 and 73 of this

                        Complaint, Defendant Geoff knew or should have known that the described parts

                        of the Two Sworn Declarations were false, misleading, omitted material

                        information which made them false and/or misleading, and/or were not made on

                        personal knowledge. Defendant Geoff’s Two Sworn Declarations caused a

                        tortious act in Palm Beach County/Florida and constitutes publication in Palm

                        Beach County, and defamation against Plaintiff, causing injury and damages to

                        Plaintiff and Plaintiff’s reputation in Palm Beach County/Florida and elsewhere.

         4.         Venue is proper in Palm Beach County, Florida, pursuant to 28 U.S.C. 1391. The

  cause of action arises from and accrued in Palm Beach County, Florida:

              (a)       May – July 2024 10+ week physical presence constituting Defendant Geoff’s

                        Palm Beach Presence Activities are the predicate for and give rise to Plaintiff’s

                        claims alleged herein;

              (b)       Defendant Geoff’s wrongful activities, tortious activities and unlawful,

                        defamation publication predicated on Defendant Geoff’s Palm Beach Presence

                        Activities and Defendant Geoff’s publication of the false Relevant Contents

                        information and statements [see Paragraphs 71, 72 and 73 of this Complaint] of

                        the Two Sworn Declarations were published in Palm Beach County/Florida and

                        accessible by persons in Palm Beach County/Florida (Exhibit G and as alleged

                        herein); and

              (c)       Defendant Geoff’s injury and damages imposed on and incurred by Plaintiff in

                        Palm Beach County arising from Defendant Geoff’s Palm Beach Presence

                        Activities and Defendant Geoff’s publication of Defendant Geoff’s Two Sworn

                        Declarations and Relevant Content information and statements [see paragraphs


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                      71, 72 and 73 of this Complaint] which were published in and which were

                      accessible from Palm Beach County/Florida (Exhibit G and as alleged herein),

                      give rise to Plaintiff’s cause of action against Defendant Geoff in Palm Beach

                      County, Florida.

              (d)     Defendant’s publication and re-publication of the false Relevant Contents

                      information and statements [see Paragraphs 71, 72 and 73 of this Complaint] was

                      done negligently, intentionally, recklessly, and/or with malice ill will and

                      Defendant Geoff knew or should have known the described parts of the Two

                      Sworn Declarations were false, misleading, not made on personal knowledge,

                      and/or omitted material information which made them false and misleading.

                      Defendant Geoff’s Two Sworn Declarations caused a tortious act in Palm Beach

                      County, Florida and constitutes defamation against Plaintiff, causing injury and

                      damages to Plaintiff in Palm Beach County, Florida and elsewhere.

         5.           Defendant Geoff’s Palm Beach Physical Presence Activities and Defendant

  Geoff’s interaction with Plaintiff in Palm Beach County formed the predicate for the false Relevant

  Contents information and statements [see Paragraphs 71, 72 and 73 of this Complaint] contained in

  Defendant Geoff’s Two Sworn Declarations and Defendant Geoff’s publication of the defamatory

  information and statements and foreseeable re-publication in Palm Beach County, Florida and

  caused injury and damages to Plaintiff and Plaintiff’s reputation in Palm Beach County, Florida.

         6.           Plaintiff has suffered substantial defamation and reputational injury and

  damages in Florida, including Palm Beach County, Miami Dade County, and elsewhere from the

  false defamatory Relevant Contents information and statements [see paragraphs 71, 72 and 73 of

  this Complaint] of Defendant Geoff’s Two Sworn Declarations (Exhibits J and K) the information

  and statements of which were published in Palm Beach County, Florida and accessible by persons

  in Palm Beach County, Florida (Exhibit G and as alleged herein).


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         7.          In June - July 2024, Liam made the decision to move to Palm Beach County,

  commenced moving his business and operating structure to Palm Beach County, opened a bank

  account in Palm Beach County, Florida, and signed, in July 2024, a one year lease [See Exhibit H]

  on a residence in Wellington, Florida (Palm Beach County). Liam lived in Palm Beach County

  from mid-May – late July and September 2024 related to the matters in this Complaint which form

  the predicate for and are the basis for the Relevant Contents information and statements [see

  paragraphs 71, 72, and 73 of this Complaint] in the Two Sworn Declarations.

         8.          The Southern District of Florida (West Palm Beach Division) is a convenient

  forum for Plaintiff, Defendant Geoff, documents, physical inspection of premises, and all relevant

  witnesses (including all medical persons4 related to and who treated Liam, local persons who

  interacted with Defendant Geoff, Liam, Kate Cassidy (girlfriend), Bledar Vata (bodyguard) and

  others – all in Palm Beach County, Florida.

         9.          By Defendant Geoff’s Palm Beach Presence Activities in Palm Beach County,

  Defendant Geoff has submitted himself to the jurisdiction of the Courts in Palm Beach County,

  Florida.

         10.         By Defendant Geoff’s publication and foreseeable republication of the false

  Relevant Contents information and statements contained in Defendant Geoff’s Two Sworn

  Declarations (Exhibits J and K) in Palm Beach County, Defendant Geoff has submitted himself to

  the jurisdiction of the Courts in the Palm Beach County, Florida.




  4
    A crux of one of the most fallacious Defendant Geoff false statements is on Page 2, line 27-36
  (Spanish version) and page 2 , line 10-18 (English version) of his 2nd Sworn Declaration where he
  falsely and without any personal knowledge or independent corroboration states that Plaintiff and
  Liam visited in September 2024 “another psychiatrist” in Palm Beach County. This statement is
  complete fiction. This is a defamation per se statement by Defendant Geoff. Defendant Geoff’s
  published and republished defamatory statements constitute defamation per se. See Paragraphs 71,
  72, and 73 of this Complaint. Defendant Geoff omitted the August 23-26, 2024 emails [see Exhibit
  I] with Plaintiff in which Plaintiff categorically stated he would not provide any care support for
  Liam other than Plaintiff’s continuing dear friendship. See Paragraph 73 of this Complaint.
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                                              PARTIES

  Plaintiff

          11.            Plaintiff was born in the United States and is a United States citizen and is

  resident of Miami-Dade County, Florida.          Plaintiff is an international energy and industrial

  business person based in the United States.

          12.            Since 2020, Plaintiff was a dear friend of Liam and Liam was a dear friend of

  Plaintiff. As dear friends, each of Liam and Plaintiff provided the other with dear friendship, dear

  friend companionship and dear friend support in business and personal life. Neither Liam nor

  Plaintiff was the caretaker of the other. Neither Liam nor Plaintiff had any custody or control over

  the other. Neither Liam nor Plaintiff had a duty of care with the other. Neither Liam nor Plaintiff

  paid the other money.

          13.            Between mid-May – September 2024, at relevant times, Plaintiff was present

  in Palm Beach County with Defendant Geoff, Liam, Kate Cassidy (girlfriend) and Bledar Vata

  (bodyguard).

  Defendant

          14.            Defendant Geoff Payne (“Defendant Geoff”) is a United Kingdom citizen and

  resident of England.

          15.            Between mid-May – mid-July 2024 – 10+ weeks, Defendant Geoff engaged in

  Defendant Geoff’s Palm Beach Presence Activities in Palm Beach County with Liam, Kate Cassidy

  (girlfriend), Bledar Vata (bodyguard) and Plaintiff.

          16.            Defendant Geoff participated in the preparation of, signed, and did publish and

  re-publish the false Relevant Content information and statements [see Paragraphs 71, 72 and 73 of

  this Complaint] of (1) the October 22, 2024 1st Defendant Geoff Sworn Declaration (Exhibit J) and

  (2) the October 25, 2024 2nd Defendant Geoff Sworn Declaration (Exhibit K) which are predicated

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  on Defendant Geoff’s Palm Beach Presence Activities, Liam’s activities in Palm Beach County, Kate

  Cassidy’s (girlfriend) actions, Bledar Vata (bodyguard) actions and all related persons’ activities in

  Palm Beach County, including Plaintiff’s. Defendant Geoff negligently, knowingly, intentionally,

  with reckless disregard and/or malice for the accuracy and truth, published defamatory statements of

  Plaintiff defamed and damaged Plaintiff in Palm Beach County, Florida, and created defamation

  damages for Plaintiff in Palm Beach County, Florida.

         17.          Defendant Geoff’s false Relevant Contents information and statements [see

  Paragraphs 71, 72 and 73 of this Complaint] in Defendant Geoff’s Two Sworn Declarations were

  published and re-published in Palm Beach County/Florida and were accessible by persons in Palm

  Beach County, Florida. With the signing of Defendant Geoff’s Two Sworn Declarations, Defendant

  Geoff published and re-published the false Relevant Content information and statements [see

  Paragraphs 71, 72 and 73 of this Complaint] of Defendant Geoff’s Two Sworn Declarations and did

  reasonably foresee the continuous publication and republication of the false Relevant Content

  information and statements in Palm Beach County. Defendant Geoff knew or should have known that

  his actions would defame, injure, and damage Plaintiff and Plaintiff’s reputation in Palm Beach

  County, Florida, Nationally and Globally.

         18.          Exhibit F contains a sampling of media articles with defamatory information,

  statements and content published and re-published which were predicated on and taken from

  Defendant Geoff’s Two Sworn Declarations establishing that Defendant Geoff’s [false] defamatory

  statements against Plaintiff arose during and are anchored: (i) in Defendant Geoff’s Palm Beach

  Presence Activities in May 2024, (ii) in Liam’s May – September 2024 activities in Palm

  Beach/Florida, (iii) in Kate Cassidy’s (girlfriend) May – September 2024 activities in Palm Beach

  County/Florida, (iv) in Bledar Vata (bodyguard) May – September 2024 activities in Palm Beach

  County/Florida, (v) in Plaintiff’s May – September 2024 activities in Palm Beach County/Florida,

  (vi) Liam’s medical professionals May – September activities in and from Palm Beach


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  County/Florida, and (vii) all other relevant persons they interacted with in Palm Beach County:

               (a)       TMZ- November 26, 2024 – “According to the docs, Liam's dad was

                         interviewed by authorities and said in May 20245, Roger volunteered to take

                         over Liam’s care and arrange to put him in rehab”

               (b)       New York Post – November 26, 2024 - Authorities interviewed Liam Payne’s

                         father, who said that Nores volunteered to take over as Liam Payne’s caretaker

                         in May 6and arrange for him to go to rehab, as the documents state.

               (c)       Each of Defendant Geoff’s alleged activities about Plaintiff allegedly occurred in

                         or arose from Palm Beach County, Florida during Defendant Geoff’s Palm Beach

                         Physical Presence Activities and other activities between Plaintiff and Defendant

                         Geoff, Kate Cassidy (girlfriend), Bledar Vata (bodyguard), all arising from Palm

                         Beach County, Florida.

               (d)       The false Relevant Content information and/or statements [see Paragraphs 71, 72

                         and 73 of this Complaint] from the Two Sworn Declarations (Exhibits J and K)

                         were published and re-published in Palm Beach County, Florida and accessible

                         from Palm Beach County, Florida.



                                                OVERVIEW

         19.         Liam Payne (“Liam”) was an incredible artist and, more importantly, and incredible

  individual. Liam was Defendant Geoff’s son. Since 2020, Liam and Plaintiff were mutual dear

  friends.



  5
     In May – July 2024, Defendant Geoff, Liam, Kate Cassidy (girlfriend), Bledar Vata (bodyguard)
  and Plaintiff lived in Palm Beach County, Florida.
  6
    In May – July 2024, Defendant Geoff, Liam, Kate Cassidy (girlfriend), Bledar Vata ( bodyguard)
  lived in Palm Beach County, Florida. In September 2024 Liam, Kate Cassidy (girlfriend) and
  Bledar Vata (bodyguard) lived in Palm Beach County, Florida at Liam’s residence.

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          20.          Liam was an internationally acclaimed music artist of significant global fame

   and success. Liam was a member of the globally famous One Direction music group. Liam and

   or the music group reportedly sold more than 60 million albums as part of the global phenomena

   One Direction and reportedly sold more than 2 million albums as a single artist.

          21.          It was widely reported and publically acknowledged by Liam (1) that he

   developed a long term addiction to recreational drugs and alcohol, (2) was in and out of, over a

   long term period, addiction treatment programs some of which he finished and some of which he

   did not complete, and (3) that he alternatively followed and did not follow medical advice of his

   evolving medical team [consisting of addiction therapist, psychiatrists and other doctors, other

   professional addiction specialists, and treatment centers] from year to year7.

          22.          In 2020, Plaintiff and Liam became friends and were, as dear friends,

   supportive of each other. That mutual dear friendship between Plaintiff and Liam continued to the

   date of Liam’s tragic death – October 16, 2024.

          23.          Since 2020, Plaintiff was a dear friend of Liam and Liam was a dear friend of

   Plaintiff. As dear friends, Liam and Plaintiff each provided the other with dear friendship, dear

   friend companionship and dear friend support in personal life and in business life.

          24.          Plaintiff had a dear mutual friendship with Liam and as a dear friend sought to

   be supportive of Liam. Plaintiff was never a caretaker of Liam in any respect and never had a legal

   duty of care to Liam. Plaintiff never had custody and/or control over Liam in any respect. Liam

   was an independent adult person who made all his own decisions.

          25.          Between mid-May – late July 2024, Defendant Geoff and Liam decided to seek

   privacy together in Wellington, Florida and moved to Wellington, Florida for 10+ weeks.8


   7
     See Pages 20-21 of Defendant Geoff’s 1st Sworn Declaration (Exhibit J) in which Defendant
   Geoff states that in April – May 2024 before coming to Palm Beach County, Liam was under
   hospital care for addiction issues.
   8
     In June - July 2024, Liam decided to become a resident of Florida and signed a one year lease on
   his residence in Wellington, Florida. See Exhibit H.
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   Defendant Geoff and Liam were accompanied by Kate Cassidy (girlfriend), and Bledar Vita

   (bodyguard). Plaintiff joined Liam and Defendant Geoff in Wellington, Florida during this 10+

   week time-period. In September 2024, Kate Cassidy (girlfriend) returned to and lived together

   with Liam in Wellington, Florida at Liam’s residence as did Bledar Vata.

          26.          In late July – August 2024, Defendant Geoff and Liam traveled to England and

   Liam subsequently traveled to Europe. Plaintiff did not travel with Defendant Geoff and/or Liam

   to England.

          27.          In June – July 2024, Liam:

                 (a)   decided to move to and reside in Wellington, Florida;

                 (b)   signed (July 2024) a one year lease and rented a house, as his residence, in

                       Wellington, Florida – See Exhibit H;

                 (c)   opened a bank account in Palm Beach County;

                 (d)   had video calls with his professional support staff/advisors to structure and to

                       organize (i) the transfer of Liam’s business structure and operations to Palm

                       Beach County and (ii) his new residency in Wellington, Florida. Exhibit L.

          28.          In September 2024, Liam, Kate Cassidy (girlfriend) and Bledar Vata

   (bodyguard) returned to Wellington, Florida. They lived in Liam’s house in Wellington, Florida

   with Liam.

          29.          Liam suffered a tragic death in Buenos Aires, Argentina on October 16, 2024

   after reportedly being forcibly removed from his hotel lobby [Hotel #3] by hotel personnel and

   locked in his hotel room by hotel personnel. Plaintiff was not at Hotel #3 when this tragic incident

   occurred.

          30.          Plaintiff did not stay or live at Liam’s Wellington residence. Plaintiff never

   stayed or lived with Liam in Hotel #1, Hotel #2 (rental), and/or Hotel #3, located in Buenos Aries,

   Argentina.


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          31.          In October 2024, Defendant Geoff participated in the preparation of, signed,

   and published the Exhibit J 1st Defendant Geoff Sworn Statement and the Exhibit K 2nd Defendant

   Geoff Sworn Statement, both of which contain the false Relevant Contents information and

   statements which Defendant Geoff knew or should have known were inaccurate and false, and

   done negligently, with intent, reckless, and/or with malice [see Paragraphs 71, 72 and 73 of this

   Complaint].

          32.          The Florida and global media coverage of the publication and re-publication

   of the Defendant Geoff Two Sworn Declarations contents, information, and statements (including

   the false Relevant Contents of each) has been widely reported on all forms of media publishing

   including the internet, published in Palm Beach County, Florida and accessible by Palm Beach

   County, Florida residents. See Exhibits E, F, and G.

          33.          Plaintiff has been damaged in Palm Beach County, Florida by the false

   Relevant Contents information and statements [see Paragraphs 71, 72 and 73 of this Complaint] in

   the Defendant Geoff Two Sworn Declarations. The false Relevant Contents information and

   statements [see Paragraphs 71, 72 and 73 of this Complaint] of Defendant Geoff Two Sworn

   Declarations are the proximate cause of Plaintiff’s damages. Defendant Geoff published and re-

   published the Defendant Geoff Two Sworn Declaration, was negligent, acted with intent, acted

   with reckless disregard for the accuracy and truth of his statements, acted with malice ill will with

   intent to damage Plaintiff, and Defendant Geoff could reasonably foresee that his published and

   republished information and statements [see Paragraphs 71, 72 and 73 of this Complaint] would

   be published in Palm Beach County, Florida, nationally, and globally and republished and would

   cause injury and damage to Plaintiff on a daily basis.

          34.          On January 8, 2025, Plaintiff sent Defendant Geoff the Exhibit D demand and

   defamation retraction letter (“Plaintiff’s Demand Letter”). As of the filing of this Complaint,

   Defendant Geoff has not retracted or corrected the false Relevant Contents information and


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   statements of the Defendant Geoff Two Sworn Declarations [see Paragraphs 71, 72, and 73 of this

   Complaint]. On January 10, 2025, counsel for Defendant Geoff responded and declined to retract.

   See Exhibit N. On January 13, 2025, Plaintiff sought any information that Defendant Geoff has to

   establish the contents of the January 8, 2025 letter (Exhibit D) and contents of this Complaint are

   not accurate and requested the result of any due diligence review done by Defendant Geoff and/or

   his counsel that determines the veracity of Defendant Geoff’s Two Sworn Declarations and

   independent corroboration. See Exhibit O. As of the filing of this Complaint, Plaintiff has not

   received a response.

          35.          Exhibits A, B, and C contain three demonstrative charts: Exhibit A identifying

   persons involved and relationships; Exhibit B providing a summary timeline for the Palm Beach

   County [which are the predicate of Plaintiff’s defamatory claims] and other activities; and Exhibit

   C providing a summary of certain defamatory false statements, omissions and statements made

   with no personal knowledge by Defendant Geoff.

                                                 FACTS

   Liam Payne Overview

          36.          Liam was an internationally acclaimed artist of significant global fame and

   success. Liam was a member of the globally famous One Direction music group and subsequently

   an acclaimed individual artist. At age 31, Liam met a tragic death on October 16, 2024.

          37.          The tragic death of Liam has had significant global media coverage, significant

   United States media coverage, and significant Florida & Palm Beach County9 media coverage,

   including Liam’s tragic death, the Relevant Contents information and statements of Defendant

   Geoff’s Two Sworn Declarations [see Paragraphs 71, 72, and 73 of this Complaint], Plaintiff, and


   9
     On January 17, 2025 an event is being held in West Palm Beach to honor Liam: “Welcome to
   One Direction Night - All For Liam! Join us on January 17th at The Banyan Live in West Palm
   Beach for a night filled with all your favorite One Direction hits in honor of Liam Payne. Get ready
   to dance and sing along to all the iconic songs that made One Direction a global sensation. Lets
   come together to show our love and support for Liam! See you there!”
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   related matters all of which were published in Palm Beach County/Florida and accessible by

   persons in Palm Beach County/Florida.

                (a)   Exhibit E shows that the name Liam Payne was (i) the 5th most searched name

                      on Google in 2024 and (ii) the 1st name search of any person passing in 2024.

                (b)   Exhibit E shows that Plaintiff ‘s name search was extraordinarily low except

                      December 27+/-, 2024 and January 7+/-, 2025.

                (c)   Exhibit F contains a summary sampling of relevant media coverage tied to the

                      false Relevant Content information and statements [see Paragraphs 71, 72 and

                      73 of this Complaint] of Defendant Geoff’s Two Sworn Declarations arising

                      from Defendant Geoff’s Palm Beach Presence Activities which, when

                      published, Defendant Geoff knew or should have known were false and were

                      published with malice ill will, which caused damage to Plaintiff and Plaintiff’s

                      reputation.

          38.         Liam was in Wellington, Florida (Palm Beach County) between mid-May –

   late September 2024, except in late July/August when he departed to UK and Europe.

          39.         On July 30, 2024, Liam and Alan McEvoy (UK accountant to Liam) and others

   had a call to discuss Liam’s decision to move his residence to Wellington, Florida, move his

   business structure and operations to Palm Beach County, Florida and for Liam to be a resident of

   Palm Beach County Florida. See Exhibit L.

          40.         Dated July 2024, Liam signed a one-year lease of a residence in Wellington,

   Florida. See Exhibit H. In September 2024, Kate Cassidy (girlfriend) and Bledar Vata (bodyguard)

   lived with Liam at the Wellington address. During May – September 2024 (except August), there

   were many local persons, including Liam’s medical advisors who interacted with each of Liam,

   Kate Cassidy (girlfriend), and Bledar Vata (bodyguard) in Wellington, Florida and Palm Beach

   County.


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          41.           In September 2024, Liam opened a bank account at a bank in Palm Beach

   County, Florida.

          42.           During the mid-May – late September 2024 time period, Plaintiff spent more

   than 10+ weeks with Defendant Geoff, Liam, Kate Cassidy (girlfriend), Bledar Vata ( bodyguard)

   and others living in Wellington Florida (Palm Beach County) resulting in Liam deciding to move

   his residency and his business operations and structure to Palm Beach County.

   Plaintiff and Liam Payne Mutual Friend Relationship

          43.           On or about 2020, Plaintiff and Liam met and became dear friends.

          44.           Plaintiff and Liam, as dear friends, supported each other as dear friends.

          45.           Plaintiff was never the caretaker of Liam. Plaintiff did not have custody and/or

   control over Liam in any respect. Plaintiff was not the caretaker of Liam at any time, including

   between May – October 2024. Plaintiff was not the caretaker of Liam on October 16, 2024. At all

   times, Liam made his own independent decisions.

          46.           Liam was not the caretaker of Plaintiff. Liam did not have a duty of care to

   Plaintiff. Liam did not have custody and/or control over Plaintiff in any respect.

          47.           Plaintiff was never paid by Liam for anything. Plaintiff was not employed by

   or an independent contractor of Liam. Plaintiff did not have custody or control of Liam’s finances.

          48.           Plaintiff never provided Liam with recreational drugs or any restricted

   medicines. Plaintiff never had custody or control over any recreational drugs of or any restricted

   medicines of Liam.

   Defendant Geoff and Kate Cassidy (girlfriend) Care Status with Liam

          49.           In Defendant Geoff’s Two Sworn Declarations (Exhibits J and K), Defendant

   Geoff self-declared himself to be the caretaker of Liam.10      Defendant Geoff had the capacity,



   10
      In Pages 20-21 of the Exhibit J 1st Defendant Geoff Sworn Declaration, Defendant Geoff so
   states and on page 22 Defendant Geoff stated he supervised Liam drinking alcohol.
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   opportunity, and superior knowledge of Liam’s personal activities to assist and to meet Liam’s

   needs.

            50.        During the September – October 2024, time period, Kate Cassidy (girlfriend)

   lived with Liam in Wellington, Florida and lived with Liam in Argentina [at Hotel #1, and Hotel

   #2 [rental] until she wanted to go home from Argentina and departed. Kate Cassidy (girlfriend)

   had the capacity, opportunity, and superior knowledge of Liam’s personal activities to assist and

   to meet Liam’s needs. On information and belief, in October 2024, Defendant Geoff took no action

   to provide medical care to Liam and/or to make certain that Liam was not alone.

   Defendant Geoff Payne and Liam Payne in South Florida Mid-May – Late July 2024

            51.        As further detailed in Paragraphs 36 - 42 and established by Exhibit H, from

   mid-May 2024 to late July 2024, Liam lived in Palm Beach County Florida with Defendant Geoff

   and Kate Cassidy (girlfriend) and Bledar Vata (bodyguard) for the purpose of looking after Liam.

   Defendant Geoff, Liam, and others were in South Florida together for approximately 10+ weeks.

   Liam Payne With Defendant Geoff in England – July – August 2024

            52.        On or about late July 2024, Defendant Geoff and Liam departed South Florida

   for England and were together in England during July - August 2024.

            53.        During the time Liam was in England with Defendant Geoff, and as caretaker

   of Liam, continued to look after Liam. 11

   Liam Payne in South Florida – September 2024

            54.        On or about early September 2024, Liam returned to Florida staying at his

   residence in Wellington, Florida with Kate Cassidy (girlfriend) and Bledar Vata (bodyguard).

   Plaintiff did not stay at Liam’s Wellington residence.

            55.        Liam directed, at all relevant times, the payment of a monthly allowance and



   11
     In Pages 20-21 Exhibit J 1st Defendant Geoff Sworn Declaration, Defendant Geoff so states and
   on page 22 Defendant Geoff stated he supervised Liam drinking alcohol
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   financial expenses to Kate Cassidy (girlfriend).

            56.         In September 2024, Kate Cassidy (girlfriend) lived with and stayed with Liam

   at Liam’s Wellington Florida residence.

            57.         Liam directed the payment of monthly compensation to Bledar Vata

   (bodyguard) in May – September 2024.

            58.         During the May – September 2024 time period (except late July – August),

   Bledar Vata lived with Liam. In mid- September 2024, Mr. Vata was terminated by Liam.

   Defendant Geoff did not cause a new bodyguard for Liam to be hired in Palm Beach County.

            59.         Mid-May – October 2024, Liam regularly used his laptop to orally

   communicate with persons, including his family, and carried his laptop with him as many people

   do a mobile phone. In October 2024 and at the time of his tragic death, Liam’s mobile phone

   number was 561-360-4177.

   Liam Payne in Buenos Aires, Argentina – Late September - October 16, 2024

            60.         On or about late September 2024, Liam traveled to Buenos Aires, Argentina.

            61.         Plaintiff12 never provided Liam with any recreational drugs and never

   controlled any prescribed medicines taken by Liam.

            62.         In September 2024, Kate Cassidy (girlfriend) traveled from South Florida to

   Buenos Aries, Argentina with Liam. Kate Cassidy (girlfriend) lived with and stayed with Liam at

   his two hotels: (1) Hotel #1 where she and Liam shared a hotel room; and (2) Hotel #2 (rental)

   where she and Liam shared a room.

            63.         Kate Cassidy (girlfriend) had superior knowledge of Liam’s activities during

   this October 2024 time period.

            64.         In October 2024 in Buenos Aires, Kate Cassidy (girlfriend) had day to day

   live-in relationship at Hotel #1 and Hotel #2 (rental) with Liam. She had the capacity, opportunity,


   12
        Plaintiff has never used/consumed recreational drugs and does not drink alcohol.
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   and superior knowledge to know Liam’s activities and needs.

          65.           Kate Cassidy (girlfriend) on or about October 12, 2024 left Liam and departed

   for the United States. Prior to her departure and after her departure, it is unknown how she used

   her capacity, opportunity and superior knowledge of Liam’s personal activities to assist and to

   meet Liam’s needs.

          66.           Defendant Geoff did not travel to Argentina13 to be with Liam in October 2024

   so Defendant Geoff could continue his self declared caretaker role of Liam with Liam and for Liam

   not to be left alone. It is unknown how, in October 2024, Defendant Geoff used his capacity,

   opportunity and superior knowledge of Liam (1) to monitor and stabilize Liam’s addiction and

   prescribed medicine issues, (2) to monitor and prevent any use of recreational drug matters by

   Liam, (3) to cause appropriate medical and treatment care to be provided to Liam, and (4) to make

   certain Liam was not alone. With his superior knowledge, self declared caretaker status, and

   familial relationship with Liam, it is unknown what Defendant Geoff did to assist Liam and make

   certain that Liam was not alone.

          67.           On October 16, 2024, Liam suffered a tragic death in Buenos, Aires Argentina.

   Defendant Geoff Payne’s Published Two Sworn Declarations [October 22 & 25, 2024]
   Containing Published Defamatory Statements Injuring Plaintiff

          68.           Defendant Geoff participated in the preparation of, signed and published the

   Defendant Geoff Two Sworn Declarations. Exhibits J and K . When Defendant Geoff signed the

   Defendant Geoff Two Sworn Declarations, Defendant knew and/or should have known that the

   Relevant Contents information and statements [see paragraphs 71, 72, and 73 of this Complaint]

   were false, contained material omissions, and many parts were not based on personal knowledge

   so Defendant Geoff could not swear to the truthfulness of the information and statements, yet



   13
     __See also Paragraph 71 where in September 2024 Defendant Geoff called Plaintiff and Plaintiff
   requested that Defendant Geoff come to Wellington, Florida to take care of Liam. Despite being
   Liam’s self declared caretaker, Defendant Geoff did not come to Florida to take care of Liam.
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   Defendant Geoff did not disclose this information. .

          69.         Defendant Geoff negligently, knowingly, with intent, recklessly, and/or with

   malice omitted from the Defendant Geoff Two Sworn Declarations material information which

   Defendant Geoff knew or should have known made the Geoff Payne Two Sworn Declaration

   statements materially misleading and false.

          70.         Defendant Geoff (i) negligently, knowingly, with intent, reckless, and/or with

   malice published the false Relevant Contents information and statements [see paragraphs 71, 72,

   and 73 of this Compliant] in the Defendant Geoff Two Sworn Declarations and (i) knew that such

   statements were not based on personal knowledge so Defendant Geoff could not swear to the

   truthfulness of the information and statements, and (ii) omitted material facts which made

   Defendant Geoff’s statements false and misleading, causing damage to Plaintiff and Plaintiff’s

   reputation. Defendant Geoff did damage Plaintiff and Plaintiff’s reputation in Palm Beach County,

   Florida, nationally, and globally—the damages from which continue on a daily basis.

          71.         The false Relevant Contents information and statements of the 1st Defendant

   Geoff Sworn Declaration14 include:

                (a)   Page 2, line 15-19 Spanish/Page 16, line 14-18 English: “For that reason my

                      phone contact with Liam was not direct, it was always through third parties,

                      particularly, in his last stay in Argentina it was through his girlfriend Kate

                      Cassidy (+447              ) and Roger Nores (+1305          ) who were in his

                      care due to his addictions.”

                          i. Fact: Plaintiff never agreed to be the caretaker of Liam and was never

                             the caretaker of Liam. Plaintiff did not have a legal duty to Liam. Liam

                             and Plaintiff were dear friends and provided each other friend support.



   14
     The Two Sworn Declarations of Defendant Geoff are internally inconsistent and incriminating
   for Defendant Geoff.
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                            Defendant Geoff’s primary contact with Liam was (1) Liam direct by

                            Liam’s mobile phone or Liam’s laptop, (2) via Kate Cassidy (girlfriend)

                            and (3) via Bledar Vata (bodyguard) both of which lived with Liam in

                            the relevant time period. Defendant Geoff’s family communicated with

                            Liam via Liam’s laptop. In October 2024 and at the time of his tragic

                            death, Liam’s mobile phone number was 561-              .

                        ii. Fact:    In August 23-26, 2024 emails (see Exhibit I) to and from

                            Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                            caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                            requested that Defendant Geoff come to Wellington Florida and take

                            care of Liam. Defendant Geoff declined to come to Wellington to take

                            care of Liam.15

              (b)    Page 7, line 16-19 Spanish/page 21, line 11-13 English: “I, Liam, and the

                     bodyguard heard Roger tell him that he knew that his health was not good, and

                     that since he had known him for a long time, he offered to help him in exchange

                     for nothing.”

                         i. Fact: Plaintiff never agreed to be the caretaker of Liam. Plaintiff did

                            not have a legal duty to Liam. Liam and Plaintiff were dear friends and

                            provided each other friend support. Defendant Geoff’s primary contact

                            with Liam was (1) Liam direct by Liam’s mobile phone or Liam’s

                            laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar Vata

                            (bodyguard) both of which lived with Liam in the relevant time period.



   15
     At the same time (as noted on page 23 of Defendant Geoff’s 1st Sworn Declaration (Exhibit J)
   Defendant swore that in September 2024 he was “very concerned about” Liam’s health status.
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                           Defendant Geoff’s family communicated with Liam via Liam’s laptop.

                           In October 2024 and at the time of his tragic death, Liam’s mobile phone

                           number was 561-              .

                        ii. Fact:   In August 23-26, 2024 emails (see Exhibit I) to and from

                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                           requested that Defendant Geoff come to Wellington Florida and take

                           care of Liam. Defendant Geoff declined to come to Wellington to take

                           care of Liam.

                       iv. No Personal Knowledge. Defendant Goff had no personal knowledge of

                           any of the relevant facts and the false statements stated, and any

                           statement made by Defendant Geoff was based on hearsay and as a

                           result, Defendant Geoff could not attest to the truthfulness of the sworn

                           statements as to others, which are false

              (c)    Page 7, line 19-25 Spanish/page 21, line 13-19 English: “He offered to leave

                     London and do a good recovery treatment in Miami. At that moment Roger

                     was entirely available to Liam and in his care, he offered to take care of him

                     and his recovery. This call was at night, the next day the three of us flew to

                     Miami because we considered that this absolute change of environment was

                     going to be favorable for Liam.”

                        i. Fact: Plaintiff never agreed to be and was never the caretaker of Liam.

                           Plaintiff did not have a legal duty to Liam. Liam and Plaintiff were dear

                           friends and provided each other friend support. Defendant Geoff’s

                           primary contact with Liam was (1) Liam direct by Liam’s mobile phone


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                           or Liam’s laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar

                           Vata (bodyguard) both of which lived with Liam in the relevant time

                           period. Defendant Geoff’s family communicated with Liam via Liam’s

                           laptop. In October 2024 and at the time of his tragic death, Liam’s

                           mobile phone number was 561-              .

                        ii. Fact:   In August 23-26, 2024 emails (see Exhibit I) to and from

                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                           requested that Defendant Geoff come to Wellington Florida and take

                           care of Liam. Defendant Geoff declined to come to Wellington.



              (d)    Page 7, line 27-31 Spanish/page 21, line 21-25 English: “We stayed there

                     [Palm Beach County, Florida] for 10 weeks with Liam, the four of us. During

                     that time we formed a team with Roger and the bodyguard for Liam's recovery,

                     always monitored by psychologists and psychiatrists, all of Roger's contacts

                     so I don't have their details now.”

                        i. Fact: Plaintiff never agreed to be and was never the caretaker of Liam.

                           Plaintiff did not have a legal duty to Liam. Liam and Plaintiff were dear

                           friends and provided each other friend support.      Defendant Geoff’s

                           primary contact with Liam was (1) Liam direct by Liam’s mobile phone

                           or Liam’s laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar

                           Vata (bodyguard) both of which lived with Liam in the relevant time

                           period. Defendant Geoff’s family communicated with Liam via Liam’s

                           laptop. In October 2024 and at the time of his tragic death, Liam’s


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                           mobile phone number was 561-               .

                        ii. Fact: In August 23-26, 2024 emails (see Exhibit I) to and from

                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                           requested that Defendant Geoff come to Wellington Florid and take care

                           of Liam. Defendant Geoff declined to come to Wellington to take care

                           of Liam

                       iv. Fact: Defendant Geoff was a self declared caretaker of Liam. Defendant

                           Geoff had all medical details available to him and if he did not retain

                           the medical details it was Defendant Geoff’s choice.

              (e)    Page 8, line 20-25 Spanish/page 22 , line 12-16 English: “I had the feeling that

                     it [Palm Beach County] was a safe place for him, that he was in good company

                     (the bodyguard is my trusted person and Roger at that time and voluntarily

                     offered to take charge and take responsibility for Liam) and I thought it was

                     good that he stayed until he started his work in Manchester.”

                        i. Fact : Plaintiff never agreed to be and was never the caretaker of Liam.

                           Plaintiff did not have a legal duty to Liam. Liam and Plaintiff were dear

                           friends and provided each other friend support. Defendant Geoff’s

                           primary contact with Liam was (1) Liam direct by Liam’s mobile phone

                           or Liam’s laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar

                           Vata (bodyguard) both of which lived with Liam in the relevant time

                           period. Defendant Geoff’s family communicated with Liam via Liam’s

                           laptop. In October 2024 and at the time of his tragic death, Liam’s

                           mobile phone number was 561-               .


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                        ii. Fact:   In August 23-26, 2024 emails (see Exhibit I) to and from

                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                           requested that Defendant Geoff come to Wellington Florid and take care

                           of Liam. Defendant Geoff declined to come to Wellington to take care

                           of Liam

                       iv. Fact: Defendant Geoff was the self declared caretaker of Liam.

                           Defendant Geoff had all medical details available to him and if he did

                           not retain the medical details it was Defendant Geoff’s choice.

              (f)    Page 10, line 3-9 Spanish/page 23, line 27-32 English: “… to provide the

                     filiation and contact details of the health professionals who were in charge of

                     Liam's subsequent treatment in the USA and those who later assisted him here

                     in Argentina as part of the procedure to renew his US visa, he replied: "No,

                     that data must be in Roger who managed the whole matter"

                        i. Fact: Plaintiff never agreed to be and was never the caretaker of Liam.

                           Plaintiff did not have a legal duty to Liam. Liam and Plaintiff were dear

                           friends and provided each other friend support. Defendant Geoff’s

                           primary contact with Liam was (1) Liam direct by Liam’s mobile phone

                           or Liam’s laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar

                           Vata (bodyguard) both of which lived with Liam in the relevant time

                           period. Defendant Geoff’s family communicated with Liam via Liam’s

                           laptop. In October 2024 and at the time of his tragic death, Liam’s

                           mobile phone number was 561-              .

                        ii. Fact:   In August 23-26, 2024 emails (see Exhibit I) to and from


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                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                           requested that Defendant Geoff come to Wellington Florid and take care

                           of Liam. Defendant Geoff declined to come to Wellington to take care

                           of Liam

                       iv. Fact: Defendant Geoff was the self declared caretaker of Liam.

                           Defendant Geoff had all medical details available to him and if he did

                           not retain the medical details it was Defendant Geoff’s choice.

                        v. No Personal Knowledge. Defendant Goff had no personal knowledge of

                           any of the relevant facts and the false statements stated, and any

                           statement made by Defendant Geoff was based on hearsay and as a

                           result, Defendant Geoff could not attest to the truthfulness of the sworn

                           statements, which are false.

              (g)    Page 11, line 29-35 Spanish/page 25, line 16-22 English: “What I want to make

                     clear is that Roger had full responsibility for Liam's care during this last period

                     when at least I was not there, because that is how he assumed it when he called

                     him by his own means to help him in his treatment. In fact, it was Roger

                     himself who decided to accompany Liam on his last stay in Buenos Aires as

                     part of all this care he needed. Care of which Roger was well aware”

                        i. Fact: Plaintiff never agreed to be and was never the caretaker of Liam.

                           Plaintiff did not have a legal duty to Liam. Liam and Plaintiff were dear

                           friends and provided each other friend support. Defendant Geoff’s

                           primary contact with Liam was (1) Liam direct by Liam’s mobile phone

                           or Liam’s laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar


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                           Vata (bodyguard) both of which lived with Liam in the relevant time

                           period. Defendant Geoff’s family communicated with Liam via Liam’s

                           laptop. In October 2024 and at the time of his tragic death, Liam’s

                           mobile phone number was 561-               .

                        ii. Fact:   In August 23-26, 2024 emails (see Exhibit I) to and from

                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                           requested that Defendant Geoff come to Wellington Florid and take care

                           of Liam. Defendant Geoff declined to come to Wellington to take care

                           of Liam

                       iv. Fact: Defendant Geoff was the self declared caretaker of Liam.

                           Defendant Geoff had all medical details available to him and if he did

                           not retain the medical details it was Defendant Geoff’s choice.

                        v. No Personal Knowledge. Defendant Goff had no personal knowledge

                           of any of the relevant facts and the false statements stated, and any

                           statement made by Defendant Geoff was based on hearsay and as a

                           result, Defendant Geoff could not attest to the truthfulness of the sworn

                           statements, which are false.

              (h)    Page 11, line 35 and page 12, line 1-9 Spanish/page 25, line 22-29 English:

                     “Liam's trust and care group at first were the bodyguard and I, in addition to

                     Liam's girlfriend, then Roger joined and when I had to go back to my house

                     and the bodyguard too, Roger and Liam's girlfriend continued. He was together

                     with Liam precisely to take care of him for no other reason, in fact he regularly

                     reported his state of health to me. Liam couldn't be left alone and Roger knew


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                     it and when the care group format broke when Liam's girlfriend left, Roger

                     booked Liam a room for himself and that's how what happened happened.”

                        i. Fact: Plaintiff never agreed to be and was never the caretaker of Liam.

                           Plaintiff did not have a legal duty to Liam. Liam and Plaintiff were dear

                           friends and provided each other friend support. Defendant Geoff’s

                           primary contact with Liam was (1) Liam direct by Liam’s mobile phone

                           or Liam’s laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar

                           Vata (bodyguard) both of which lived with Liam in the relevant time

                           period. Defendant Geoff’s family communicated with Liam via Liam’s

                           laptop. In October 2024 and at the time of his tragic death, Liam’s

                           mobile phone number was 561-              .

                        ii. Fact:   In August 23-26, 2024 emails (see Exhibit I) to and from

                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                           requested that Defendant Geoff come to Wellington Florida and take

                           care of Liam. Defendant Geoff declined to come to Wellington take care

                           of Liam

                       iv. Fact: Defendant Geoff was the self declared caretaker of Liam.

                           Defendant Geoff had all medical details available to him and if he did

                           not retain the medical details it was Defendant Geoff’s choice.

                        v. No Personal Knowledge. Defendant Goff had no personal knowledge of

                           any of the relevant facts and the false statements stated, and any

                           statement made by Defendant Geoff was based on hearsay and as a

                           result, Defendant Geoff could not attest to the truthfulness of the sworn


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                           statements, which are false.

              (i)    Page 12, line 9-17 Spanish/page 25, line 30-35 English: “Because Roger knew

                     that the objective of the group was to keep Liam busy, he could not be left

                     alone in the vulnerable situation in which he was, it was even the

                     recommendation that one of the doctors in the UK had given me (I don't

                     remember his details) and that was the basis of Liam's recovery which was

                     always remembered in the care group that included Roger. Liam could not be

                     alone and Roger was the one who had taken responsibility for that care, at least

                     during his stay here in Argentina.”

                        i. Fact: Plaintiff never agreed to be and was never the caretaker of Liam.

                           Plaintiff did not have a legal duty to Liam. Liam and Plaintiff were dear

                           friends and provided each other friend support. Defendant Geoff’s

                           primary contact with Liam was (1) Liam direct by Liam’s mobile phone

                           or Liam’s laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar

                           Vata (bodyguard) both of which lived with Liam in the relevant time

                           period. Defendant Geoff’s family communicated with Liam via Liam’s

                           laptop. In October 2024 and at the time of his tragic death, Liam’s

                           mobile phone number was 561-               .

                        ii. Fact:   In August 23-26, 2024 emails (see Exhibit I) to and from

                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                           requested that Defendant Geoff come to Wellington Florid and take care

                           of Liam. Defendant Geoff declined to come to Wellington to take care

                           of Liam


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                       iv. Fact: Defendant Geoff was the self declared caretaker of Liam.

                           Defendant Geoff had all medical details available to him and if he did

                           not retain the medical details it was by Defendant Geoff’s personal

                           choice.

                        v. No Personal Knowledge. Defendant Goff had no personal knowledge

                           of any of the relevant facts and the false statements stated, and any

                           statement made by Defendant Geoff was based on hearsay and as a

                           result, Defendant Geoff could not attest to the truthfulness of the sworn

                           statements, which are false.

              (j)    Page 12, line 26-29 Spanish/page 26, line 11-14 English: “When I wasn't with

                     Liam, and he stayed with Roger who was responsible for his care, he was the

                     one who reported his condition to me and sometimes his bodyguard when he

                     was an artist.”

                        i. Fact: Plaintiff never agreed to be and was never the caretaker of Liam.

                           Plaintiff did not have a legal duty to Liam. Liam and Plaintiff were dear

                           friends and provided each other friend support. Defendant Geoff’s

                           primary contact with Liam was (1) Liam direct by Liam’s mobile phone

                           or Liam’s laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar

                           Vata (bodyguard) both of which lived with Liam in the relevant time

                           period. Defendant Geoff’s family communicated with Liam via Liam’s

                           laptop. In October 2024 and at the time of his tragic death, Liam’s

                           mobile phone number was 561-              .

                        ii. Fact:    In August 23-26, 2024 emails (see Exhibit I) to and from

                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.


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                        iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                            requested that Defendant Geoff come to Wellington Florida and take

                            care of Liam. Defendant Geoff declined to come to take care of Liam

                        iv. Fact: Defendant Geoff was the self declared caretaker of Liam.

                            Defendant Geoff had all medical details available to him and if he did

                            not retain the medical details it was Defendant Geoff’s choice.

                        v. No Personal Knowledge. Defendant Goff had no personal knowledge of

                            any of the relevant facts and the false statements stated, and any

                            statement made by Defendant Geoff was based on hearsay and as a

                            result, Defendant Geoff could not attest to the truthfulness of the sworn

                            statements, which are false.

          72.         The false Relevant Contents information and statements of the 2nd Defendant

   Geoff Sworn Declaration16 includes:

                (a)   Page 2, line 27-36 Spanish/page 2 , line 10-18 English: “It should be noted that

                      Mr. Bledar Vata           @gmail.com) turns out to be the one who was Liam's

                      bodyguard in Londres (Great Britain) and in Florida (USA) from August 2023

                      to September 17, 2024, providing his cell phone: +44                 . That Mr.

                      Vata was fired from his job as a bodyguard by Liam, because when the

                      psychiatrist Dr. Rohaidy resigned from her position, Liam went to see another

                      psychiatrist with Rogelio Nores, and both hid from him the problems with

                      alcohol and drugs that Liam had in order for him to prescribe psychiatric

                      medication and avoid giving him the care recommendations that Dr. Rohaidy

                      had given him; that because of this situation, Vata decided to go to see the new



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     The Two Sworn Declarations of Defendant Geoff are internally inconsistent and incriminating
   for Defendant Geoff.
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                     psychiatrist alone and exposed the real problems that Liam had, in view of this

                     fact Rogelio Nores spoke with Liam and manipulated him to fire him, which

                     Liam did on September 17, 2024.”

                        i. Fact: Plaintiff never agreed to be and was never the caretaker of Liam.

                           Plaintiff did not have a legal duty to Liam. Liam and Plaintiff were dear

                           friends and provided each other friend support. Defendant Geoff’s

                           primary contact with Liam was (1) direct by Liam’s mobile phone or

                           Liam’s laptop, (2) via Kate Cassidy (girlfriend) and (3) via Bledar Vata

                           (bodyguard) both of which lived with Liam in the relevant time period.

                           Defendant Geoff’s family communicated with Liam via Liam’s laptop.

                           In October 2024 and at the time of his tragic death, Liam’s mobile phone

                           number was 561-             .

                        ii. Fact:   In August 23-26, 2024 emails (see Exhibit I) to and from

                           Defendant Geoff, Plaintiff stated clearly that Plaintiff was not Liam’s

                           caretaker and declined to be.

                       iii. Fact: In September 2024, Defendant Geoff called Plaintiff and Plaintiff

                           requested that Defendant Geoff come to Wellington, Florid and take

                           care of Liam. Defendant Geoff declined to come to Wellington to take

                           care of Liam

                       iv. Fact: Defendant Geoff was the self declared caretaker of Liam.

                           Defendant Geoff had all medical details available to him and if he did

                           not retain the medical details it was Defendant Geoff’s choice.

                        v. Fact: Liam and Plaintiff never visited “another psychiatrist” together.

                           To Plaintiff’s knowledge Liam never visited “another psychiatrist.”

                           Defendant Geoff’s sworn statement is 100% fiction and when


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                           Defendant Geoff made the statement Defendant Geoff knew it was

                           100% fiction and knew he had no independent corroborative basis to

                           make such a sworn statement.

                       vi. Fact: Liam and Plaintiff never visited “another psychiatrist” together.

                           Since there was no “another psychiatrist”, Liam and Plaintiff could

                           never have hid any information from the non-existent medical person.

                           Defendant Geoff’s sworn statement is 100% fiction and when

                           Defendant Geoff made the statement Defendant Geoff knew it was

                           100% fiction and knew he had no independent corroborative basis to

                           make such a sworn statement

                      vii. Fact: There was no “new psychiatrist”, “another psychiatrist” or “other

                           psychiatrist”. Since there was no “new psychiatrist”, “another

                           psychiatrist” or “other psychiatrist, it was factually impossible for [as

                           sworn under oath by Defendant Geoff] “Vata decided to go to see the

                           new psychiatrist alone and exposed the real problems that Liam had…”.

                           Defendant Geoff’s sworn statement is 100% fiction and when

                           Defendant Geoff made the statement Defendant Geoff knew it was

                           100% fiction and knew he had no independent corroborative basis to

                           make such a sworn statement.

                      viii. No Personal Knowledge. Defendant Goff had no personal knowledge of

                           any of the relevant facts and the false statements stated, and any

                           statement made by Defendant Geoff was based on hearsay and/ his own

                           creative fiction and malice with ill will to harm Plaintiff, and as a result,

                           Defendant Geoff could not attest to the truthfulness of the sworn

                           statements, which are false.


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          73.          Defendant Geoff negligently, with intent, recklessly, and/or with malice

   omitted material facts in the Two Sworn Declarations which made Defendant Geoff’s Two Sworn

   Declarations’ statements materially misleading and false. The omissions include but are not limited

   to:

                (a)    August 23 – 26, 2024 emails between Plaintiff and Defendant Geoff (Exhibit

                       I):

                             i. On August 23, 2024, Plaintiff sent an email to Defendant Geoff

                                summarizing some matters regarding Liam, including that (1) Plaintiff

                                could not further as a friend devote the same time to support Liam, (2)

                                Geoff needed to take action regarding Liam’s condition, and (3)

                                Plaintiff would continue to be Liam’s friend.

                             ii. On August 26, 2024, Defendant Geoff responded “Also thank you for

                                your call yesterday Roger. I have taken what you had to say on board.”

                (b)    In September 2024, Defendant Geoff called Plaintiff in Palm Beach County

                       and Plaintiff, from Palm Beach County, urged Defendant Geoff, as father and

                       self declared caretaker of Liam, to come to Wellington Florida and take care

                       of Liam.       To Plaintiff’s knowledge, Defendant Geoff never came to

                       Wellington, Florida to take care of Liam.

                (c)    In September 2024 and although requested to do so by Plaintiff, Defendant

                       Geoff did not travel to Wellington to take care of Liam as Liam’s self declared

                       caretaker.17

                (d)    In October 2024, Defendant Geoff did not travel to Argentina to take care of

                       Liam as Liam’s self declared caretaker or to provide medical assistance and to



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     At the same time (as noted on page 23 of Defendant Geoff’s 1st Sworn Declaration (Exhibit J)
   Defendant swore that in September 2024 he was “very concerned about” Liam’s health status.
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                     make sure Liam was not left alone.

              (e)    In September 2024 in Florida - Defendant Geoff claimed trust in Bledar Vata

                     (bodyguard) to be a paid caretaker of Liam. When Liam fired Bledar Vata

                     (bodyguard) in September 2024, Defendant Geoff as self declared caretaker of

                     Liam never provided for a temporary or new bodyguard caretaker for Liam in

                     September or in October 2024.

              (f)    In September – October 2024, Defendant Geoff never had any person

                     accompany Liam to Palm Beach County Florida or to Argentina to take care

                     of Liam. In September – October 2024, Defendant Geoff was the self declared

                     caretaker of Liam and had a unique capacity, opportunity and superior

                     knowledge to provide but did not provide or arrange, in Wellington ,Florida in

                     September 2024 and/or in Buenos Aires, Argentina in October 2024 and plan

                     or action (1) to monitor and stabilize matters for Liam, (2) to cause appropriate

                     medical and treatment care services to be provided to Liam or (3) to ensure

                     that Liam not to be left alone. With his superior knowledge, it is unknown what

                     Defendant Geoff did to assist Liam and make certain Liam was not left alone.

              (g)    In September – October 2024, Kate Cassidy (girlfriend) lived with Liam in

                     Wellington, Florida and in Hotel #1 and Hotel#2 (rental) in Buenos Aires,

                     Argentina and had a unique capacity, opportunity and superior knowledge of

                     Liam’s activities and needs. Between September – October 2024, she was

                     living with Liam and with her unique capacity, opportunity and superior

                     knowledge, it is unknown what she did to assist Liam and make certain he was

                     not alone.

              (h)    Defendant Geoff swore to the truth of the false Relevant Content information

                     and statements [see paragraphs 7, 72, and 73 of this Complaint] when he knew


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                           the published information and statements were false, omitted material

                           information, and swore to statements with no personal knowledge and did so

                           with malice ill will and intent to injure and to damage Plaintiff and Plaintiff’s

                           reputation.

                 (i)       Defendant Geoff knew he had no personal knowledge of the certain referenced

                           Relevant Content matters.

                 (j)       Defendant Geoff swore to the truth of the false Relevant Content information

                           and statements when Defendant Geoff knew he had omitted material

                           information that made parts of the Two Sworn Statements misleading and/or

                           false.

           74.             Defendant Geoff’s false Relevant Contents of the Two Sworn Declarations

   were and are the proximate cause of the Plaintiff’s injury and damages including damage to

   Plaintiff’s reputation. Defendant Geoff knew or should have known and could reasonably foresee

   that the false Relevant Contents of the Two Sworn Declarations would be and were the proximate

   cause of Plaintiff’s injury and damages in Palm Beach County, Florida, United States, and globally

   in all respects.

   Liam Independent Person

           75.         Liam was an independent person, an adult who had control over all his personal,

   financial, and professional decisions and made those decisions independently. To the knowledge

   of the Plaintiff and on information and belief, Liam was not under any legal imposed and

   monitored care program, guardianship or conservatorship or the like. Over the years and as

   publicly reported, Liam was in and out of addiction facilities sometimes departing the facilities

   prior to conclusion of the addiction program, and sometimes abandoning or even refusing medical




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   care.18

             76.       At all relevant times and regardless of persons around Liam, Liam made all

   decisions to undertake or to reject professional medical assistance and treatment.

   Defendant Geoff’s Response to Plaintiff’s Notice Demand Letter To Retract

             77.       January 8, 2025, Plaintiff sent the defamation retraction demand Letter

   (“Defamation Retraction Letter – Defendant Geoff”) to Defendant Geoff. See Exhibit D.

             78.       On January 10, 2025, English counsel for Defendant Geoff responded to the

   Defamation Retraction Letter – Defendant Geoff and declined to retract any matter. See Exhibit

   N.

             79.       On January 13, 2025, Plaintiff requested (i) that Defendant Geoff’s counsel

   provide any evidence and independent corroboration that (a) the contents of the January 8, 2025

   letter (Exhibit D) were not accurate and (b) provide a copy of any due diligence report and

   independent corroboration if done and if not done undertake due diligence of the contents of the

   Defendant Geoff’s Two Sworn Declarations to determine if accurate and truthful in all respects

   and to provide copies of these documents to Plaintiff. See Exhibit O. As of the filing date of this

   Complaint, Plaintiff has not received, from English counsel or any other person, a response and

   has not been provided (1) any information that Plaintiff’s January 8, 2025 letter is inaccurate in

   any respect and (2) any information that English counsel or any other person has ever done any

   due diligence to ascertain the accuracy, truthfulness, and/or falsity of Defendant Geoff’s Two

   Sworn Declarations.

   Other Matters

             80.       Plaintiff reserves the right to add additional party defendants if discovery

   and/or additional information provides identification of persons as appropriate defendants.



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      On pages 20-25 Defendant Geoff’s 1st Sworn Declaration (Exhibit J) Defendant Geoff describes
   this.
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            81.            Pursuant to the requirements of Section 768.72, Fla. Stat., Plaintiffs may seek

   discovery reasonably calculated to lead to admissible evidence on the issue of Defendants’ liability

   and ability to pay for punitive damages relating to the misconduct alleged herein.

            82.            If discovery establishes grounds for seeking to amend the Complaint to seek

   an award of punitive damages19 and attorney fees as provided in Fla. Stat. 768.72, Plaintiff intends

   to seek to amend the Complaint and seek punitive damages against Defendant Geoff.

            83.            All matters, if any, including any condition precedents to the filing of this

   Complaint have been completed, and/or occurred.

                                            COUNT I – DEFAMATION

            84.      Plaintiffs re-allege and incorporate by reference the allegations contained in

   Paragraphs 1- 83, as though fully set forth herein.

            85.            Defendant Geoff’s false Relevant Contents information and statements of the

   Defendant Geoff Two Sworn Declaration were false when made and when Defendant Geoff

   signed and published the false statements he knew or should have known that the statements were

   false, were made negligently, with intent, made the statements with reckless disregard as to the

   truth and accuracy of the statements and/or made with malice with intent to and which did injure

   and damage Plaintiff and Plaintiff’s reputation.

            86.            Defendant Geoff’s false Relevant Contents information and statements of the

   Defendant Geoff Two Sworn Declarations were false when made and when Defendant Geoff

   made the false statements he knew or should have known that he had no personal knowledge of

   the statements [See Paragraphs 71, 72, and 73 of this Complaint] and despite knowing he had no


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      Section 768.72 F.S. provides that a defendant may be held liable for punitive damages if the defendant was guilty
   of (1) intentional misconduct [means that the defendant had actual knowledge of the wrongfulness of the conduct and
   the high probability that injury or damage to the claimant would result and, despite that knowledge, intentionally
   pursued that course of conduct, resulting in injury or damage] or (2) gross negligence[means that the defendant’s
   conduct was so reckless or wanting in care that it constituted a conscious disregard or indifference to the life, safety,
   or rights of persons exposed to such conduct].


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   personal knowledge, Defendant Geoff made the false statements and/or made the statements

   negligently, with intent, recklessly and/or with malice injuring and damaging Plaintiff and

   Plaintiff’s reputation.

           87.          Defendant Geoff’s false Relevant Contents information and statements of the

   Defendant Geoff Two Sworn Declarations are false and when Defendant Geoff made the false

   statements he knew or should have known that he had had omitted material information [see

   Paragraphs 71, 72, and 73 of this Complaint], Despite knowing he had omitted information which

   made the statements false, inaccurate and/or not correct, Defendant Geoff negligently, with intent,

   recklessly, and/or with malice published the Two Sworn Declaration and caused the re-publishing

   of the Two Sworn Declarations damaging Plaintiff and Plaintiff’s reputation.

           88.          Defendant Geoff made the false Relevant Contents information and statements

   in the Two Sworn Declarations with malice, ill will and intent to harm and to damage Plaintiff and

   Plaintiff’s reputation.

           89.          Defendant’s false Relevant Contents information and statements — made with

   a lack of personal knowledge — are the proximate cause of Plaintiff’s injury and damages,

   including the damage to Plaintiff’s reputation.

           90.          Plaintiff has suffered distress, harm, injury, and damages to his business,

   reputation, standing in the business community, in Palm Beach County, in Florida and generally

   due to the Palm Beach County, Florida, United States, and Global publication, re-publication

   and/or reporting arising from Defendant Geoff’s Palm Beach Activities and Defendant Geoff’s

   publication and republication of his false Two Sworn Declarations. This injury and these damages

   continue on a daily basis and accrue on a daily basis. Defendant Geoff is liable for such damages.

           WHEREFORE, Plaintiff respectfully requests that this Court enter a final judgment in

   favor of Plaintiff and against Defendant Geoff finding and/or ordering: (1) that the Relevant

   Contents information and statements of the Defendant Two Geoff Sworn Statements are false; (2)


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   Defendant Geoff knew or should have known the Relevant Contents information were false when

   made, were negligently made, were made with intent, were made with reckless disregard as to

   accuracy and truth, were made with material omissions which made the statements false and/or

   misleading, and/or made with malice ill will with intent to injure and to damage Plaintiff and

   Plaintiff’s reputation when Defendant Geoff signed the Defendant Geoff Two Sworn Declarations

   and when Defendant Geoff published the false Relevant Contents information of the Two Sworn

   Declaration and when Defendant Geoff refused to retract and to correct the Two Sworn

   Declarations; (3) Defendant Geoff’s false Relevant contents of the published Defendant Geoff

   Two Sworn Declarations were the proximate cause of injury and damages suffered by Plaintiff

   and were foreseeable by Defendant Geoff; (4) Defendant Geoff made the false Relevant Contents

   in the Two Sworn Declarations with malice, ill will and intent to injure and to harm Plaintiff’s

   reputation and to harm Plaintiff; (5) Plaintiff was not a caretaker of Liam and had no legal duty of

   care to Liam generally and in particular arising from Defendant Geoff’s Palm Beach Presence

   Activities; and (6) that Plaintiff is entitled to an award of compensatory and special damages, at

   law or equity, pre-judgment and post-judgment interest, attorneys fees, and costs, in excess of the

   Court’s jurisdiction as established in the evidentiary process by Plaintiff and determined by the

   Court and/or jury20 which continue to accrue on a daily basis until Defendant Geoff provides an

   appropriate and satisfactory correction to the false Relevant Contents information and statements

   of Defendant Geoff Two Sworn Declarations and/or entry of the Court’s appropriate order or final

   judgment, and (7) any such other relief as may be just and appropriate in this matter.

                           COUNT II – DECLARATORY JUDGEMENT

          91.          Plaintiff re-alleges and incorporates by reference the allegations contained in the

   paragraphs 1-83 as though fully set forth herein.



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       Plaintiff will donate the financial proceeds of these judicial proceedings [less the cost of
   Plaintiff’s total legal proceedings] for the benefit of Liam Payne’s son – Bear Payne.
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          92.          Plaintiff believes the Relevant Contents information and statements of the Two

   Defendant Geoff Sworn Declarations are false. Defendant Geoff has sworn to the truth of the Relevant

   Contents of the Defendant Geoff Two Sworn Statements. Defendant Geoff has refused to retract the

   Relevant Contents of the Defendant Geoff Two Sworn Statements. See Exhibit N.

          93.          Plaintiff believes the Defendant Geoff Two Sworn declarations contain material

   omissions, which make Defendant Geoff’s Two Sworn Declarations misleading and false, yet

   Defendant Geoff nevertheless published the statements negligently, with intent, recklessly, and/or

   with malice with disregard to the truth or accuracy of the statements. Defendant Geoff has refused to

   retract the Relevant Contents of the Defendant Geoff Two Sworn Statements. See Exhibit N.

          94.          Plaintiff believes parts of the Defendant Geoff Two Sworn declarations contain

   sworn statements not based on the personal knowledge of Defendant Geoff which make Defendant

   Geoff’s Two Sworn Declarations misleading and false. Defendant Geoff has refused to retract the

   Relevant Contents of the Defendant Geoff Two Sworn Statements. See Exhibit N.

          95.          Plaintiff believes that the Defendant Geoff Two Sworn declarations contain

   material omissions known to Defendant Geoff when made and that omissions make Defendant

   Geoff’s Two Sworn Declarations misleading and false. Defendant Geoff has refused to retract the

   Relevant Contents of the Defendant Geoff Two Sworn Statements. See Exhibit N.

          96.          Plaintiff is in doubt as to his rights and obligations against Defendant Geoff as

   stated herein and seeks a declaration as to rights and obligations relating to Defendant Geoff.

          WHEREFORE, Plaintiff respectfully requests that this Court enter a final judgment in

   favor of Plaintiffs and against Defendant finding, declaring, and/or ordering: (1) ; the Relevant

   Contents information and statement of the Defendant Geoff Two Sworn Declarations are false, not

   accurate and constitute defamation of Plaintiff; (2) that Defendant Geoff has defamed Plaintiff,

   and (3) such other relief as may be just and appropriate in this matter.




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                                    DEMAND FOR JURY TRIAL

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

   trial by jury on all issues so triable as a matter of right.

                                      RESERVATION OF RIGHTS


           Plaintiff reserves, upon evolution and/or completion of investigation and discovery, to

   assert such additional claims, make additional damages claims, and join such additional defendants

   as may be just and equitable under the circumstances, with or without leave of Court as provided

   by governing law.

   Dated: January 15, 2025

                                                       Respectfully submitted,


                                                       /s/Nicholas Collazo_______________
                                                       Nicholas Collazo (Fla Bar 1027028)
                                                       James D. Whisenand (Fla Bar 166000)
                                                       Whisenand & Turner, P.A.
                                                       240 Crandon Blvd., Suite 250
                                                       Key Biscayne, Florida 33149
                                                       Tel: (305) 375-8484
                                                       Fax: (305) 374-2919
                                                       Attorneys for Plaintiffs




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                                        Exhibits to Complaint

   Exhibit A – Demonstrative Chart – Identification of Certain Relevant Parties & Relationships
   Exhibit B – Demonstrative Chart – Liam Payne, Defendant Geoff Payne, Kate Cassidy, Bledar
   Vata, Plaintiff May – October 2024 Activities & Time Line
   Exhibit C – Demonstrative Chart – Defendant Geoff False, Material Omissions, No Personal
   Knowledge Relevant Contents in Defendant Geoff Two Sworn Declarations [October 22 and 25,
   2024].
   Exhibit D – January 8, 2025 Plaintiff letter to Defendant Geoff seeking retraction and correction
   of the false Relevant Contents of the Defendant Geoff Two Sworn Declarations with transmittal
   e-mail, Note and Evidence Preservation letter
   Exhibit E – Certain Google Search 2024 Liam Payne and Rogelio (Roger) Nores results.
   Exhibit F – Sampling of Media Articles - Publication of Defendant Geoff False Relevant Content
   Information and Statements from Defendant Geoff Two Sworn Declarations [Exhibits J and K]
   Exhibit G- Confirmation of the Publication of Relevant Contents to Defendant Geoff Two Sworn
   Declaration being available in Palm Beach County Florida and confirming the accessibility to the
   content from Palm Beach County Florida.
   Exhibit H – Liam’s July 2024 one year lease of residence in Wellington Florida shared with Kate
   Cassidy (prior girlfriend) and Bledar Vata (prior bodyguard) in September 2024. [redacted].
   Exhibit I – August 23 - 26, 2024 emails between Plaintiff and Defendant Geoff – Plaintiff confirm
   not responsible for Liam and Defendant Geoff acknowledgement. [redacted].
   Exhibit J - Defendant Geoff Payne 1st Sworn Declaration – October 22, 2024 [contains English
   translation Defendant Geoff signed] [redacted]
   Exhibit K – Defendant Geoff Payne 2nd Sworn Declaration – October 25, 2024 [contains certified
   English translation] [redacted]
   Exhibit L – Screenshot of video call of July 30, 2024 between Liam and certain advisors about (1)
   Liam moving to Florida and (2) Liam moving his business operations and structure to Palm Beach
   County, Florida.
   Exhibit M – Photo of Liam Payne and Niall Horan meeting together in Buenos Aires, Argentina
   in October 2024.
   Exhibit N – January 10, 2025 email from English Counsel Bray & Krais acting as counsel for
   Defendant Geoff expressing a non-response response to the Plaintiff’s Exhibit D retraction request
   letter to Defendant Geoff.
   Exhibit O – January 13, 2025 email from Plaintiff’s counsel to Defendant Geoff’s counsel
   requesting that Defendant Geoff’s counsel provide any evidence and independent corroboration
   that (1) the contents of the January 8, 2025 letter was not accurate and (2) the contents of the
   Defendant Geoff’s Two Sworn Declarations were accurate and truthful in all respects.




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                             EXHIBIT A
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                                                 Exhibit A – Demonstrative Chart –
                                  Identification of Certain Relevant Persons & Relationships
                                                      Liam Payne
                                                      1. Global entertainment celebrity.
                                                      2. Member of One Dimension music group.            Rogelio (Roger) Nores
                                                      3. Providing financial payments to Geoff Payne,    1. USA Citizen & Miami Resident.
                                                      Paul Higgins, Bledar Vata and Kate Cassidy.        2. Mutual dear friend of Liam since
Geoff Payne                                           4. Historical addiction issues & in and out of        2020.
1. Father of Liam & self declared Liam                treatment centers – made decisions to not          3. Never a caretaker of Liam.
caretaker.                                            complete treatment.                                4. Never received money from Liam.
2. 10+ weeks in Wellington, Florida with Liam,        5. Made his own independent decisions.             5. August 23-26, 2024 email – Geoff
Kate Cassidy, Bledar Vata, Rogelio Nores.             6. Dear mutual friend Rogelio Nores.                  Payne – declines to take care of
3. Roger Nores requested he come to Wellington        7. Kate Cassidy girlfriend May – October 2024.        Liam – friend support.
Florida in September 2024 – he declined to go.        8. May – July & September 2024 in Wellington       6. September 2024 Geoff Payne called
4. Did not go to Argentina with Liam October          Florida.                                              Roger and Roger requested Geoff
2024.                                                 9. June – July 2024 decided to move to Palm           Payne come to Wellington & take
                                                      Beach County, Florida and rented house.               care of Liam.
                                                                                                         7. Roger requested but Geoff Payne
                                                      Katelyn (Kate) Cassidy                                did not come to Wellington to take
Bledar Vata                                           1. Girlfriend of Liam from May - October 2024.        care of Liam.
1. Body guard of Liam 2023 - September 2024.          2. Stayed with Liam in Wellington, Florida         8. Roger has never used a recreational
2. Lived with Liam for 10+ weeks May – July.          September 2024.                                       drug and does not drink alcohol.
2024 and in September 2024 in Wellington,             3. Traveled with Liam to Argentina & stayed in     9. Roger never provided recreational
Florida.                                              same room with Liam at Hotel #1 & Hotel #2.           drugs or restricted medicine to
3. Fired by Liam in Wellington, Florida in mid        4. Departed Argentina on or about October 12,         Liam.
September 2024.                                       2024 – left Liam alone.
                                                      5. Never sought medical assistance for Liam in
                                                      Argentina prior to her departure to go home.
                                                      6. Liam paid her an allowance & expenses.         RN/F/RNF4013 EX Demo Cht involved persons
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                             EXHIBIT B
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      Exhibit B – Demonstrative Chart - Wellington, Florida Timeline - Liam Payne, Geoff Payne, Kate Cassidy & Rogelio Nores

    2020                 Mid-May – Late July, 2024                         Late July 2024 – Early September                   Early September – October 16, 2024
                         10+ weeks Wellington, Florida                     2024 Liam Payne in UK & Europe                     Liam Payne in Florida & Argentina

•   Roger        •   Liam Payne and Geoff Payne stayed in                    •    Liam traveled with Geoff           •   Liam returns to Wellington, Florida and decides to
    Nores            Wellington Florida with Kate Cassidy (Liam                   Payne to England.                      reside in Florida. Opens bank account at JP Morgan
    and              girl friend), Bledar Vata (body guard).                 •    Geoff Payne was self                   Palm Beach.
    Liam         •   Roger was between Wellington, Florida and                    declared caretaker of Liam.        •   Liam rents house in Wellington – annual lease
    Payne            Miami, Florida (where Roger lives).                     •    Roger did not go to                •   Kate Cassidy (girl friend) and Bledar Vita live with
    meet         •   Geoff Payne was self declared caretaker of                   England or accompany                   Liam in Wellington house.
    and              Liam with Kate Cassidy and Bledar Vata living                Liam.                              •   September 18, 2024 Geoff called Roger and Roger
    become           with Liam.                                                                                          requested Geoff to come to Wellington to take care
    mutual       •   Roger assisted as friend.                                                                           of Liam and Geoff did not come to Wellington.
    dear         •   Other than a mutual dear friend, Roger had no                                                   •   Late September - Liam & Kate Cassidy depart for
    friends.         arrangement with Liam or any part of Liam’s                                                         Argentina.
                     organization, and was never paid a penny.                                                       •   Kate Cassidy lives with Liam in Hotel #1 & Hotel
                 •   June – July 2024 Liam decides to become a                                                           #2 (rental) & for Rural Weekend in Argentina.
                     resident of Wellington, Florida and move                                                        •   In Argentina, Liam takes & clears drug test for
                     business structure to Palm Beach County.                                                            approved USA Visa renewal.
                                                                                                                     •   Geoff Payne does not come to Argentina to assist
August 23-26 , 2024 Emails Roger Nores- Geoff Payne – Alan McEvoy & September 18, 2024 Call Rogelio Nores –
                                                                                                                         Liam.
Geoff Payne                                                                                                          •   October 16, 2024 – Liam tragic death.
-August 23, 2024 Roger Nores email to Geoff Payne/Alan McEvoy/Liam – (1) Roger helped Liam as a friend; (2)
Roger has stopped helping Liam and is disconnected from helping Liam; (3) Geoff & Alan responsibility.
-August 26, 2024 Geoff Payne email to Roger Nores – Geoff Payne acknowledges email and thanks Roger for August 25,
2024 call to Geoff Payne – “I have taken what you had to say on board.”
-September 2024 Roger Nores call to Geoff Payne - As a friend of Liam, Roger requested Geoff Payne come to
Wellington Florida and take care of Liam; Geoff Payne never came to Florida.

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                             EXHIBIT C
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 Exhibit C – Demonstrative Chart - Geoff Payne Two Sworn Declarations – False Statements + Omissions + No Personal Knowledge

             Geoff Payne 1st Sworn Declaration October 22, 2024                                  Geoff Payne 2nd Sworn Declaration October 25, 2024

Geoff Payne defamed Rogelio Nores with False Statements & Material                   Geoff Payne defamed Rogelio Nores with False Statements & Material
Omissions & No Personal Knowledge:                                                   Omissions & No Personal Knowledge:

Certain False Statements:                                                            Certain False Statements:
1. Communications contact with Liam.                                                 1. Liam had “another psychiatrist” in Florida after Dr. Rohaidy (September 16)
2. Roger was the caretaker of Liam with full responsibility and agreed to be.        2. Liam and Rogelio Nores visited and hid Liam’s condition information from
3. Geoff did not have information of the medical specialist that treated Liam.       new “another psychiatrist” in Florida.
                                                                                     3. Bledar Vata (bodyguard) went to see & disclosed information to “another
Certain Omissions:                                                                   psychiatrist) in Florida of Liam
1. Liam had a mobile phone plus Liam routinely called people via his laptop.         4. Rogelio Nores “manipulated” Liam to fire bodyguard in September 2024.
2. Geoff had the capability to have direct phone contact with Liam & did so.
3. When requested in September 2024 to come to Wellington, Florida to take care      Certain Omissions:
of Liam - Defendant Geoff did not come to Florida.                                   1. When requested in September 2024 to come to Wellington, Florida to take
4. August 23-26, 2024 Geoff – Roger emails – Roger decline to take care of Liam      care of Liam - Defendant Geoff declined to come to Florida.
5. Geoff did not arrange medical specialists in Argentina to take care of Liam and   2. Defendant Geoff made a decision not to come to Argentina to take care of
did not arrange to make sure Liam not alone.                                         Liam despite being the self declared caretaker of Liam.
6. Kate Cassidy lived with Liam in Argentina in the same hotel room as Liam
(Hotel #1 & Hotel #2(rental) & Hotel #3 and she did not & Geoff never requested      No Personal Knowledge:
that Kate Cassidy arrange medical specialists in Argentina to take care of Liam      1. No Personal knowledge of above Certain False Statements in 2nd Sworn
and did not arrange to make sure Liam not alone.                                     Declaration.
                                                                                     2. All rank hearsay with no independent corroboration.
No Personal Knowledge:
1. No Personal knowledge of many False Statements in 1st & 2nd Sworn
Declaration.
                                                                                                              RNF4015 Ex C Demo Chart Geoff Payne 2 Sworn Declaration
2. All hearsay with no independent corroboration.
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                             EXHIBIT D
       January 8, 2025 Plaintiff letter to Defendant Geoff
     seeking retraction and correction of the false Relevant
   Contents of the Two Defendant Geoff Sworn Declarations
    with transmittal e-mail, Note and Evidence Preservation
                              letter
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                                     WHISENAND & TURNER
                                     Professional Association
                                         Attorneys at Law
                                             Suite 250
                                        240 Crandon Blvd.
                                    Key Biscayne, Florida 33149

   TEL: 305-375-8484                                                          FAX: 305-374-2919

                                        January 8, 2025

   via email:
   Geoff Payne

          Re: Request to Retract False Defamatory Statements in Relevant Contents – Rogelio
          Nores (a/k/a Roger Nores)

   Dear Mr. Payne:

           We represent Rogelio Nores (“Mr. Nores”) with respect to his defamation claim against
   you arising from your conduct in Florida, your false statements about Mr. Nores made by you (1)
   in your published October 22, 2024 sworn declaration (“1st Geoff Payne Sworn Declaration”) and
   your published October 25, 2024 sworn declaration (“2nd Geoff Payne Sworn Declaration”), and
   the false defamatory Relevant Contents [as described below] (collectively “Two Geoff Payne
   Sworn Declarations”) and (2) such defamatory false Relevant Contents information and statements
   are contained on the internet that were published in Florida and accessible from Florida.

          You knew or should have known that the false Relevant Contents information and
   statements of the (1) 1st Geoff Payne Sworn Declaration, and (2) the 2nd Geoff Payne Sworn
   Declaration were not true and accurate when made or you made the false Relevant Contents
   information statements negligently, with reckless disregard for the truth or falsity of the
   statements, and with malice. Thee false Relevant Contents contained material omissions known
   or should have been known to you that knowingly made your Two Geoff Payne Sworn
   Statements materially misleading, and important parts were sworn by you when you had no
   personal knowledge of the Relevant Contents. Your false Relevant Contents information
   regarding Mr. Nores and the publication of the your false Relevant Contents information were
   and are continuing to be the proximate cause of Mr. Nores’ damages for which Mr. Nores seeks
   compensatory damages, punitive damages, other damages and relief from you.

          Mr. Nores requests that on or before January 13, 2025, that you (1) retract the false
   Relevant Contents and publish an acceptable factually correct correction that contains no material
   omissions in the same manner that you made the original false Relevant Content statements in all
   respects, (2) issue an acceptable written clarification of the false Relevant Contents information
   and publish the written clarification information in the same manner you made the false Relevant
   Contents in all respects, and (3) forthwith pay mutually agreed damages to Mr. Nores.

                                                                                                   1
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   Relevant Contents 1st Geoff Payne Sworn Declaration

            Appendix A to this Letter contains an October 22, 2024 sworn declaration provided by you
   that is in Spanish and English (in your original document it is stated the translation was done via
   Google translate) which bears your signature. Mr. Nores believes that, among possibly other
   statements, the below sworn statement by you in the 1st Geoff Payne Sworn Statement are false
   and that you knew the statements were false when made or you made the statements negligently,
   with reckless disregard for the truth of the statements, with malice. The false Relevant Contents
   contained material omissions known or should have been known to you that knowingly made your
   1st Geoff Payne Sworn Statements materially misleading and you failed to disclose that parts of
   such statements were not made on your personal knowledge:

      1. Page 2, line15-19 Spanish/page 16/line 14-18English: “For that reason my phone contact
         with Liam was not direct, it was always through third parties, particularly, in his last stay
         in Argentina it was through his girlfriend Katlyne Cassidy (+447                 ) and Roger
         Nores (+1305            ) who were in his care due to his addictions.”
      2. Page 7, line 16-19 Spanish/page 21 /line11-13 English: “I, Liam, and the bodyguard heard
         Roger tell him that he knew that his health was not good, and that since he had known him
         for a long time, he offered to help him in exchange for nothing.”
      3. Page 7, line19-25 Spanish/page 21 /line 13-19 English: “He offered to leave London and
         do a good recovery treatment in Miami. At that moment Roger was entirely available to
         Liam and in his care, he offered to take care of him and his recovery. This call was at night,
         the next day the three of us flew to Miami because we considered that this absolute change
         of environment was going to be favorable for Liam.”
      4. Page 7, line 27-31 Spanish/page 21 /line 21-25 English: “We stayed there for 10 weeks
         with Liam, the four of us. During that time we formed a team with Roger and the bodyguard
         for Liam's recovery, always monitored by psychologists and psychiatrists, all of Roger's
         contacts so I don't have their details now.”
      5. Page 8, line 20-25 Spanish/page 22 /line12-16English: “I had the feeling that it was a safe
         place for him, that he was in good company (the bodyguard is my trusted person and Roger
         at that time and voluntarily offered to take charge and take responsibility for Liam) and I
         thought it was good that he stayed until he started his work in Manchester.”
      6. Page 10, line 3-9 Spanish/page 23 /line 27-32 English: “Asked by the Prosecutor to provide
         the filiation and contact details of the health professionals who were in charge of Liam's
         subsequent treatment in the USA and those who later assisted him here in Argentina as part
         of the procedure to renew his US visa, he replied: "No, that data must be in Roger who
         managed the whole matter"
      7. Page 11, line 29-35 Spanish/page 25 /line16-22 English: “What I want to make clear is that
         Roger had full responsibility for Liam's care during this last period when at least I was not
         there, because that is how he assumed it when he called him by his own means to help him
         in his treatment. In fact, it was Roger himself who decided to accompany Liam on his last
         stay in Buenos Aires as part of all this care he needed. Care of which Roger was well
         aware.”
      8. Page 11-12, line 35-44 Spanish/page 25 /line 22-29 English: “Liam's trust and care group
         at first were the bodyguard and I, in addition to Liam's girlfriend, then Roger joined and
         when I had to go back to my house and the bodyguard too, Roger and Liam's girlfriend
         continued. He was together with Liam precisely to take care of him for no other reason, in
         fact he regularly reported his state of health to me. Liam couldn't be left alone and Roger
         knew it and when the care group format broke when Liam's girlfriend left, Roger booked
         Liam a room for himself and that's how what happened happened.”
                                                                                                     2
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      9. Page 12, line 44-52 Spanish/page 25-26 , line 30-37 English: “Because Roger knew that
          the objective of the group was to keep Liam busy, he could not be left alone in the
          vulnerable situation in which he was, it was even the recommendation that one of the
          doctors in the UK had given me (I don't remember his details) and that was the basis of
          Liam's recovery which was always remembered in the care group that included Roger.
          Liam could not be alone and Roger was the one who had taken responsibility for that care,
          at least during his stay here in Argentina."
      10. Page 12, lines 61-64 Spanish/page 26/line 46-49 English: “When I wasn't with Liam, and
          he stayed with Roger who was responsible for his care, he was the one who reported his
          condition to me and sometimes his bodyguard when he was an artist."

        Among other material matters which makes your 1st Geoff Payne Sworn Statement materially
   misleading, you negligently, knowingly, and/or with reckless disregard and/or with malice, and/or
   negligently omitted from your 1st Geoff Payne Statement:

      1. Your role in support of Liam commencing on or before your 10+ week stay in Wellington,
         Florida and continuing thereafter and intentional or negligent refusal to perform your duties
         as is support of Liam in September and October 2024;
      2. Your refusal to travel to Wellington, Florida – despite a request to do so – in September
         2024 for you to take care of Liam;
      3. You have no personal knowledge of many parts of the 1st Geoff Payne Sworn Statement
         and your statement is based on multiple removed hearsay and guesstimates by you;
      4. You knowingly failed to disclose and to state in the 1st Geoff Payne Sworn Statement that
         parts of your 1st Geoff Payne Sworn Statement were not based on personal knowledge and
         were based on hearsay and guesstimates which you had no reasonable basis to believe were
         true despite your representation of the sworn statements as true.
      5. Despite this knowledge that you maintained and/or failed to disclose, you permitted the
         Relevant Contents information and/or statements of your 1st Geoff Payne Sworn Statement
         to be published and to be made available in Florida and to be accessible from Florida and
         failed to take any action to prevent the publication of the 1st Geoff Payne Sworn Statement
         in Florida and to be accessible from Florida.

       You have provided (1) no corroborative proof of the above Relevant Contents of your 1st Geoff
   Payne Sworn Declaration, (2) no independent corroboration of the above Relevant Contents of
   your 1st Geoff Payne Sworn Declaration and (3) no corroborative proof or independent
   corroboration of your capability to have personal knowledge of the fact events of the Relevant
   Contents of your 1st Geoff Payne Sworn Declaration since you were not personally present in an
   important part of the Relevant Contents of your 1st Geoff Payne Sworn Declaration.

   Relevant Contents 2nd Geoff Payne Sworn Declaration

            Appendix B to this Letter contains an October 25, 2024 sworn declaration provided by you
   that is in Spanish (the English version is translated in Google translate as you did your 1st Geoff
   Payne Sworn Statement) which bears your signature. Mr. Nores believes that, among possibly
   other statements, the below sworn statement by you in the 2nd Geoff Payne Sworn Statement are
   false and that you knew the statements were false when made or you made the statements
   negligently, with reckless disregard for the truth of the statements, or with malice. The false
   Relevant Contents contained material omissions known or should have been known to you that
   knowingly made your 2nd Geoff Payne Sworn Statements materially misleading, and you failed to
   disclose that parts of such statements were not made on your personal knowledge:
                                                                                                    3
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       1. Page 2, line 27-36 Spanish/page 2, line 10-18 English: “It should be noted that Mr. Bledi
          Vata            @gmail.com) turns out to be the one who was Liam's bodyguard in Londres
          (Great Britain) and in Florida (USA) from August 2023 to September 17, 2024, providing
          his cell phone: +447             . That Mr. Vata was fired from his job as a bodyguard by
          Liam, because when the psychiatrist Dr. Rohaidy resigned from her position, Liam went
          to see another psychiatrist with Rogelio Nores, and both hid from him the problems with
          alcohol and drugs that Liam had in order for him to prescribe psychiatric medication and
          avoid giving him the care recommendations that Dr. Rohaidy had given him; that because
          of this situation, Vata decided to go to see the new psychiatrist alone and exposed the real
          problems that Liam had, in view of this fact Rogelio Nores spoke with Liam and
          manipulated him to fire him, which Liam did on September 17, 2024.”

        Among other material matters which makes your 1st Geoff Payne Sworn Statement materially
   misleading, you negligently, knowingly, and/or with reckless disregard, and/or with malice, and/or
   negligently omitted from your 1st Geoff Payne Statement:

       1. Your role in support of Liam commencing on before your 10+ week stay in Wellington,
          Florida and continuing thereafter and intentional or negligent refusal to perform your duties
          in support of Liam in September and October 2024;
       2. Your refusal to travel to Wellington, Florida – despite a request to do so – in September
          2024 for you to take care of Liam;
       3. You have no personal knowledge of many parts of the 2nd Geoff Payne Sworn Statement
          and your statement is based on multiple removed hearsay and guesstimates by you;
       4. You knowingly failed to disclose and to state in the 1st Geoff Payne Sworn Statement that
          parts of your 2nd Geoff Payne Sworn Statement were not based on personal knowledge and
          were based on hearsay and guesstimates which you had no reasonable basis to believe were
          true despite your representation of the sworn statements as true.
       5. Despite this knowledge that you maintained and/or failed to disclose, you permitted the
          Relevant Contents information and/or statements of your 2nd Geoff Payne Sworn Statement
          to be published and to be made available in Florid and to be accessible from Florida and
          failed to take any action to prevent the publication of the 2nd Geoff Payne Sworn Statement
          in Florida and to be accessible from Florida.

       You have provided (1) no corroborative proof of the above Relevant Contents of your 2nd Geoff
   Payne Sworn Declaration, (2) no independent corroboration of the above Relevant Contents of
   your 2nd Geoff Payne Sworn Declaration, and (3) no corroborative proof or independent
   corroboration of your capability to have personal knowledge of the fact events of the Relevant
   Contents of your 2nd Geoff Payne Sworn Declaration since you were not personally present in an
   important part of the Relevant Contents of your 2nd Geoff Payne Sworn Declaration.

   Damages to Mr. Nores arising from the Two Geoff Payne Sworn Statements

         Among other damages and irreparable harm, Mr. Nores believes that the false Relevant
   Content information and/or statements in the Two Geoff Payne Sworn Statements has caused him
   and continues to cause him irreparable damage and monetary damages1 in excess of

   1Mr. Nores will donate the net financial proceeds paid for the benefit of Liam’s son – Bear
   Payne.

                                                                                                     4
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   US$10,000,000 and estimated daily damages in excess of US$100,000/day.

   Request to Retract and to Clarify Relevant Contents information and/or statements (without
   material omissions) of the Two Geoff Payne Sworn Declarations

           You are requested (1) to retract these false Relevant Content information and statements in
   the Two Geoff Payne Sworn Statements immediately and publish your acceptable retraction
   (without material omissions) in the same manner that you made the original false Relevant
   Contents information and/or statements in the Two Geoff Payne Sworn Statements in all respects,
   and (2) to publish an acceptable written clarification of the false Relevant Contents information
   and/or statements (without material omissions), on or before January 13, 2025.




                                                        Sincerely,


                                                        James D. Whisenand




                                                                                                    5
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                             EXHIBIT E
     2024 Google Search of Liam Payne and Rogelio Nores
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                          Exhibit E – Google Search 2024 - Liam Payne – Rogelio (Roger) Nores

   Here are the top Google searches of the year




                                                                                                1
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   Rogelio (Roger) Nores

   Trending Now - Google Trends




                                                                             2
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                             EXHIBIT F
     Sampling of Media Article – Publication of Defendant
   Geoff False Relevant Content Information and Statements
   from Defendant Geoff Two Sworn Declarations [Exhibits
                          J and K]
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                                                             Exhibit F
  Sampling of Media Articles – Defendant Geoff False Relevant Contents Information & Statement From Defendant Geoff Two Sworn
                                                            Statements
                                                     Liam Payne – Rogelio Nores
ARTICLE       Date of         Website of publication        Name of publication – Article               Publication
    #      Publication                                                  title

            October 22,   Us Weekly                               Liam Payne’s Dad Is Willing to   “The Argentine Prosecutor’s Office
            2024                                                  Help in Investigation of His     confirmed to Us Weekly that Geoff has
ARTICLE                   Liam Payne's Dad Willing to Help in     Son’s Death                      spoken to the case’s prosecutor, Dr.
   1                      Investigation of His Son's Death | Us
                          Weekly                                                                   Andres Esteban Madrea, about “his
                                                                                                   desire to investigate and to know what
                                                                                                   happened” with his son, Liam. Geoff
                                                                                                   also expressed that he will share with
                                                                                                   authorities what he knows about his
                                                                                                   son’s life that could potentially aid the
                                                                                                   investigation.”
            October 22,   Newsweek                                New Details Emerge As Liam       “Liam Payne's father, Geoff Payne, is
            2024                                                  Payne's Dad Helps With Son's     offering to help Argentine authorities in their
                          New Details Emerge As Liam Payne's      Death Investigation              investigation into the former One
ARTICLE                   Dad Helps With Son's Death                                               Direction member's tragic death.
                          Investigation
   2
                                                                                                   For his part, the musician's father expressed
                                                                                                   his desire for an investigation and knowledge
                                                                                                   of what happened and expressed to the
                                                                                                   prosecutor his willingness to testify about
                                                                                                   everything he knows about his son's life,
                                                                                                   which can help the investigation," a release,
                                                                                                   translated from Spanish, from the National
                                                                                                   Criminal and Correctional Prosecutor's Office
                                                                                                   No. 14 states.”

                                                                                                                                              1
        RN/F/RNF4015 publication chart Liam Payne Roger Nores
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          October 23,   People Magazine                           Liam Payne's father, Geoff Payne, is
          2024                                                    cooperating with the Argentine
ARTICLE                 Instagram                                 authorities in their investigation into
   3                                                              Liam’s unexpected death,
                        People Magazine | Liam Payne's
                        father, Geoff Payne, is cooperating
                        with the Argentine authorities in their
                        investigation into Liam’s unexpected
                        death, a... | Instagram


          November
ARTICLE   7, 2024       www.sun-sentinel.com
   4                    https://www.sun-
                        sentinel.com/2024/11/07/liam-
                        payne-death-3-charged-argentina/


          November                                                Amigo de Liam Payne imputado              “El jueves 7 de noviembre la Fiscalía
          8, 2024                                                  por su muerte habló: “jamás lo           Nacional Argentina dio a conocer que había
                        Amigo de Liam Payne imputado                   abandoné”. ¿Quién es?                tres personas imputadas por la muerte
                        por su muerte habló: “jamás lo                                                      de Liam Payne. Una de ellas es su amigo y
                        abandoné”.                                                                          quien, según algunos testimonios se
                                                                                                            presentaba como mánager del artista y al
ARTICLE                                                                                                     parecer, también habría ocultado a la familia
   5                                                                                                        que el exintegrante de One Direction recayó
                                                                                                            en sus problemas de adicción.
                                                                                                            La Fiscalía explicó: “El primero de los
                                                                                                            acusados quien acompañaba de manera
                                                                                                            cotidiana al artista durante su estadía en la
                                                                                                            ciudad de Buenos Aires, a quien se lo imputa
                                                                                                            por los delitos de abandono de persona
                                                                                                            seguido de muerte y que prevé una pena de 5
                                                                                                            a 15 años de prisión, en calidad de autor, en
                                                                                                                                                     2
      RN/F/RNF4015 publication chart Liam Payne Roger Nores
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                                                                                                 concurso ideal con suministro y facilitación
                                                                                                 de estupefacientes”, indicó el fiscal Andrés
                                                                                                 Madrea.”
                                                                                                 Translation:
                                                                                                 “On Thursday, November 7, the Argentine
                                                                                                 National Prosecutor's Office announced that
                                                                                                 there were three people charged with the
                                                                                                 death of Liam Payne. One of them is his friend
                                                                                                 and who, according to some testimonies,
                                                                                                 presented himself as the artist's manager and
                                                                                                 apparently, he also hid from the family that
                                                                                                 the former member of One Direction relapsed
                                                                                                 into his addiction problems.

                                                                                                 The Prosecutor's Office explained: “The first
                                                                                                 of the accused, who accompanied the artist on
                                                                                                 a daily basis during his stay in the city of
                                                                                                 Buenos Aires, who is charged with the crimes
                                                                                                 of abandonment of a person followed by death
                                                                                                 and who is punishable by 5 to 15 years in
                                                                                                 prison, as the author, in ideal competition with
                                                                                                 supply and facilitation of narcotics,” said
                                                                                                 prosecutor Andrés Madrea.”
          November                                             Liam Payne pal, accused of        “Authorities interviewed Payne’s father, who
          26, 2024      https://www.newsbreak.com/news/36      ‘abandonment,’ texting with       said that Nores volunteered to take over as
                        91626376219-liam-payne-pal-            singer about drugs, prostitutes   Payne’s caretaker in May and arrange for him
ARTICLE                 accused-of-abandonment-texting-        before fatal fall                 to go to rehab, the documents state”.
                        with-singer-about-drugs-prostitutes-
   6
                        before-fatal-fall
                                                                                                 “Payne’s dad said it was important that Payne
                                                                                                 always stayed busy and was never alone in
                                                                                                 his recovery”.



                                                                                                                                            3
      RN/F/RNF4015 publication chart Liam Payne Roger Nores
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          November      www.tmz.com                           “Liam Payne Prosecutors Lay        “According to the docs, Liam's dad was
          26, 2024                                            Out Why They Accused His           interviewed by authorities and said in May
ARTICLE                 Liam Payne Prosecutors Say Why        Friend of Abandonment”             2024, Roger volunteered to take over Liam's
   7                    They Accused His Friend of                                               care and arrange to put him in rehab. The
                        Abandonment                                                              docs say Liam's father said it was critical that
                                                                                                 Liam always stayed busy and was never
                                                                                                 alone.”


          November      nypost.com                            “Liam Payne pal, accused of        “Authorities interviewed Payne’s father, who
          26, 2024                                            ‘abandonment,’ texting with        said that Nores volunteered to takeover as
                        Liam Payne pal, accused of            singer about drugs, prostitutes    Payne’s caretaker in May and arrange for him
ARTICLE                 'abandonment,' texting with singer    before fatal fall”                 to go to rehab, the documents state.
   8                    about drugs, prostitutes before
                        fatal fall                                                               Payne’s dad said it was important that Payne
                                                                                                 always stayed busy and was never alone in his
                                                                                                 recovery.”


          November      www.posta.com.mx                      “Caso Liam Payne: ¿quién es       “El testimonio del padre de Liam reveló que el
ARTICLE   26, 2024.                                           Rogelio Nores, el amigo            cantante estaba siendo tratado por una
   9                    Caso Liam Payne: ¿quién es            argentino acusado de abandonar     psiquiatra en Estados Unidos, quien advirtió
                        Rogelio Nores, el amigo argentino     al cantante?”                      sobre los riesgos de mezclar alcohol, drogas y
                        acusado de abandonar al cantante?                                        sertralina.     A      pesar      de      estas
                        - POSTA Nuevo León                                                       advertencias,     Payne habría     continuado
                                                                                                 consumiendo bajo la influencia de Nores,
                                                                                                 quien incluso le habría facilitado dinero para
                                                                                                 comprar drogas.”
                                                                                                    Translation:
                                                                                                    “Liam’s father’s testimony revealed that the
                                                                                                 singer was being treated by a psychiatrist in
                                                                                                 the United States, who warned about the risks
                                                                                                 of mixing alcohol, drugs and sertraline.
                                                                                                                                            4
      RN/F/RNF4015 publication chart Liam Payne Roger Nores
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                                                                                                     Despite these warnings, Payne allegedly
                                                                                                     continued to consume under the influence of
                                                                                                     Nores, who allegedly even provided him with
                                                                                                     money to buy drugs”
          November       www.tvynovelas.com               “Revelan por que acusaron al               “Si bien la fuerte acusacion en su contra
          27, 2024                                        amigo de Liam Payne de abandon             podria no ser aceptada por un juez, fue la
                        Revelan por qué acusaron al amigo de persona”                                declaracion del paap de Liam Payne lo que
ARTICLE                 de Liam Payne de abandono de                                                 cambio la perspectiva.
   10                   persona                                                                      Y es que, segun informes de "TMZ", Geoff
                                                                                                     Payne revelo que Rogelio se habia ofrecido a
                                                                                                     hacerse cargo de cuidar a Liam y Tambien de
                                                                                                     organizar su ingreso en una rehabilitacion. El
                                                                                                     papa pidio a su amigo que no lo dejara solo,
                                                                                                     pues dera importante que estuviera siempre
                                                                                                     acompanado por su delicada situacion.”
                                                                                                     Translation:
                                                                                                     While the strong accusation against him
                                                                                                     might not be accepted by a judge, it was the
                                                                                                     statement from Liam Payne's father that
                                                                                                     changed the perspective.
                                                                                                     According to reports from "TMZ", Geoff
                                                                                                     Payne revealed that Rogelio had offered to
                                                                                                     take care of Liam and also organize his
                                                                                                     admission into a rehabilitation center. The
                                                                                                     father asked his friend not to leave him alone,
                                                                                                     as it was important that he was always
                                                                                                     accompanied due to his delicate situation.
ARTICLE   November       Daily Record                          Liam Payne's dad says he missed       “Geoff reportedly raised concerns in the lead up
   11     27, 2024                                             major milestone before son's tragic   to his son's death that his son was on a worrying
                         Liam Payne's dad says he missed       hotel death                           spiral. “
                         major milestone before son's tragic
                         hotel death - Daily Record


                                                                                                                                                  5
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ARTICLE   November                                               “Papá de Liam Payne mostró       “En un nuevo giro en la investigación, Geoff
   12     30, 2024      Papá de Liam Payne mostró                 prueba clave contra Rogelio     Payne, padre de Liam Payne, exvocalista de
                        prueba clave contra Rogelio Nores        Nores por muerte de su hijo”     la agrupación británica One Direction, ha
                        por muerte de su hijo | Revista Vea                                       presentado evidencia crucial que, según los
                                                                                                  fiscales, podría ser clave para condenar a
                                                                                                  Rogelio Nores.”

                                                                                                  Translation:

                                                                                                 In a new twist in the investigation, Geoff
                                                                                                 Payne, father of Liam Payne, former lead
                                                                                                 singer of the British band One Direction, has
                                                                                                 presented crucial evidence that, according to
                                                                                                 prosecutors, could be key to convicting
                                                                                                 Rogelio Nores.
          November      www.infobae.com                        “El padre de Liam Payne entregó “En sus encuentros con la Justicia
          30, 2024                                             a la Justicia la principal prueba argentina, Geoff Payne, padre de Liam
ARTICLE                 El padre de Liam Payne entregó a       para imputar a Rogelio Nores por Payne, aportó la pieza principal para
   13                   la Justicia la principal prueba para   la muerte del cantante”           construir la acusación contra el
                        imputar a Rogelio Nores por la                                           empresario Rogelio Nores, imputado por el
                        muerte del cantante - Infobae                                            fiscal Andrés Madrea por el abandono
                                                                                                 seguido de muerte de su hijo, además del
                                                                                                 suministro de estupefacientes. La pieza es un
                                                                                                 email que data del 16 de septiembre de este
                                                                                                 año, parte de la imputación del fiscal
                                                                                                 Madrea, encargado de esclarecer el
                                                                                                 fallecimiento de Payne, ocurrido un mes más
                                                                                                 tarde, cuando cayó del balcón del tercer piso
                                                                                                 del hotel CasaSur de la calle Costa Rica en el
                                                                                                 barrio de Palermo, en la Ciudad de Buenos
                                                                                                 Aires, para caer contra la base de cemento
                                                                                                 de una sombrilla de jardín, donde se

                                                                                                                                          6
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                                                                          fracturó la base del cráneo, la herida que le
                                                                          costó la muerte.
                                                                          El mail que aportó Geoff Payne a la Fiscalía
                                                                          N°34 conducida por Madrea fue escrito por
                                                                          la neuropsiquiatra de Miami que trató a su
                                                                          hijo a lo largo de este año. En el mensaje, la
                                                                          neuropsiquiatra se desligaba del tratamiento,
                                                                          asegurando que era imposible acompañar a
                                                                          Liam en sus crisis. También, que la mezcla
                                                                          de sertralina con alcohol podría ser fatal.”
                                                                          “El destinatario original de ese correo, según
                                                                          la Justicia argentina, fue Rogelio Nores.”
                                                                          “ La familia Payne es querellante en la causa,
                                                                          a cargo del Juzgado N°34 de Laura Bruniard,
                                                                          representada por el estudio Marval O’Farrell
                                                                          Mairal, según confirmaron fuentes judiciales.
                                                                          La causa misma está en un impasse, lo que
                                                                          impide que, por ejemplo, que Nores sea
                                                                          indagado, así como Braian Paz y Ezequiel
                                                                          Pereyra, acusados de proveerle droga al ex
                                                                          cantante de One Direction.”

                                                                          Translation:
                                                                          “During his encounters with the Argentine
                                                                          justice system, Geoff Payne, Liam Payne’s
                                                                          father, provided the main piece of evidence to
                                                                          build the accusation against businessman
                                                                          Rogelio Nores, accused by prosecutor Andrés
                                                                          Madrea of abandoning and killing his son, as
                                                                          well as supplying narcotics. The piece is an
                                                                          email dated September 16 of this year, part of
                                                                          the accusation by prosecutor Madrea, in
                                                                          charge of clarifying Payne’s death, which
                                                                                                                   7
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                                                                                                 occurred a month later, when he fell from the
                                                                                                 balcony of the third floor of the CasaSur
                                                                                                 hotel on Costa Rica Street in the Palermo
                                                                                                 neighborhood, in the City of Buenos Aires, to
                                                                                                 fall against the cement base of a garden
                                                                                                 umbrella, where he fractured the base of his
                                                                                                 skull, the wound that cost him his death.
                                                                                                 The email that Geoff Payne provided to the
                                                                                                 34th Prosecutor’s Office led by Madrea was
                                                                                                 written by the Miami neuropsychiatrist who
                                                                                                 treated his son throughout this year. In the
                                                                                                 message, the neuropsychiatrist distanced
                                                                                                 herself from the treatment, assuring that it
                                                                                                 was impossible to accompany Liam in his
                                                                                                 crises. Also, that the mixture of sertraline
                                                                                                 with alcohol could be fatal.”
                                                                                                 “The original recipient of that email,
                                                                                                 according to the Argentine Justice, was
                                                                                                 Rogelio Nores.”
                                                                                                 “The Payne family is a plaintiff in the case,
                                                                                                 in charge of Court No. 34 of Laura Bruniard,
                                                                                                 represented by the Marval O’Farrell Mairal
                                                                                                 studio, as confirmed by judicial sources. The
                                                                                                 case itself is at an impasse, which prevents,
                                                                                                 for example, Nores from being investigated,
                                                                                                 as well as Braian Paz and Ezequiel Pereyra,
                                                                                                 accused of providing drugs to the former
                                                                                                 singer of One Direction.”


          December      www.lagaceta.com.ar                   “Cuál es la prueba ue el papá de   “Geoff Payne, padre de Liam Payne, aportó
ARTICLE   1, 2024                                             Liam Payne entregó a la Justicia   la pieza principal para construir la acusación
   14                                                                                            contra el empresario Rogelio Nores,
                                                                                                                                           8
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                  Cuál es la prueba que el papá de   contra Rogelio Nores por la   imputado por el fiscal Andrés Madrea por el
                  Liam Payne entregó a la Justicia   muerte del cantante”          abandono seguido de muerte de su hijo,
                  contra Rogelio Nores por la muerte                               además del suministro de estupefacientes.
                  del cantante                                                     La pieza es un email que data del 16 de
                                                                                   septiembre de este año, parte de la
                                                                                   imputación del fiscal Madrea, encargado de
                                                                                   esclarecer el fallecimiento de Payne, ocurrido
                                                                                   un mes más tarde cuando cayó del balcón del
                                                                                   tercer piso del hotel CasaSur en el barrio de
                                                                                   Palermo, en la Ciudad de Buenos Aires.
                                                                                   Según la acusación, Nores habría controlado
                                                                                   los gastos de Payne, proveyéndole dinero
                                                                                   para comprar drogas y autorizando pedidos
                                                                                   de whisky y champagne reportados desde el
                                                                                   front desk del hotel, con “días permitidos”
                                                                                   para beber y drogarse, a pesar de la
                                                                                   indicación estricta de la neuropsiquiatra.
                                                                                   Incluso, Nores se habría convertido en un
                                                                                   intermediario en la comunicación entre Liam
                                                                                   y su familia.”
                                                                                   Translation:
                                                                                   “Geoff Payne, Liam Payne's father, provided
                                                                                   the main piece to build the accusation against
                                                                                   businessman Rogelio Nores, accused by
                                                                                   prosecutor Andrés Madrea of abandoning his
                                                                                   son and killing him, as well as supplying him
                                                                                   with drugs.

                                                                                   The piece is an email dated September 16 of
                                                                                   this year, part of the accusation by
                                                                                   prosecutor Madrea, in charge of clarifying
                                                                                   Payne's death, which occurred a month later
                                                                                   when he fell from the balcony of the third
                                                                                                                            9
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                                                                                                 floor of the CasaSur hotel in the Palermo
                                                                                                 neighborhood, in the City of Buenos Aires.

                                                                                                 According to the accusation, Nores would
                                                                                                 have controlled Payne's expenses, providing
                                                                                                 him with money to buy drugs and authorizing
                                                                                                 orders for whiskey and champagne reported
                                                                                                 from the front desk of the hotel, with "allowed
                                                                                                 days" for drinking and drug use, despite the
                                                                                                 strict indication of the neuropsychiatrist.
                                                                                                 Nores would even have become an
                                                                                                 intermediary in the communication between
                                                                                                 Liam and his family.”

          December      www.clarin.com                        “La muerte de Liam Payne:          Nores fue señalado como "manager" del
ARTICLE   27, 2024                                            confirman qué consumió e imputan   artista, que lo acompañó en varias
   15                   La muerte de Liam Payne:              a su enigmático amigo y a dos      oportunidades durante sus viajes a Buenos
                        confirman qué consumió e              empleados del hotel”               Aires. La familia del músico direccionó su
                        imputan a su enigmático amigo y a                                        enojo contra Nores que le habría "mentido" a
                        dos empleados del hotel                                                  la familia ocultando su situación de consumo.
                                                                                                 "Está comprometido por varios testimonios
                                                                                                 directos, mensajes", confiaron fuentes de la
                                                                                                 investigación.

                                                                                                 Translation:
                                                                                                 Nores was identified as the artist's
                                                                                                 "manager" who accompanied him on several
                                                                                                 occasions during his trips to Buenos Aires.
                                                                                                 The musician's family directed their anger at
                                                                                                 Nores who had "lied" to the family by hiding
                                                                                                 his drug use. "He is implicated by several
                                                                                                 direct testimonies, messages," said sources of
                                                                                                 the investigation.
                                                                                                                                          10
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ARTICLE   December      www.rollingstone.com                    LIAM PAYNE DIED AFTER              “As for Payne’s friend, the judge claimed that
   16     30, 2024                                               TRYING TO ESCAPE VIA              Nores, who now faces wrongful death
                        https://www.rollingstone.com/mus         HOTEL BALCONY, SAYS               charges, had taken the “position of guarantor”
                        ic/music-news/liam-payne-died-                  JUDGE                      to Payne’s family and was the main point of
                        after-trying-to-escape-hotel-                                              contact for the musician at the hotel. The
                        balcony-judge-1235221318/                                                  judge wrote that, based on the autopsy
                                                                                                   results, “Payne’s state of vulnerability was
                                                                                                   evident”
                                                                                                   “He should have consulted with a doctor
                                                                                                   given the commitment made to the family of
                                                                                                   the deceased,” wrote the judge. “He should
                                                                                                   have done this without trusting how the hotel
                                                                                                   employees could have dealt [with
                                                                                                   Payne].”when Nores left Casa Sur Palermo
                                                                                                   50 minutes before the fall.”
ARTICLE   January 8,    www.miamiherald.com                     Liam Payne’s manager, two hotel    “R.L.N. is "responsible for the crime of
   17     2025                                                  workers charged in One Direction   manslaughter ... given that he had assumed a
                        https://www.miamiherald.com/ne          singer’s death                     position of guarantor toward" Payne's family,
                        ws/nation-                                                                 Bruniard added.”
                        world/world/article297771878.htm
                        l

ARTICLE   January 9,    www.infobae.com                         Las revelaciones del padre de      “Luego, los identificó con nombre y apellido:
   18     2025                                                  Liam Payne que complican al        Kate Cassidy, la novia de Liam, y el
                        https://www.infobae.com/sociedad/po     empresario procesado por la        empresario Rogelio Nores, alias
                        liciales/2025/01/09/las-revelaciones-   muerte de su hijo                  “Roger”. “Estaban a su cuidado por motivo
                        del-padre-de-liam-payne-que-                                               de sus adicciones. A Kate por amor y Roger
                        complican-al-empresario-procesado-                                         porque acompañaba y cuidaba a Liam en
                        por-la-muerte-de-su-hijo/
                                                                                                   estos últimos meses y me reportaba a mí su
                                                                                                   estado”.
                                                                                                   Hoy, “Roger” Nores está procesado por la
                                                                                                   jueza Laura Bruniard el homicidio culposo
                                                                                                   de Liam, junto con otros cuatro acusados
                                                                                                                                              11
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                                                                          más, señalados por la jueza Laura Bruniard
                                                                          por venderle cocaína al cantante y garantizar
                                                                          su muerte con sus imprudencias. Nores fue
                                                                          definido como “un garante” de Liam en su
                                                                          estadía en el país. Ante la jueza, en un
                                                                          descargo escrito, el empresario negó
                                                                          cualquier rol formal con el ex One
                                                                          Direction, al que solo lo unía un lazo de
                                                                          amistad, sin ningún contrato de por medio.

                                                                          Según declaró el jefe de recepción Esteban
                                                                          Grassi, también procesado por el homicidio
                                                                          culposo, Nores se presentó en el CasaSur
                                                                          como “el manager de Payne”. Así lo
                                                                          marcaba, por ejemplo, un mail interno del
                                                                          hotel que entregó el acusado, publicado ayer
                                                                          por este medio.

                                                                          Payne padre conocería bien a Nores a
                                                                          mediados de 2024. El empresario aparece
                                                                          con fuerza en un momento de
                                                                          crisis. "Logramos mantenerlo, estabilizarlo,
                                                                          pero Liam no estaba mejorando. Estaba
                                                                          estable pero no mejoraba. En ese periodo,
                                                                          Liam recibía llamadas de Roger, yo no sabía
                                                                          quién era", continuó. El empresario, aseguró
                                                                          Payne padre, se ofreció a apoyar al ex One
                                                                          Direction “a cambio de nada”.

                                                                          Sin embargo, la simple amistad luego
                                                                          cambiaría, al menos, según Payne padre.


                                                                                                                 12
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                                                                          El vínculo entre Nores y Liam, con el correr
                                                                          del caso, se volvería una clave de la
                                                                          imputación.




                                                                          Ellos dos tenían una relación de amistad. Es
                                                                          verdad que Roger este año gestionó
                                                                          reuniones para que Liam ingresara en el
                                                                          mercado laboral nuevamente, pero él decía
                                                                          que lo hacía para ayudarlo, no por algo a
                                                                          cambio ni con un contrato de por
                                                                          medio, buscaba sus relaciones nada más. Yo
                                                                          igualmente este último tiempo noté
                                                                          que Roger lo direccionaba a Liam para que
                                                                          se desarrollara más en los negocios que en
                                                                          su parte artística. Este cambio de dirección
                                                                          en lo laboral de Liam no era favorecedor
                                                                          para él, porque a él lo que le gustaba hacer y
                                                                          le hacía bien era hacer música", aseveró.

                                                                          “Liam sabía que yo creía que era errado
                                                                          dejara la música por las inversiones. Cuando
                                                                          yo lo conocí a Roger, él estaba enfocado en
                                                                          el bienestar de Liam y lo creí genuino; luego,
                                                                          Roger cambió su enfoque cuando intentó
                                                                          integrar a su novia al circulo de confianza
                                                                          que teníamos con Liam, su novia, el
                                                                          guardaespaldas y yo”. La novia, incluso,
                                                                          apareció en Wellington.



                                                                                                                  13
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                                                                          En el mail interno del hotel
                                                                          CasaSur, Miranda aparece nombrada como
                                                                          “asistente de manager”.”

                                                                          Translation:

                                                                          Later, he identified them by name and surname:
                                                                          Kate Cassidy, Liam's girlfriend, and businessman
                                                                          Rogelio Nores, alias "Roger." "They were in his
                                                                          care because of his addictions. Kate because of
                                                                          love and Roger because he accompanied and
                                                                          cared for Liam in these last months and reported
                                                                          to me his condition."
                                                                          Today, "Roger" Nores is being prosecuted by
                                                                          Judge Laura Bruniard for the negligent homicide
                                                                          of Liam, along with four other defendants,
                                                                          accused by Judge Laura Bruniard of selling
                                                                          cocaine to the singer and guaranteeing his death
                                                                          with their recklessness. Nores was defined as "a
                                                                          guarantor" of Liam during his stay in the country.
                                                                          Before the judge, in a written statement, the
                                                                          businessman denied any formal role with the
                                                                          former One Direction member, who only had a
                                                                          friendship, without any contract in between.
                                                                          According to the statement made by the head of
                                                                          reception Esteban Grassi, also prosecuted for
                                                                          manslaughter, Nores presented himself at the
                                                                          CasaSur as “Payne’s manager.” This was
                                                                          indicated, for example, by an internal email from
                                                                          the hotel that the accused handed over, published
                                                                          yesterday by this newspaper.
                                                                          Payne Sr. would get to know Nores well in mid-
                                                                          2024. The businessman appears strongly at a
                                                                          time of crisis. "We managed to keep him, stabilize
                                                                          him, but Liam was not improving. He was stable
                                                                                                                     14
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                                                                          but not improving. During that period, Liam was
                                                                          receiving calls from Roger, I did not know who he
                                                                          was," he continued. The businessman, Payne Sr.
                                                                          assured, offered to support the former One
                                                                          Direction "in exchange for nothing."
                                                                          However, the simple friendship would later
                                                                          change, at least according to Payne Sr.

                                                                          The link between Nores and Liam, as the case
                                                                          progressed, would become a key to the
                                                                          accusation.

                                                                          “They had a friendship. It is true that Roger
                                                                          arranged meetings this year so that Liam
                                                                          could enter the labor market again, but he
                                                                          said he did it to help him, not for something
                                                                          in return or with a contract involved, he was
                                                                          just looking for his relationships. I also
                                                                          noticed lately that Roger was directing Liam
                                                                          to develop more in business than in his
                                                                          artistic side. This change of direction in
                                                                          Liam's career was not favorable for him,
                                                                          because what he liked to do and what made
                                                                          him good was making music," he said.

                                                                          "Liam knew that I believed it was wrong to
                                                                          leave music for investments. When I met
                                                                          Roger, he was focused on Liam's well-being
                                                                          and I believed it genuine; then, Roger
                                                                          changed his focus when he tried to integrate
                                                                          his girlfriend into the circle of trust that we
                                                                          had with Liam, his girlfriend, the bodyguard


                                                                                                                    15
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                                                                                                  and me." The girlfriend even appeared in
                                                                                                  Wellington.

                                                                                                  In the internal mail of the CasaSur hotel,
                                                                                                  Miranda appears named as “assistant
                                                                                                  manager.”




                        You Tube / etimes                       Video

                        https://www.youtube.com/watch?v=
                        J-cDqRHMAPM

                        Liam Payne's Father Helps
                        Argentina Authorities; Provides
                        With Crucial Evidence Against
                        Roger Nore


ARTICLE   Event -       https://www.unation.com/event/one       One Direction Night – West Palm   Welcome to One Direction Night - All For Liam!
   19     January 17,   -direction-night-a-night-for-liam-in-   Beach                             Join us on January 17th at The Banyan Live in
          2025          west-palm-beach-                                                          West Palm Beach for a night filled with all your
                        56903209/?srsltid=AfmBOoqO9c7EJP                                          favorite One Direction hits in honor of Liam
                        -                                                                         Payne. Get ready to dance and sing along to all
                        mrJcYyRDpqkkInz8IdI6b5oe1iycoHdO                                          the iconic songs that made One Direction a global
                        LMO2Xjua2
                                                                                                                                             16
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                                                                          sensation. Lets come together to show our love
                                                                          and support for Liam! See you there!




                                                                                                                    17
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                     ARTICLE 1
1/10/25,Case
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                                                  Liam Payne's 1
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                                   CELEBRITY NEWS

                                   Liam Payne’s Dad Is Willing
                                   to Help in Investigation of
                                   His Son’s Death
                                   By Kaitlin Simpson | October 22, 2024




                                       Liam Payne, Geoff Payne PG/Bauer-Griffin/GC Images ; Marcos Brindicci/Getty Images



                                       Liam Payne’s dad, Geoff Payne, is willing to help authorities with the
                                       investigation of his son’s death.

                                       The Argentine Prosecutor’s Office confirmed to Us Weekly that
                                       Geoff has spoken to the case’s prosecutor, Dr. Andres Esteban
                                                                                            Why the NFL Warned Beyonce Over Her Christmas Halftime S…
                                       Madrea, about “his desire to investigate and to know what
                                       happened” with his son, Liam. Geoff also expressed that he will
                                       share with authorities what he knows about his son’s life that could
                                       potentially aid the investigation.




 ✕




https://www.usmagazine.com/celebrity-news/news/liam-paynes-dad-willing-to-help-in-investigation-of-his-sons-death/                                      1/9
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                                       Geoff will remain in Argentina under “dynamic police custody until
                                       the end of the judicial proceedings and given his state of logical
                                       commotion due to the death of his son,” per the prosecutor’s office.
                                       According to Madrea, the office’s top priority is to preserve “the
                                       privacy of the family of the former member of the band One
                                       Direction.”




                                       “Everything that arises within the framework of the investigation will
                                       first be informed to the family,” the department said in a statement
                                       to Us. “And given the high public exposure that the musician had,
                                       the communication will be limited to the institutional channels of
                                       the Public Prosecutor’s Office.”




                                                         Related: Everything to Know So Far About Liam
                                                         Payne's Shocking Death at 31
                                                                                                    Why the NFL Warned Beyonce Over Her Christmas Halftime S…



                                       Us confirmed that Liam died at age 31 on Wednesday, October 16.
                                       The former One Direction singer suffered from several “serious
                                       injuries” following a falling from a third-story balcony at a Bueno
                                       Aires hotel, per Buenos Aires emergency services chief Alberto
                                       Crescenti.

                                       In addition to Geoff, Liam is survived by his mother Karen, older
                                       sisters Ruth and Nicola and 7-year-old son Bear whom he shared

https://www.usmagazine.com/celebrity-news/news/liam-paynes-dad-willing-to-help-in-investigation-of-his-sons-death/                                              2/9
1/10/25,Case
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                                       with ex Cheryl Cole.

                                       “We are heartbroken. Liam will forever live in our hearts and we’ll
                                       remember him for his kind, funny and brave soul,” Liam’s family told
                                       the BBC in a statement. “We are supporting each other the best we
                                       can as a family and ask for privacy and space at this awful time.”

                                       Liam’s dad arrived in Argentina after news broke of Liam’s death.
                                       Outside the hotel where Liam died, fans put together an impromptu
                                       memorial for the singer with handwritten notes, letters, flowers and
                                       candles. Geoff was seen at the makeshift memorial, taking in the
                                       tributes and paying his respects.




                                                         Related: Liam Payne‘s Quotes About His Mental
                                                         Health Struggles Over the Years



                                       According to a 9-1-1 phone call from the day of Liam’s death, a
                                       hotel receptionist called the authorities to report a guest who was
                                       “high on drugs” and “trashing” their room. The caller believed the
                                       unnamed guest “may be in danger,” per the BBC.

                                       One week after his death, ABC reported that Liam’s partial autopsy
                                       showed that the musician had “pink cocaine” — a recreational drug
                                       that typically mixes methamphetamine, ketamine and MDMA —
                                       cocaine, benzodiazepine and crack in his system at the time of his
                                                                                                    Why the NFL Warned Beyonce Over Her Christmas Halftime S…
                                       death.


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                                                                                                   of His Son's              Page 80 of 263
                                                                                                                Death | Us Weekly

                                       Liam was previously candid about his struggles with drugs and
                                       alcohol. Last year, he revealed that he was 100 days sober after a
                                       stint in rehab.

                                       With reporting by Luciana Arias

                                       If you or someone you know is struggling with substance abuse,
                                       contact the Substance Abuse and Mental Health Services
                                       Administration (SAMHSA) National Helpline at 1-800-662-HELP
                                       (4357).




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                                         Matthew Lawrence and Chilli Pack on the          General Hospital’s John Ca
                                         PDA as They Celebrate the New Year               83




                                                                                                    Why the NFL Warned Beyonce Over Her Christmas Halftime S…

                                                                   IN THIS ARTICLE


                                                   Liam Payne




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   New Details Emerge As Liam
   Payne's Dad Helps With Son's
   Death Investigation
   Published Oct 22, 2024 at 12:31 PM EDT




https://www.newsweek.com/liam-payne-dad-geoff-death-investigation-update-1972993                                               1/26
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                                                               By Erin Keller
                                                              Reporter (Live News)

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         2




   L         iam Payne's father, Geoff Payne, is offering to help Argentine authorities in their
             investigation into the former One Direction member's tragic death.

   Geoff Payne arrived at CasaSur Palermo Hotel in Buenos Aires on Friday where his 31-year-old
   son fell to his death from a third-floor balcony on October 16 and participated in a moment of
   silence outside led by heartbroken fans.

   While the toxicological and histopathological studies complementary to Liam Payne's autopsy
   report have yet to be completed, Argentine authorities announced Tuesday that Geoff Payne is
   willing to offer up any information on his famous son.

   "For his part, the musician's father expressed his desire for an investigation and knowledge of
   what happened and expressed to the prosecutor his willingness to testify about everything he
   knows about his son's life, which can help the investigation," a release, translated from
   Spanish, from the National Criminal and Correctional Prosecutor's Office No. 14 states.

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   Geoff Payne, father of Liam Payne, visits the memorial in tribute to former One Direction singer outside Casa Sur Hotel on
   October 18 in Buenos Aires, Argentina GETTY IMAGES



   A preliminary autopsy report released Thursday stated Liam Payne died from "multiple
   traumas" and internal and external bleeding sustained from his fall.

   Several national and international outlets, including ABC News, now report that Liam Payne
   had drugs, including "pink cocaine" in his system at the time of death. The party drug usually
   includes a combination of MDMA, ketamine, and methamphetamine.

   Argentine authorities added Tuesday that they informed Geoff Payne that Liam's body must
   stay in the country until all reports are finished. Their investigation includes the review of cell
   phone and computer data, as well as photos and videos from security cameras that will require
   longer analysis.




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                                                                                              Investigation - Newsweek

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   Geoff Payne, father of Liam Payne, visits the fan tributes for the late former One Direction member outside Casa Sur Hotel
   on October 18 in Buenos Aires, Argentina GETTY IMAGES



   They have also informed the United Kingdom government of the legal proceedings since Liam
   Payne was a British citizen.

   Andrés Esteban Madrea, the head of the Prosecutor's Office No. 14, also ordered that "Geoff
   Payne have a dynamic police accompaniment until the judicial proceedings are completed and
   given his state of logical shock by the death of his son."


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   English singer Liam Payne and US actor Katie Cassidy pose on the red carpet upon arrival at The 2022 Fashion Awards in
   London on December 5, 2022. A timeline of the social media influencer and... More DANIEL LEAL/AFP/GETTY
   IMAGES




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   In a statement regarding Liam's death, his family told the BBC last week, "We are heartbroken.
   Liam will forever live in our hearts and we'll remember him for his kind, funny, and brave soul.
   We are supporting each other the best we can as a family and ask for privacy and space at this
   awful time."

   In a 911 call moments before Payne's death, one of the hotel's senior staff reported that he
   was behaving aggressively and may have been under the influence of drugs or alcohol.

   Payne's former One Direction bandmates Harry Styles, Louis Tomlinson, Zayn Malik and Niall
   Horan released a joint statement, as well as their own tributes, amid the shocking loss of their
   "brother."




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                                                                                  Son's Death                 Page 88 of 263
                                                                                              Investigation - Newsweek

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   Geoff Payne visits the fan-made Liam Payne tribute.            GETTY IMAGES




   "We're completely devastated by the news of Liam's passing. In time, and when everyone is
   able to, there will be more to say. But for now, we will take some time to grieve and process the
   loss of our brother, who we loved dearly."

   "The memories we shared with him will be treasured forever. For now, our thoughts are with his
   family, his friends, and the fans who loved him alongside us. We will miss him terribly. We love
   you Liam," the statement concluded.

https://www.newsweek.com/liam-payne-dad-geoff-death-investigation-update-1972993                                               7/26
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                                                                                             Payne, is cooperating with the
                                                                                             Argentine authorities in their
                                                                                             investigation into Liam’s unexpected
                                                                                             death, a National Criminal and
                                                                                             Correctional Prosecutor's Office No.
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                                                                                                                Liam Payne




                    NEWS  WORLD NEWS

                    Argentine prosecutors charge 3
                    people linked to the death of
                    former One Direction star Liam
                    Payne




                    A picture of former One Direction singer Liam Payne adorns a memorial outside the
                    hotel where he was found dead after falling from a balcony in Buenos Aires, Argentina,
                    Thursday, Oct. 17, 2024. (AP Photo/Natacha Pisarenko)


                    By ASSOCIATED PRESS | ap@dfmdev.com
                    UPDATED: November 7, 2024 at 5:52 PM EST




https://www.sun-sentinel.com/2024/11/07/liam-payne-death-3-charged-argentina/?clearUserState=true                             1/19
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                                                                                                                Liam Payne




                    By ALMUDENA CALATRAVA

                    BUENOS AIRES (AP) — Three people have been charged in connection with
                    the death of Liam Payne, a former member of musical group One Direction
                    who died after falling from the balcony of his hotel room in Buenos Aires last
                    month, Argentine prosecutors said Thursday.

                    Prosecutor Andrés Madrea charged the three suspects, whose identities were
                    not revealed, with the crimes of “abandonment of a person followed by
                    death” and “supplying and facilitating the use of narcotics,” the prosecutor’s
                    office said. Madrea also requested their arrest to judge Laura Bruniard, who
                    ruled the three cannot leave the country.

                    Payne fell from his room’s balcony on the third floor of his hotel in the upscale
                    neighborhood of Palermo, in the Argentine capital. His autopsy said he died
                    from multiple injuries and external bleeding.




                    Prosecutors also said that Payne’s toxicological exams showed that his body
                    had “traces of alcohol, cocaine and a prescribed antidepressant” in the
                    moments before his death.




https://www.sun-sentinel.com/2024/11/07/liam-payne-death-3-charged-argentina/?clearUserState=true                             2/19
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                                                                                                                Liam Payne

                    Investigators said hours after Payne’s death that he was by himself when he
                    fell. The prosecutors’ office said one of the people charged was often with the
                    singer during his time in Buenos Aires. The second is a hotel staffer who
                    allegedly gave Payne cocaine during his stay between Oct. 13 and 16. And the
                    third is a drug dealer.




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                    The charges bear some resemblance to the U.S. cases stemming from the
                    death of “Friends” star Matthew Perry a year ago. The actor’s personal
                    assistant and a longtime friend are among those charged with helping supply
                    him with ketamine in the final months of his life, leading up to his overdose
                    on the anesthetic.

                    Three young men were similarly charged in the opioid-overdose death
                    of rapper Mac Miller in 2018.

                    One Direction was among the most successful boy bands of recent times. It
                    announced an indefinite hiatus in 2016 and Payne — like his former
                    bandmates Zayn Malik, Harry Styles, Niall Horan, and Louis Tomlinson —
                    pursued a solo career.

                    The singer had posted on his Snapchat account that he traveled to Argentina
                    to attend Horan’s concert in Buenos Aires on Oct. 2. He shared videos of
                    himself dancing with his girlfriend, American influencer Kate Cassidy, and
                    singing along in the stands. Cassidy had left Argentina after the show, but
                    Payne stayed behind.

                    Originally Published: November 7, 2024 at 5:44 PM EST



https://www.sun-sentinel.com/2024/11/07/liam-payne-death-3-charged-argentina/?clearUserState=true                             3/19
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                                                                                               “I never abandoned him.”96 of 263

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      Liam Payne's friend charged with his death spoke out: 'I never left

                                                          him'. Who is he?

     Rogelio Nores, the friend of the One Direction singer who is accused of abandoning him in a vulnerable state and
       who, according to authorities, contradicts himself in his statements, gave his version of events. He could go to
                                                            prison.
                                                                 By Vea Editorial Staff
                                                                   November 8, 2024




https://www.elespectador.com/revista-vea/lo-ultimo/amigo-de-liam-payne-imputado-por-su-muerte-hablo-jamas-lo-abandone/             1/11
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    Photography by: Samir Hussein




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               n Thursday, November       7, the by
                                                  Argentine    National    Prosecutor's        Office  announced that there were three people

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               charged with the death of Liam Payne . One of them is his friend who, according to some testimonies,


    presented himself as the artist's manager and apparently also hid from the family that the former member of One


    Direction relapsed into his addiction problems.




    The Prosecutor's Office explained: "The first of the accused, who accompanied the artist on a daily basis during his stay


    in the city of Buenos Aires, is charged with the crimes of abandonment of a person followed by death and which carries


    a sentence of 5 to 15 years in prison, as the perpetrator, in conjunction with the supply and facilitation of narcotics," said


    prosecutor Andrés Madrea.




    Related links
       3 people arrested for the death of Liam Payne. He consumed a lethal mixture for 72 hours
       Liam Payne's friend is being investigated for his death. Hotel employees are under scrutiny
       Liam Payne's funeral: when is it, where is it and who will attend One Direction's farewell
       Liam Payne donated large sums of money before his death. To whom and why?
       Liam Payne: Witness who saw him fall emerges. Video would support his version What happened?
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    A few hours after it was made public that it was Mr Rogelio Nores, also known as Roger, he gave an interview to the


    Daily Mail denying the accusations.




    Liam Payne's best friend reveals what their last meeting was like
    “I never left Liam ; I went to his hotel three times that day and left 40 minutes before this happened,” Nores said.


    “There were over 15 people in the hotel lobby talking and joking with him when I left,” she said, adding that she had


    already given her statement and has not given further evidence.




    “I could never have imagined that something like this would happen . I gave my statement to the prosecutor on October


    17 as a witness and have not spoken to any police officer or prosecutor since.                          I was not Liam’s manager ; he was just a


    very dear friend, and please refer to the email I sent to Liam and his team on August 23. I am truly devastated by this


    tragedy and     miss my friend every day .”



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    You could read: They claim that Liam Payne arrived clean and sober at the hotel. He was rehabilitated




    Liam Payne's friend accused of abandoning him will not be able to attend his
    funeral
    Rogelio also explained that his home in Buenos Aires has not been raided as reported in some media.




    At the moment it is known that this friend of the artist will not be at his funeral, since although initially an arrest


    warrant was issued, it was later decided that the accused can be released, since they presented themselves voluntarily,


    while the investigation progresses, however they cannot leave the country and in the case of Nores, his passport was


    requested.




    Nores also mentioned that he was not presenting himself as a manager, as has also been reported. “He was just a very


    dear friend. I am truly heartbroken by this tragedy and have missed my friend every day.”




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    Liam Payne pal, accused of ‘abandonment,’
    texting with singer about drugs, prostitutes
    before fatal fall
    By Patrick Reilly, 2024-11-26




    Liam Payne texted his friend and designated caretaker about using drugs and having
    sex with prostitutes just hours before he fell to his death — with prosecutors wanting to
    try the pal for “abandonment” for failing to save him from his spiraling drug abuse.


    Argentine businessman Roger Nores, 35, who was one of the three men charged in con-
    nection to the One Direction star’s death after he plummeted from a hotel balcony in a
    drug-induced daze last month, checked in on Payne a total of three times the day he
    died, Argentinian prosecutors claimed in court documents obtained by TMZ .

https://www.newsbreak.com/news/3691626376219-liam-payne-pal-accused-of-abandonment-texting-with-singer-about-drugs-prostitutes-before-fatal-…   1/26
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    Liam Payne with manager Rogelio ‘Roger’ Nores and friends. SnapChat



    Around 7 a.m. on Oct. 16, an already intoxicated Payne texted Nores and said, “Dude I
    think I’m going to f—k a hooker,” prosecutors said. About two and a half hours later,
    Payne texted him and asked for “6 grams” — presumably meaning cocaine.


    Payne and Nores had breakfast together at the CasaSur Palermo Hotel in Buenos Aires,
    where Payne was drinking whiskey. Afterwards, Payne went back to his trashed hotel
    room and frantically searched for a “powder,” according to a maid who was in the room.


    A pair of prostitutes showed up to Payne’s room around 11:30 p.m. and had sex with
    him, they told police. He also asked them for cocaine because he was all out.


    Liam Payne was attempting to escape from hotel room before he fell to his death:
    report



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    He would later ask a hotel employee for “another 7 grams for today” around 2 p.m.
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    Nores left Payne’s room shortly after 4 p.m., and around the same time hotel staff re-
    ported hearing Payne smash things. Someone from the hotel tried calling Nores, but he
    did not answer.


    When the prostitutes asked for payment, Payne freaked out and punched the television.
    Nores came back to the hotel around 3:45 p.m. to pay the women, by which time staffers
    noticed the singer appeared “visibly drunk.”




    Photo from the Buenos Aires Police shows a candle and traces of white powder on a table of Payne’s hotel room. Buenos Aires Police/AFP via Getty
    Images



    Liam Payne’s girlfriend Kate Cassidy sobs over ‘painful’ CCTV footage showing
    singer being carried through hotel lobby before death: ‘He could have been saved’


    Nores texted Payne, “Are you ok?” at 4:25 p.m. but the star did not respond.


    Nores has maintained that Payne appeared fine when he left him at the hotel about an
    hour before he fell to his death from the balcony, sources close to Nores told TMZ.



https://www.newsbreak.com/news/3691626376219-liam-payne-pal-accused-of-abandonment-texting-with-singer-about-drugs-prostitutes-before-fatal-…          3/26
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    Moments before Payne’s fatal plunge, a hotel worker called 911 and said they feared for
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    his safety after they had to drag him through the hotel lobby and lock him in his room.
    The employee indicated that he could hurt himself using the balcony to escape.


    Nores was charged with abandonment for allegedly failing to inform the musician’s family
    that he had relapsed on drugs. He testified as a witness, which led a judge to decide that
    he had allegedly breached his duty of care with respect to Payne.




    Roger Nores was charged with abandonment in connection to Payne’s death. Courtesy of Rogelio 'Roger' Nores.



    Authorities interviewed Payne’s father, who said that Nores volunteered to takeover as
    Payne’s caretaker in May and arrange for him to go to rehab, the documents state.


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    Payne’s dad said it was important that Payne always stayed busy and was never alone
    in his recovery.


    Earlier this month, Nores, said he “never abandoned Liam .”
https://www.newsbreak.com/news/3691626376219-liam-payne-pal-accused-of-abandonment-texting-with-singer-about-drugs-prostitutes-before-fatal-…   4/26
Case 9:25-cv-80060-AMC Document 1 Entered on FLSD Docket 01/15/2025 Page 105 of 263




                      ARTICLE 7
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1/10/25,       9:25-cv-80060-AMC
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                                                                                  They Accused      01/15/2025
                                                                                               His Friend            Page 106 of 263
                                                                                                          of Abandonment




                           Gov. Gavin Newsom        Celebrity Heart       Ronda Rousey &          Guess Who This Star    Heidi Klum and Tom
                            Confronted by CA       Hands For A Feel-       Travis Browne          Student Turned Into!   Kaulitz Get Physical
                             Wildfire Victim,        Good Friday!        Welcome New Baby                                 on St. Barts Beach
                           Demands to Talk to                                   Girl
                              the President



                          Liam Payne Prosecutors Say Why They Accused His Friend of Abandonment




                          LIAM PAYNE
                          PROSECUTORS
                          LAY OUT WHY
                          THEY ACCUSED
                          HIS FRIEND OF
                          ABANDONMENT
                            EXCLUSIVE                    223             11/26/2024 1:00 AM PT




https://www.tmz.com/2024/11/26/liam-payne-prosecutors-clarify-why-accused-friend-of-abandonment/                                                1/9
      Case
1/10/25,       9:25-cv-80060-AMC
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                                                                               They Accused      01/15/2025
                                                                                            His Friend            Page 107 of 263
                                                                                                       of Abandonment




                                                                                                                 Getty


                          Liam Payne's good friend who Buenos Aires authorities want to prosecute for
                          "abandonment" knew Liam had fallen off the wagon but still left him alone ... so claim
                          prosecutors in an official document obtained by TMZ.




                          Roger Nores had been extremely close to Liam in the last months of his life. The 2
                          traveled to Argentina together, but Liam stayed in the CasaSur Hotel alone and Roger
                          stayed elsewhere.




https://www.tmz.com/2024/11/26/liam-payne-prosecutors-clarify-why-accused-friend-of-abandonment/                                    2/9
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                                                                                                       of Abandonment




                                                                                                               Backgrid


                          According to the docs, Liam's dad was interviewed by authorities and said in May 2024,
                          Roger volunteered to take over Liam's care and arrange to put him in rehab. The docs
                          say Liam's father said it was critical that Liam always stayed busy and was never
                          alone.




                                                                   Ad removed. Details




                          Liam's dad said he became alarmed in September after his son fired a bodyguard who
                          was trying to stop him from doing drugs.

                          Prosecutors say Roger knew Liam was clearly off the wagon. They say at 10 PM the
                          night before Liam died, Liam ordered 4 bottles of whiskey, and at 6:36 AM the next
                          morning he ordered 5 more bottles of whiskey. They say at 7 AM he texted Roger,
                          "Dude I think I'm going to f*** a hooker." And, authorities say, at 9:32 AM Liam texted
                          Roger, "Can you get 6 grams?" ... presumably referring to cocaine.




https://www.tmz.com/2024/11/26/liam-payne-prosecutors-clarify-why-accused-friend-of-abandonment/                                    3/9
      Case
1/10/25,       9:25-cv-80060-AMC
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                                                                                                       of Abandonment




                          They say when Roger arrived at the hotel they went to breakfast where Liam drank
                          whiskey. The maid went to the room when they were at breakfast and said the room
                          was trashed. Authorities say Liam went back to the room after breakfast and the maid
                          said he was chaotically looking for something and eventually found a "powder."




                            THE TROUBLING TIMELINE
                                                                                                             TMZ.com


                          At 11:30 AM 2 prostitutes showed up ... and they told police they had sex with Liam.
                          They say he asked them for cocaine because he was out. They also say Liam became
                          enraged when they asked for payment and punched the TV 3 times.

                          At around 2:00 PM authorities say he asked a hotel employee ... "I'm gonna need
                          another 7 grams for today."




https://www.tmz.com/2024/11/26/liam-payne-prosecutors-clarify-why-accused-friend-of-abandonment/                                    4/9
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                          According to the docs, Roger came back to the hotel at 3:45 PM to pay the prostitutes,
                          and at 4 PM a staffer claimed Liam was "visibly drunk" with dilated pupils. At 4:04 PM
                          Roger left the hotel. A short time later, a housekeeper heard Liam breaking objects in
                          his room, and someone from the hotel tried calling Roger but he didn't answer. At 4:25
                          PM Roger texted Liam, "How are you?" but Liam didn't respond.

                          Sources connected to Roger tell TMZ ... he checked on Liam 3 times the day he died
                          and insists when he left Liam at the hotel about an hour before the fatal fall from the
                          balcony, Liam was fine and showed no evidence of being under the influence of
                          anything.

                          Now the twist ... the prosecutors who wrote this document are national prosecutors,
                          but a judge ruled any case involving alleged abandonment should be handled by local
                          prosecutors. So, the judge told national prosecutors they had no jurisdiction to pursue
                          abandonment. So far, there have been no charges filed by local prosecutors. The
                          national prosecutors tried appealing the judge's ruling, but the appeal was rejected.

                          Prosecutor Andre Madrea tells TMZ ... he is still fully on the case and the judge has not
                          made a final decision on whether he has jurisdiction ... and that will happen Monday.
                          Madrea also tells us additional people may be charged in connection with Liam's death.




https://www.tmz.com/2024/11/26/liam-payne-prosecutors-clarify-why-accused-friend-of-abandonment/                                    5/9
      Case
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                                                                                                       of Abandonment




                                                                                                                     TMZ.com


                          As TMZ reported, 3 hotel workers grabbed Liam by the arms and legs against his will
                          and took him to his room. Documents show the first time they did this Liam got back
                          in the elevator and when the door opened in the lobby he was unconscious but
                          regained consciousness and went into the lobby, and collapsed again. They took him
                          back upstairs and left him in the room alone.

                                                            The TMZ Podcast
                                                            NEW DETAILS: Liam Payne Was Trying to Escape from Bal…




                                                 SHARE   SUBSCRIBE   DESCRIPTION




                          As we reported, one of the employees who carried Liam called 911 and said they were
                          worried he might hurt himself because of the balcony ... suggesting Liam may have said
                          he was going to use the balcony to escape.




https://www.tmz.com/2024/11/26/liam-payne-prosecutors-clarify-why-accused-friend-of-abandonment/                                    6/9
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                                                                                                       of Abandonment




                            REMEMBERING LIAM PAYNE                                                      LAUNCH GALLERY

                                                                                                                            Getty


                          In fact, it appears Liam tried to do just that, because he put a hat on, strapped a bag
                          to his shoulder, and apparently dropped a leather bag from his third-floor balcony to
                          the second-floor balcony directly below. It appears Liam was trying to scale down to
                          the second-floor balcony when he fell to his death.


                                                          SHARE                             SHARE




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                                                 Liam Payne's Florida Mansion Back Up For Rent After His Death




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                      ARTICLE 8
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                                                                                  singer about drugs, prostitutesPage     114fallof 263
                                                                                                                  before fatal




       BREAKING NEWS                Bronx fire leaves 7 injured as 200 firefighters respond to 5-alarm blaze

      WORLD NEWS


    Liam Payne pal, accused of ‘abandonment,’ texting with
    singer about drugs, prostitutes before fatal fall
    By Patrick Reilly
                                                                                                                                                            21
    Published Nov. 26, 2024, 1:08 p.m. ET




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                    terrifying road-rage...                     second’ rule                          China as US cases...                       turns red near Sy




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    Liam Payne texted his friend and designated caretaker about using drugs and having sex with prostitutes just hours before he fell to his death — with
    prosecutors wanting to try the pal for “abandonment” for failing to save him from his spiraling drug abuse.

    Argentine businessman Roger Nores, 35, who was one of the three men charged in connection to the One Direction star’s death after he plummeted from
    a hotel balcony in a drug-induced daze last month, checked in on Payne a total of three times the day he died, Argentinian prosecutors claimed in court
    documents obtained by TMZ.




https://nypost.com/2024/11/26/world-news/liam-payne-pal-accused-by-of-abandonment-texting-with-singer-about-drugs-prostitutes-before-fatal-fall/                 1/12
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                                                                                                                  before fatal




                           4


                       Liam Payne with manager Rogelio ‘Roger’ Nores and friends.
                       SnapChat


    Around 7 a.m. on Oct. 16, an already intoxicated Payne texted Nores and said, “Dude I think I’m going to f—k a hooker,” prosecutors said. About two and
    a half hours later, Payne texted him and asked for “6 grams” — presumably meaning cocaine.

    Payne and Nores had breakfast together at the CasaSur Palermo Hotel in Buenos Aires, where Payne was drinking whiskey. Afterwards, Payne went
    back to his trashed hotel room and frantically searched for a “powder,” according to a maid who was in the room.




https://nypost.com/2024/11/26/world-news/liam-payne-pal-accused-by-of-abandonment-texting-with-singer-about-drugs-prostitutes-before-fatal-fall/              2/12
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                      ARTICLE 9
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                                                                                            abandonar al cantante?     117Nuevo
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                                                                                                                                León




                                                                       Publicidad




    INICIO / ENTRETENIMIENTO /
                                                                                                                    LO MÁS
                                                                                                                    LEÍDO
    Entretenimiento


    Caso Liam Payne: ¿quién es
                                                                                                                  Mike Salazar:
                                                                                                                  Confiesa terrible

    Rogelio Nores, el amigo
                                                                                                                  momento de
                                                                                                                  incertidumbre, su

    argentino acusado de
                                                                                                                  niña está en
                                                                                                                  cuidados

    abandonar al cantante?                                                                                        intermedios


    Nores enfrenta serias acusaciones por su presunta participación en la                                         Muere Enrique
    muerte de Liam Payne, y los cargos en su contra podrían llevarlo a la                                         Páez Rubio, actor
    cárcel por hasta 15 años                                                                                      y director de
                                                                                                                  teatro, a los 61
                                                                                                                  años


                                                                                                                  Yurem Rojas
                                                                                                                  propone
                                                                                                                  matrimonio
                                                                                                                  durante concierto
                                                                                                                  y es rechazado
                                                                                                                  (VIDEO)


                                                                                                                  ¡Primero
                                                                                                                  Cinemex!, ahora
                                                                                                                  Sears anuncia el
    Caso Liam Payne: ¿quién es Rogelio Nores, el amigo argentino acusado de abandonar al cantante? Foto:          cierre de una de
    Canva/Archivo
                                                                                                                  sus tiendas en
                                                                                                                  Nuevo León

https://www.posta.com.mx/entretenimiento/caso-liam-payne-quien-es-rogelio-nores-el-amigo-argentino-acusado-de-abandonar-al-cantante/vl1636600   1/6
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                                                                                                                  Salud descarta
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                                                 Publicidad                                                       en Nuevo León
    PUBLICADO EL                                                                                     POR:
    Noviembre 26, 2024, 10:05                                                              Abraham López
                                                                                                                  Ataque armado en
                                                                                                                  San Nicolás deja
    MONTERREY Nuevo León.- Una imagen de cámara de seguridad que                                                  a un joven herido
    muestra al ex One Direction Liam Payne ocho minutos antes de morir
    llevado a rastras por personal del hotel CasaSur fue publicada por                                            VIDEO | Regia se
    diversos medios del mundo. La reconstrucción minuto a minuto de la                                            vuelve viral tras
    fiscalía revela un dato clave para acusar a Roger Nores.                                                      su reacción en
                                                                                                                  presentación de
                                                                                                                  Yeri Mua




                                                                                                                           Publicidad




    Algunos medios han dado a conocer una imagen
    que puede cambiar las investigaciones


    En los últimos días, medios como TMZ, el Mail Online en Londres y el
    New York Post han difundido la imagen verídica que forma parte del
    expediente que investiga la muerte del cantante en Buenos Aires. La
    imagen corresponde a las 16:54 del 16 de octubre, apenas ocho
    minutos antes de que Payne cayera desde el balcón de su habitación en
    el tercer piso del hotel CasaSur, falleciendo en el acto.                                                              Publicidad
                                                                                                                           Publicidad




https://www.posta.com.mx/entretenimiento/caso-liam-payne-quien-es-rogelio-nores-el-amigo-argentino-acusado-de-abandonar-al-cantante/vl1636600   2/6
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                                                                                                                                León

    El análisis toxicológico posterior reveló la presencia de alcohol, cocaína
    y sertralina en la sangre de Payne, un potente antidepresivo. Los peritos                                    NOTAS
    concluyeron que el cantante no pudo haber tenido conciencia de lo que
                                                                                                                 MÉXICO
                                                                                                                    ¿Quieres pagar
    ocurría, ya que su cabeza sufrió graves traumatismos. Además, se
                                                                                                                          tu refrendo
    encontró que llevaba un morral en el momento de su muerte, el cual fue
                                                                                                                          vehicular por
    visto en varias ocasiones en los análisis de video mientras buscaba
                                                                                                                          Internet en
    cocaína.
                                                                                                                          Tabasco? Acá te
                                                                                                                          explicamos
    El fiscal Andrés Madrea ha investigado a fondo el caso, entrevistando a
                                                                                                                          Chihuahua se
    decenas de testigos y analizando horas de grabaciones de cámaras de
                                                                                                                          cubre de blanco
    seguridad. Se ha determinado que el músico fue llevado a su habitación
                                                                                                                          tras caída de
    a rastras en dos ocasiones ese día, siendo la segunda vez minutos antes                                               nieve; alcanzará
    de su trágica muerte. Los empleados del hotel declararon que el                                                       temperaturas de
    cantante estaba en un estado groggy y que rompió objetos dentro de la                                                 -10°
    habitación antes de su fatal caída.                                                                                   ¿Cómo puedo
                                                                                                                          revisar el
                                                                                                                          adeudo de
                                                                                                                          placas en
    ¿Quién es Rogelio Nores?                                                                                              Jalisco?
                                                                                                                          ¿Qué pasó entre
                                                                                                                          Ofelia Cano y la
                                                                                                                          hija de Dulce
    Rogelio Nores, el empresario acusado de ser el manager de facto de                                                    tras la filtración
    Payne, enfrenta cargos de abandono de persona seguido de muerte y de                                                  de supuestos
    facilitarle sustancias estupefacientes. A pesar de intentos de desmentir                                              audios?
    su imputación, los registros judiciales confirman que está bajo
    investigación. Nores dejó el hotel poco antes de que Payne fuera llevado
    a rastras, y se le ha incautado su iPhone y pasaporte para peritaje.

    El testimonio del padre de Liam reveló que el cantante estaba siendo
    tratado por una psiquiatra en Estados Unidos, quien advirtió sobre los
    riesgos de mezclar alcohol, drogas y sertralina. A pesar de estas
    advertencias, Payne habría continuado consumiendo bajo la influencia
    de Nores, quien incluso le habría facilitado dinero para comprar drogas.




https://www.posta.com.mx/entretenimiento/caso-liam-payne-quien-es-rogelio-nores-el-amigo-argentino-acusado-de-abandonar-al-cantante/vl1636600   3/6
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                                                                                                                                León




    Nores podría pasar 15 años de prisión por el
    caso Liam Payne


    Nores enfrenta serias acusaciones por su presunta participación en la
    muerte de Liam Payne, y los cargos en su contra podrían llevarlo a la
    cárcel por hasta 15 años. La investigación continúa, con la fiscalía
    analizando la computadora del front desk y los teléfonos de los
    empleados para esclarecer los hechos que rodearon la trágica muerte
    del ex cantante de One Direction.

    Ver Nota...

    Caso Liam Payne da giro inesperado, aseguran que hotel es el culpable

    Ver Nota...

    El mensaje que Liam Payne dejó sobre la muerte muchos años antes de
    la tragedia

    Ver Nota...

    Inicia el funeral de Liam Payne en Inglaterra y sus compañeros de One
    Direction dicen presente

                                           SÍGUENOS EN




https://www.posta.com.mx/entretenimiento/caso-liam-payne-quien-es-rogelio-nores-el-amigo-argentino-acusado-de-abandonar-al-cantante/vl1636600   4/6
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                                                                                                 abandono de persona




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                                                                 FAMOUS PEOPLE

                 They reveal why Liam Payne's friend was accused of abandoning a person
      Rogelio Nores claims he visited the One Direction singer on 3 occasions the day he died
                                                            November 27, 2024 • Alexis Ceja




                                                                                                                  (GETTY IMAGES/FILE)




                                                                                                             Learn more




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                                                                                                         abandono de persona


       Liam Payne was buried in London, surrounded by his family and closest friends.


    The Liam Payne case remains open , with many questions still unanswered as his family grapples with the
    pain of his loss. With the release of images from the day of his death , new details have slowly emerged,
    including decisions made by the police surrounding the incident. One of the most recent points is why his
    friend, Rogelio Nores, was charged with abandonment of a person.




    Don't miss:
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                       January 06, 2025 · Alexis Ceja




                       FAMOUS PEOPLE
                       What did Leo Dan die of? This is what we know about the news that shook Latin America
                       January 01, 2025 · Judith Martinez




    Roger had travelled to Argentina with the One Direction singer in September. According to reports, it was
    around that time that the British musician relapsed into drugs.



https://www.tvynovelas.com/famosos/revelan-por-que-acusaron-al-amigo-de-liam-payne-de-abandono-de-persona                                  2/24
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                                                                                                 abandono de persona




    Liam Payne died on October 16 after falling from a third-floor balcony at a hotel in Argentina.
    (INSTAGRAM @LIAMPAYNE)




    In this regard, the police charged him with abandonment of a person, since he knew of his delicate situation
    and would not have supported him at that critical moment.



    While the strong accusation against him might not be accepted by a judge, it was a statement from Liam
    Payne's father that changed the perspective.

    According to TMZ, Geoff Payne revealed that Rogelio had offered to take care of Liam and also organize
    his admission to rehabilitation . The father asked his friend not to leave him alone, as it was important that he
    always be accompanied due to his delicate situation.

    Nores had stated that on the day Liam Payne died , on October 16, he visited him on three occasions and
    claims that he had seen him well.


                   What will happen to Liam Payne's family after the singer's death?

    Liam Payne's family said goodbye to the singer at a funeral, which was also attended by the other members
    of One Direction : Harry Syles, Zayn Malik, Louis Tomlinson and Naill Horan .




https://www.tvynovelas.com/famosos/revelan-por-que-acusaron-al-amigo-de-liam-payne-de-abandono-de-persona                          3/24
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                                                                                de Liam Payne de01/15/2025       Page 125 of 263
                                                                                                 abandono de persona


                                      fernanda◡̈
                                      @its_fershy · Follow

                             No estaba lista mentalmente para ver a Louis, Niall, Zayn y
                             Harry en el funeral de Liam.

                             #LiamPayne




                             12:01 PM · Nov 20, 2024

                                   9.4K          Reply          Copy link

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    But now, according to Page Six, they are ready to begin legal proceedings against whoever is involved in the
    young artist's death.

    It is not yet clear whether the Argentine prosecutor's office will be able to take legal action against the three
    defendants, who have accused Roger of abandonment, a waiter at a hotel of supplying the drugs, and an
    employee of the hotel where he died of supplying the drugs.


    Don't forget to read:
https://www.tvynovelas.com/famosos/revelan-por-que-acusaron-al-amigo-de-liam-payne-de-abandono-de-persona                          4/24
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                      ARTICLE 11
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  Liam Payne's dad says he missed major milestone before son's tragic
  hotel death
     The former One Direction star tragically fell to his death from a third-floor balcony of a hotel in Buenos Aires in Argentina, on October 16. His father Geoff Payne jetted
                                                                                                                                                                A
     out to South America after his son's holiday with girlfriend Kate Cassidy took a drastic turn.



                                                                                                 By Saffron Otter Assistant Features Editor & Ryan Thom 17:15, 27 NOV 2024
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   Geoff Payne (left) reportedly struggled with his son's fame         (Image: Express & Star / SWNS)




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  Liam Payne's devastated dad flew to Argentina to bring his son home to be laid to rest.

  The former One Direction star tragically fell to his death from a third-floor balcony of a hotel in Buenos Aires in Argentina, on October 16. His
  father Geoff Payne jetted out to South America after his son's holiday with girlfriend Kate Cassidy took a drastic turn.

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  Geoff reportedly raised concerns in the lead up to his son's death that his son was on a worrying spiral. The heartbroken parent travelled to the
  same hotel where his son died to organise repatriation of Liam as a police probe into the singer's death continued, The Mirror reports.


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  The doting dad refused to leave the hotel with an eye-witness dad telling how Geoff was 'determined' to cling onto the memory of his son. At
  Liam's funeral last Wednesday at St Mary's Church in Amersham, Geoff fulfilled the unbreakable promise he made to his family to remain by their
  boy's side as Liam's coffin was carried into the church.


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  The dad-of-three reportedly always struggled to come to terms with losing his pop star son for the first time, when his overnight fame saw him
  tour across the globe with One Direction, playing in front of millions of adoring fans. Following the funeral, a friend of the family told Mail Online :
  "Geoff is a lovely, lovely man. He struggled with Liam becoming famous.



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  "It was Simon who gave Liam so much, but also the one who took him away as such a young man, so it must have been difficult for Geoff." Liam
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  When he jetted off around the world on tours, his parents shared how difficult it was to see him go. Geoff said that he mourned missing "rites of
  passage" with his teenage son, like buying him his first beer.




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   Liam Payne with father Geoff and mother Karen after the X Factor final outside Fountain Studios in 2010

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               El mundo de las estrellas




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    Liam Payne's father showed key evidence against Rogelio Nores for the death

                                                                   of his son

        Geoff Payne has provided the courts with important information to build the case against the Argentine businessman, who is
           accused of abandonment followed by death and supplying drugs to Liam Payne, former member of One Direction.
                                                                   By Vea Editorial Staff
                                                                    November 30, 2024




    Photograph by: Getty Images




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         n a new twist in the investigation, Geoff Payne, father of Liam Payne , former lead singer of the British group One Direction, has

    I    presented   crucial evidence that, according to prosecutors, could be key to convicting Rogelio Nores.
              El mundo de las estrellas




    The Argentine businessman, who was a close friend and de facto manager of Liam Payne, faces charges of abandonment resulting in death


    and drug supply. Authorities are investigating whether Nores had any involvement in the death of the singer, whose lifeless body was found


    after he jumped from the third floor of a hotel room where he was staying in Buenos Aires.




    Related links
      Liam Payne's funeral: One Direction members reunite for their final farewell
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                El mundo de las estrellas




    Photography by: Samir Hussein

    Liam Payne

    The prosecution also claims that Nores was prioritising professional interests related to a possible return of the British singer to the stage;


    however, the businessman has denied these accusations.




    La entrega de las nuevas pruebas por parte de Geoff Payne ha reavivado el interés mediático en este caso que ha impactado al mundo de


    la música. La opinión pública clama por justicia por la muerte del artista de 31 años y espera que las autoridades actúen con rapidez y


    eficacia.




    ¿Qué prueba presentó el papá de Liam Payne?
    El padre de Liam Payne logró acceder a un correo electrónico importante, fechado el 16 de septiembre, de la psiquiatra del cantante en


    Miami. En este mensaje, la especialista explicaba que no podía seguir con el tratamiento debido a la gravedad de las crisis de Liam y


    advertía sobre los riesgos de mezclar sertralina (un antidepresivo que consumía el artista) con alcohol. Curiosamente, el destinatario de este


    correo era Rogelio Nores.




    Puedes leer: Las noticias que son tendencia en el mundo del entretenimiento aquí




    La autopsia mostró que el cantante había consumido cocaína, sertralina y alcohol en las horas previas a su muerte. Los registros del hotel


    indican que el cantante tuvo una noche turbulenta, caracterizada por un consumo excesivo de bebidas alcohólicas y, además, habría


    tenido una acalorada discusión con trabajadoras sexuales, a quienes había contratado, pero, al parecer, no quería pagarles.




    Según fuentes cercanas al caso, Rogelio Nores tenía un papel crucial en la vida de Liam Payne, encargándose de sus finanzas, facilitando


    el acceso a drogas y alcohol, y sirviendo como intermediario entre el cantante y su familia.




    La autopsia mostró la presencia de una mezcla mortal de cocaína y antidepresivos en el cuerpo del cantante, sustancias que pueden


    inducir efectos psicóticos y comportamientos autodestructivos.




                 Por Redacción Vea




    Temas:      Liam Payne     Muerte de Liam Payne   Cómo murió Liam Payne   One Direction   Canciones de One Direction   Video Liam Payne   Rogelio Nores

    Papá de Liam Payne

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  Liam Payne's father gave the courts the main evidence to charge Rogelio Nores with the singer's death
  The American psychiatrist who treated the former One Direction member told Rogelio Nores in an email
  that mixing the antidepressant Zoloft with alcohol could be fatal. The victim's family filed a complaint.
  Key hearing in court for the future of the case


  By Federico Fahsbender
  Nov 30, 2024 09:31 am EST
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  Geoff Payne, Liam Payne's father, in front of the altar made by fans at the hotel door

  In his encounters with the Argentine justice system, Geoff Payne, Liam Payne's father, provided the main piece of evidence to build the accusation against
  businessman Rogelio Nores , accused by prosecutor Andrés Madrea of ​abandoning and killing his son, as well as supplying narcotics. The piece is an email dated
  September 16 of this year, part of the accusation by prosecutor Madrea , in charge of investigating Payne's death, which occurred a month later, when he fell from the
  balcony of the third floor of the CasaSur hotel on Costa Rica Street in the Palermo neighborhood of Buenos Aires, and fell against the cement base of a garden umbrella
  , fracturing the base of his skull, the wound that cost him his death.


  You may be interested in:The death of the judge who investigated the drug kidnapping of Los Monos: what the autopsy and camera
  analysis revealed


  Liam had started drinking whiskey at 6 a.m. that day , according to the investigators' reconstruction based on information recovered from hotel records. He then drank
  champagne with the prostitutes from the Buenos Aires towns of El Talar and Isidro Casanova whom he invited to his room, with whom he had sex and then caused a
  minor scandal in the lobby by not paying them. He consumed cocaine throughout the day ; the toxicological analysis carried out by the Forensic Medical Corps of
https://www.infobae.com/sociedad/policiales/2024/11/30/el-padre-de-liam-payne-entrego-a-la-justicia-la-principal-prueba-para-imputar-a-rogelio-nore…                   8/16
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  the Supreme Court revealed metabolites of the drug that indicate consumption at least two hours before death . The drug was in his urine, his blood, in his gastric
  contents, in his nasal passages. The toxicological analysis also revealed another substance: sertraline, a powerful antidepressant, sold in the United States under the
  brand name Zoloft.




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  La sertralina, según la pericia toxicológica, estaba presente en la sangre y en el contenido estomacal de Liam al momento de su muerte. El consumo de alcohol junto
  con la sertralina está gravemente contraindicado; puede llevar a alucinaciones, incluso a ideaciones suicidas.


  You may be interested in:He had been missing since December and was found after being involved in an accident and trying to
  escape


  El mail que aportó Geoff Payne a la Fiscalía N°34 conducida por Madrea fue escrito por la neuropsiquiatra de Miami que trató a su hijo a lo largo de este año. En el
  mensaje, la neuropsiquiatra se desligaba del tratamiento, asegurando que era imposible acompañar a Liam en sus crisis. También, que la mezcla de sertralina con alcohol
  podría ser fatal.

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  El destinatario original de ese correo, según la Justicia argentina, fue Rogelio Nores.



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  to their beds




  Liam Payne

  Infobae intentó dialogar esta semana con Nores, así como su abogado defensor. Ambos se negaron a comentar. En paralelo, fuentes muy cercanas al empresario
  apuntaron que Payne era “solo un amigo” al que “había conocido años atrás en Inglaterra” y que simplemente lo acompañaba. Madrea sospecha lo contrario; que
  Nores no era solo un chaperón, sino un manager de facto, con un interés en su posible regreso a los escenarios. En su estadía en Argentina, Nores acompañó a Payne en
  un importante hotel cinco estrellas de la zona de Recoleta, de donde fue echado, luego en un departamento de la calle Armenia -que fue allanado por la Justicia-, más
  tarde en un club de polo y finalmente en el hotel CasaSur, donde Payne se registró al filo de la medianoche del 13 de octubre.

  Según la acusación, Nores habría controlado los gastos de Payne, proveyéndole dinero para comprar drogas y autorizando pedidos de whisky y champagne
  reportados desde el front desk del hotel, con “días permitidos” para beber y drogarse, a pesar de la indicación estricta de la neuropsiquiatra. Incluso, Nores se habría
  convertido en un intermediario en la comunicación entre Liam y su familia.

  Curiosamente, estas fuentes cercanas a Nores aseveran que el empresario conoció a la especialista “una vez”.

  Hoy, la familia Payne es querellante en la causa, a cargo del Juzgado N°34 de Laura Bruniard, representada por el estudio Marval O’Farrell Mairal, según
  confirmaron fuentes judiciales. La causa misma está en un impasse, lo que impide que, por ejemplo, que Nores sea indagado, así como Braian Paz y Ezequiel Pereyra,
  acusados de proveerle droga al ex cantante de One Direction.

  Este impasse se trata, básicamente, de la letra de la ley.




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  Rogelio Nores en el Juzgado N°34, con una docena de medialunas

  What's happening in the case today
  La jueza Bruniard se declaró incompetente para investigar el caso a comienzos de este mes. El motivo: la acusación de abandono seguido de muerte no corresponde al
  fuero de instrucción, al que pertenecen Madrea y Bruniard, sino al contravencional porteño.

  Madrea apeló este planteo, considerándolo prematuro. El fiscal, que llevó adelante una de las mayores tareas investigativas de los últimos años, con el análisis de 800
  horas de filmaciones de cámaras de seguridad y testimonios clave, asegura que la causa continúa y que, tal como adelantó Infobae esta semana, podría tener nuevos
  imputados. El fiscal plantea como hipótesis una posible culpa de los empleados del hotel que asistieron a Liam en su crisis final, luego de que Nores y las prostitutas
  abandonaran el lobby del CasaSur. El empleado que llamó al 911 para anunciar la crisis que explotaba aseguró que Liam estaba en “una habitación con balcón”.

  Esto, en los cálculos de los investigadores, podría constituir un homicidio culposo. ¿Por qué, entonces, no lo retuvieron en el lobby a la espera de la ambulancia?

  Para determinar esto, se deben concluir las pericias a la computadora principal de la recepción del CasaSur, así como a teléfonos de los empleados del lugar.




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  La muerte de Liam Payne en Palermo: el audio del llamado al 911

  La narrativa de las fuentes cercanas a Nores intenta girar la posible culpa hacia los empleados del hotel de cara a esta chance, afirmando, incluso, que Liam intentó
  escapar, cuando los forenses determinaron que estaba, en el mejor de los casos, en un estado de semiconciencia al momento de su muerte. Una imputación de homicidio
  culposo, sin embargo, no aliviaría la situación del empresario.

  Este lunes próximo, la Cámara Criminal y Correccional celebrará una audiencia para tratar la apelación.

  El jueves último, Nores se presentó en el Juzgado N°34 con una sonrisa. Llevó una docena de medialunas para el personal del lugar. Intentaba recuperar el teléfono y
  la laptop de una mujer. Los aparatos habían sido incautados en un allanamiento a su casa. Según Nores, la mujer no estaba “ni siquiera mencionada en la causa”. Las
  medialunas fueron gentilmente rechazadas.

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       Así fue la reacción de los ciclistas de Punta Lara luego de que fueran tiroteados y robados




  Temas Relacionados

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  Últimas Noticias
  Así funciona la barra brava de Newell’s bajo el mando de Los Monos: el negocio y la feroz interna
  Según la Justicia, “Guille” Cantero daba las órdenes a la tribuna desde la cárcel de Marcos Paz. También fueron imputados “El Pollo”
  Vinardi y a “El Rengo” Ficcadenti, detenido por las intimidaciones a la familia de Ángel Di María e investigado por el secuestro de
  Gastón Tallone



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                                                                                                                                  death?



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                              What is the evidence
                              that Liam Payne's
                              father gave to the court
                              against Rogelio Nores
                              for the singer's death?
                              The former One Direction member died
                              after falling from the balcony of the hotel
                              where he was staying during his stay in
                              Argentina.

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                              Liam Payne with Rogelio Nores, the man charged with his death




                              01 December 2024


                              Geoff Payne, Liam Payne 's father , provided the main
                              piece to build the accusation against the
                              businessmanRogelio Nores, charged by prosecutor
                              Andrés Madrea with abandonment followed by the
                              death of his son, in addition to the supply of narcotics.


                              The piece is an email dated September 16 of this year,
                              part of the indictment of prosecutor Madrea, in charge
                              of clarifying Payne's death, which occurred a month
                              later when he fell from the balcony of the third floor of
                              the CasaSur hotel in the Palermo neighborhood, in the
                              City of Buenos Aires.




https://www.lagaceta.com.ar/nota/1062055/sociedad/cual-prueba-papa-liam-payne-entrego-justicia-contra-rogelio-nores-muerte-cantante.html     2/12
      Case
1/10/25,       9:25-cv-80060-AMC
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                             What is the               1 Entered
                                         evidence that Liam             ongave
                                                            Payne's father  FLSD
                                                                               to the Docket     01/15/2025
                                                                                      court against Rogelio Nores forPage    144
                                                                                                                     the singer's   of 263
                                                                                                                                  death?




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                                    Details of Liam Payne's
                                    troubled hours leading up to
                                    his death have emerged



                              According to the investigators' reconstruction based on
                              information recovered from hotel records, Liam had
                              started drinking whiskey at six in the morning on the
                              day of his death. He then drank champagne with the
                              prostitutes he invited to his room, had sex with them
                              and then caused a minor scandal in the lobby by not
                              paying them.


                              He consumed cocaine throughout the day; the
                              toxicological analysis carried out by the Forensic
                              Medical Corps of the Supreme Court revealed

https://www.lagaceta.com.ar/nota/1062055/sociedad/cual-prueba-papa-liam-payne-entrego-justicia-contra-rogelio-nores-muerte-cantante.html     3/12
      Case
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                             What is the               1 Entered
                                         evidence that Liam             ongave
                                                            Payne's father  FLSD
                                                                               to the Docket     01/15/2025
                                                                                      court against Rogelio Nores forPage    145
                                                                                                                     the singer's   of 263
                                                                                                                                  death?

                              metabolites of the drug that indicate consumption at
                              least two hours before death.




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                              What is the evidence that Liam Payne's father gave
                              to the court against Rogelio Nores for the singer's
                              death?

                              The email that Geoff Payne provided to the 34th
                              Prosecutor's Office led by Madrea was written by the
                              Miami neuropsychiatrist who treated his son
                              throughout this year. In the message, the
                              neuropsychiatrist disassociated herself from the
                              treatment, stating that it was impossible to accompany
                              Liam in his crises. The original recipient of that email,
                              according to the Argentine Justice, was Rogelio Nores .




https://www.lagaceta.com.ar/nota/1062055/sociedad/cual-prueba-papa-liam-payne-entrego-justicia-contra-rogelio-nores-muerte-cantante.html     4/12
      Case
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                                                            Payne's father  FLSD
                                                                               to the Docket     01/15/2025
                                                                                      court against Rogelio Nores forPage    146
                                                                                                                     the singer's   of 263
                                                                                                                                  death?

                              Madrea suspects that Nores was not just a friend of
                              Payne's, but a de facto manager, with an interest in his
                              possible return to the stage. During his stay in
                              Argentina, Nores accompanied Payne to a major five-
                              star hotel in the Recoleta area, from which he was
                              thrown out, then to an apartment on Armenia Street,
                              later to a polo club and finally to the CasaSur hotel,
                              where Payne checked in at around midnight on October
                              13.


                              According to the indictment, Nores allegedly controlled
                              Payne's spending, providing him with money to buy
                              drugs and authorizing orders for whiskey and
                              champagne reported from the hotel's front desk, with
                              "allowed days" for drinking and drug use, despite the
                              neuropsychiatrist's strict instructions. Nores even
                              became an intermediary in communication between
                              Liam and his family.




                               TOPICS
                              Liam Payne




https://www.lagaceta.com.ar/nota/1062055/sociedad/cual-prueba-papa-liam-payne-entrego-justicia-contra-rogelio-nores-muerte-cantante.html     5/12
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                      ARTICLE 15
      Case
1/10/25,       9:25-cv-80060-AMC
         10:31 AM          Liam Payne'sDocument       1 Entered
                                       death: what he consumed        on FLSD
                                                               is confirmed         Docketfriend
                                                                            and his enigmatic 01/15/2025        Page 148
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged




   News today Dollar today Javier Milei Venezuela today Nisman case Colapinto to Alpine Rentals in CABA Icardi and Chin



                                                                                                                       Subscribe




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   Police

   Liam Payne's death: what he consumed is confirmed and
   his enigmatic friend and two hotel employees are
   charged
    Businessman Rogelio "Roger" Nores was charged with "abandonment of a person." Two
   employees of the Hotel Casa Sur in Palermo were charged with "supplying narcotics."
    The toxicology report showed that the former One Direction member had cocaine,
   alcohol and a prescription antidepressant in his system.




                                                                                                                                       x




https://www.clarin.com/policiales/muerte-liam-payne-enigmatico-amigo-empleados-hotel-complicados_0_Fg0W09OOQt.html#google_vignette     1/26
      Case
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         10:31 AM          Liam Payne'sDocument       1 Entered
                                       death: what he consumed        on FLSD
                                                               is confirmed         Docketfriend
                                                                            and his enigmatic 01/15/2025        Page 149
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged




   British musician Liam Payne, with his friend Rogelio "Roger" Nores, and behind him his father Geoff.

                             NATALIA
                             IOCCO



                                                                                                                                  0




              07/11/2024 13:04 / Updated on 07/11/2024 16:58


                                                                 VER RESUMEN
                                                                                                                              ❯
                                                               Tiempo de lectura: 17s



              Liam Payne 's father (31) accompanied his son's remains back to
              the United Kingdom on Wednesday. Delayed by the rescheduling
              of flights due to the Intercargo meeting, Geoff Payne flew with
              British Airways, via Madrid, with final destination London.


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      Case
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                                       death: what he consumed        on FLSD
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                                                                            and his enigmatic 01/15/2025        Page 150
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged



              Almost in parallel, the Argentine Justice carried out a series of
              raids on three people in the case investigating the death of the
              British musician. They are two employees of the hotel and
              Rogelio "Roger" Nores (36) , an American businessman and
              friend of the victim, but based in Argentina, who worked as a
              "manager".

              In an official statement issued by the prosecutor's office, they
              confirmed that prosecutor Andrés Madrea issued a ruling on
              Friday in which he requested the indictment and arrest of three
              people.




              "El primero de los acusados es quien acompañaba de manera
              cotidiana al artista durante su estadía en la ciudad de Buenos
              Aires, a quien se lo imputa por los delitos de abandono de persona
https://www.clarin.com/policiales/muerte-liam-payne-enigmatico-amigo-empleados-hotel-complicados_0_Fg0W09OOQt.html#google_vignette     3/26
      Case
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                                       death: what he consumed        on FLSD
                                                               is confirmed         Docketfriend
                                                                            and his enigmatic 01/15/2025        Page 151
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged

              seguido de muerte y que prevé una pena de 5 a 15 años de
              prisión, en calidad de autor, en concurso ideal con suministro y
              facilitación de estupefacientes", indicó Madrea a través del sitio
              fiscales.gob.ar

              Además, confirmó que detectaron a dos empleados del hotel
              proporcionandole drogas al ex One Direction en dos
              oportunidades. Si bien Madrea pidió la detención, la jueza otorgó
              los allanamientos para obtener evidencia que les permita avanzar
              con la investigación. Los tres imputados no estaban en los
              domicilios allanados pero se presentaron espontáneamente en el
              juzgado dejando a disposición sus pasaportes.

              Como se consideró que estaban "a derecho", el fiscal Madrea optó
              por avanzar con la investigación y que permanezcan en libertad.
              Lo cierto es que con la evidencia recolectada la situación de los
              imputados es -por lo menos- complicada.

              Entre las evidencias recolectadas, los investigadores apuntaron a
              reconstruir la estadía de Payne en el hotel, entre el 13 y el 16 de
              octubre, el día del hecho. Más de 800 horas de cámaras de
              seguridad, el teléfono celular de la víctima y la computadora
              personal son algunos de los elementos analizados para concretar
              las imputaciones.

              Dieron a conocer el informe toxicológico del cuerpo
              de Liam Payne

              Otro de los datos reveladores fue el resultado de los exámenes
              toxicológicos que confrimaron que en "los momentos previos a
              su muerte y en el lapso de al menos sus últimas 72 horas, Payne

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                                                               is confirmed         Docketfriend
                                                                            and his enigmatic 01/15/2025        Page 152
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged

              solo presentaba en su cuerpo rastros de un policonsumo de
              alcohol, cocaína y un antidepresivo recetado".

              Además, a través de diferentes pericias ratificaron que Payne no
              tuvo "reflejo de conservación en la caída", lo que junto a su
              consumo, les permitió concluir que Liam Payne "no estaba
              plenamente consciente o atravesaba un estado de disminución
              notoria o abolición de la consciencia al momento de la caída", lo
              que descarta completamente la hipótesis del suicidio.




              El cuerpo de Liam Payne fue repatriado a Inglaterra.


              Ahora están en manos de la jueza Bruniard que deberá decidir
              cuándo los cita a declaración indagatoria y si decide ordenar su
              detención. El fiscal Madrea había pedido el secreto de sumario
              hasta que se ejecutaran los allanamientos y así preservar la
              información que pudiera obtenerse en los procedimientos.

              El traslado del cuerpo y los allanamientos

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                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged



              Geoff Payne estuvo en Buenos Aires durante 18 días, a la espera de
              la autorización del traslado de su cuerpo de regreso a Gran
              Bretaña. Se hospedó en un hotel de Retiro y visitó el memorial
              que las fanáticas dedicaron al ex One Direction en la puerta del
              hotel Casa Sur, en Costa Rica al 6000, barrio de Palermo.

              Un día antes de volar, el martes, se acercó al sitio creado en honor
              a Liam y se encontró con algunas seguidoras que todavía lo
              visitan para rendirle homenaje. Según publicaron medios
              británicos, Payne será despedido en la Catedral de St. Peter, en
              Wolverhampton.

              El mismo día que el Geoff Payne se despedía del lugar donde su
              hijo falleció el 16 de octubre, alrededor de las 17, después de caer
              del tercer piso de su habitación en medio de una crisis
              presuntamente provocada por el consumo de estupefacientes, la
              Justicia ordenaba nueve allanamientos que fueron concretados
              por la División Investigaciones Especiales de la Policía de la
              Ciudad de Buenos Aires.

              Los procedimientos se realizaron en el hotel Casa Sur, en otro
              hotel de Retiro, en una casa de Palermo, en otra de Balvanera y en
              un departamento de Belgrano.




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      Case
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                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged




              El empresario Rogelio "Roger" Nores, amigo del músico británico Liamy Payne, reconocido
              por la revista Forbes en 2017.


              También, en el Patagones Polo Club, donde Payne se hospedó
              antes de instalarse en el hotel de Palermo, entrenando y jugando
              al polo con el equipo local. Y en tres domicilios de Lomas de
              Zamora, Tigre y La Matanza. En los procedimientos se
              secuestraron "varios teléfonos más" confirmaron fuentes de la
              investigación.

              Los objetivos fueron los lugares que visitó el músico durante su
              paso por Buenos Aires, pero también la casa de Rogelio "Roger"
              Nores, amigo del artista y una de las personas a las que habría
              visitado en Buenos Aires en reiteradas oportunidades.

              Nores fue señalado como "manager" del artista, que lo acompañó
              en varias oportunidades durante sus viajes a Buenos Aires. La
              familia del músico direccionó su enojo contra Nores que le
              habría "mentido" a la familia ocultando su situación de consumo.
              "Está comprometido por varios testimonios directos, mensajes",
              confiaron fuentes de la investigación.
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      Case
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                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged



              Es empresario y quien habría realizado la reserva en Casa Sur
              para Liam Payne. Incluso fue una de las últimas personas que
              estuvo con la víctima antes de la tragedia, la única de su entorno.




              El hotel donde murió Liam Payne. Foto Federico López Claro.


              Nacido en Estados Unidos y radicado en Argentina, Nores había
              estado vinculado a la off shore canadiense Stoneway Capital
              Corp. La revista Forbes lo reconoció como uno de los 30 jóvenes
              menores de 30 años más prometedores en el rubro de la energía
              en 2017.

              En sus registros comerciales figura ocupando distintos puestos
              directivos en la empresa Araucaria Capital Energy, controlada por
              Stoneway, que en 2016 ganó licitaciones para hacer cuatro plantas
              de energía en Buenos Aires. Se las otorgó el entonces Ministerio


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      Case
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                                       death: what he consumed        on FLSD
                                                               is confirmed         Docketfriend
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                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged

              de Energía y Minería de la Nación, a cargo de Juan José
              Aranguren.




              Allanamiento en Casa Sur. Foto Federico López Claro.


              En las redes sociales, Nores había aparecido en reiteradas
              oportunidades junto al músico británico, incluso en estudios de
              grabación y, sobre todo, durante sus viajes a Buenos Aires.

              Había declarado en el expediente durante los primeros días de la
              investigación cuando el fiscal de la causa era Marcelo Roma.
              Ahora no está claro si Nores era un amigo de Payne o si trabajaba
              como su representante durante su estadía en el país.

              Lo cierto es que la Justicia avanzó en su contra por "abandono de
              persona" y será investigada su responsabilidad en el episodio que
              terminó con la muerte del músico inglés.


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      Case
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                                       death: what he consumed        on FLSD
                                                               is confirmed         Docketfriend
                                                                            and his enigmatic 01/15/2025        Page 157
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged



              Los empleados del hotel

              Liam Payne había llegado a Casa Sur apenas dos días antes de su
              trágica muerte. El 16 de octubre, su estadía se descontroló.
              Huéspedes y empleados declararon en el expediente y relataron
              lo que vivieron en sus últimas horas.

              Ese día, a las 17.01, Esteban, jefe de la recepción del hotel, llamó al
              911 para pedir una ambulancia. "Hola, llamo del Hotel Casa Sur de
              Palermo, en Costa Rica al 6032, tenemos a un huésped que está
              sobrepasado de droga y alcohol y cuando está consciente está
              rompiendo toda la habitación. Necesitamos que manden a
              alguien por favor...".




                  Video
                  El encargado comunicó que que el huésped estaba "sobrepasado de
                  drogas".




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      Case
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                                                               is confirmed         Docketfriend
                                                                            and his enigmatic 01/15/2025        Page 158
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged



              Tres minutos después, asignaron personal de la Policía de la
              Ciudad para que se acerque al lugar. A las 17.05 llegó un
              patrullero. Apenas dos minutos después, la Policía informó que
              había caído una persona del tercer piso y pidieron una
              ambulancia con prioridad. A las 17.12 se presentó el SAME y
              constató el fallecimiento.

              Durante las primeras horas calientes de la investigación, los
              responsables del hotel dieron un reporte de sus últimos
              movimientos. En la habitación se encontraron objetos
              destrozados y restos de drogas.

              Fue así que detectaron un taxi que había sido cargado a la
              habitación pero que tenía como destino un domicilio que
              coincidía con el de un empleado. Esta persona fue despedida -
              según trascendió en un audio que se viralizó rápidamente-.




                  Video



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      Case
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                                       death: what he consumed        on FLSD
                                                               is confirmed         Docketfriend
                                                                            and his enigmatic 01/15/2025        Page 159
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged

                  El padre de Liam Payne se despidió del memorial de su hijo en Buenos
                  Aires



              Ese empleado de Casa Sur y otro más ahora serían investigados
              por "suministro de estupefacientes". Se trata de Ezequiel (21), que
              en realidad era contratado por una empresa que tenía a cargo la
              limpieza del hotel, y Braian (24), que también cumplía funciones
              allí.

              Los imputados quedaron registrados concretamente en cuatro
              oportunidades, entre el 13 y el 16 de octubre, entregándole droga
              a Liam Payne. Uno deberá responder debe responder "por dos
              suministros comprobados" durante su estadía en el hotel y el otro
              por "otros dos suministros claramente comprobados durante dos
              momentos diferentes del 14 de octubre", de acuerdo a la
              acusación fiscal.

              Para la investigación fueron clave los estudios toxicológicos para
              determinar qué clase de drogas había consumido Payne antes de
              arrojarse por el balcón de su habitación en el tercer piso de Casa
              Sur. También un informe de psiquiatría forense adicional que
              solicitó el fiscal y que aún resta analizar en contexto con la
              historía clínica de Payne.




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      Case
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                                       death: what he consumed        on FLSD
                                                               is confirmed         Docketfriend
                                                                            and his enigmatic 01/15/2025        Page 160
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged




                  Video
                  Así aterrizaba el avión con el cuerpo de Liam Payne en Londres



              El 1° de noviembre, la jueza Bruniard autorizó la entrega del
              cuerpo a Geoff Payne, "luego de que se cumplieron y finalizaron
              todos los estudios tanatológicos y de laboratorio (completos) que
              fueron necesarios", expresaron fuentes judiciales consultadas por
              Clarín en ese momento.

              Además, se reservaron muestras específicas por si resultan
              necesarias para futuras instancias de la investigación.

              Lo cierto es que, desde entonces, el cuerpo de Payne fue
              trasladado al Cementerio Británico para aplicarle técnicas de
              conservación y poder ejecutar el traslado, que finalmente se
              concretó este miércoles.




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      Case
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         10:31 AM          Liam Payne'sDocument       1 Entered
                                       death: what he consumed        on FLSD
                                                               is confirmed         Docketfriend
                                                                            and his enigmatic 01/15/2025        Page 161
                                                                                                 and two hotel employees      of 263
                                                                                                                         are charged




                  Video
                  La últimas fotos y videos de Liam Payne en Buenos Aires



              EMJ / MG


              Sobre la firma


                             Natalia Iocco
                             Redactora de la sección Sociedad
                             niocco@clarin.com
                             Bio completa




              Mirá también




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                      ARTICLE 16
      Case
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                                                  Liam Payne              on FLSD
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                                                                                         via Hotel Balcony, Says JudgePage 163 of 263

                                                                                                                       PRICE DROP




Clearance Sale
emu




                                                                  CASE UPDATE


        LIAM PAYNE DIED AFTER TRYING TO ESCAPE VIA
                HOTEL BALCONY, SAYS JUDGE
                Payne's friend and two hotel workers now face wrongful death charges for
                negligence, while two others face prison time for allegedly selling him drugs
                                                                 By TOMÁS MIER
                                                                 DECEMBER 30, 2024




https://www.rollingstone.com/music/music-news/liam-payne-died-after-trying-to-escape-hotel-balcony-judge-1235221318/                    1/16
      Case
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                                                  Liam Payne              on FLSD
                                                             Died After Trying to EscapeDocket     01/15/2025
                                                                                         via Hotel Balcony, Says JudgePage 164 of 263




              Liam Payne attends the Summer Party 2019 at the Serpentine Gallery on June 25, 2019, in London.
                                                              MIKE MARSLAND/WIREIMAGE




     Liam Payne didn’t “lose his balance” before falling from a hotel balcony; he was trying to
     escape the building while in a drugged state, according to the judge handling his death
     investigation. In a ruling today obtained by Rolling Stone, Judge Laura Bruniard shared new
     information on what led to the One Direction singer’s death and updated charges against
     five people questioned in the case.

     Bruniard leveled “homicidio culposo,” or wrongful death, charges against Payne’s friend
     Roger Nores and both CasaSur Palermo hotel manager Gilda Martin and reception head
     Esteban Grassi for their acts of “imprudence and negligence” leading up to Payne’s death.
     Nores’ charges were significantly lowered after he originally faced five to 15 years behind
     bars for “abandonment followed by death.”

     “I do not believe that [Nores, Martin, and Grassi] planned and wanted Payne’s death. They
     did not plan the result but created a legally disapproved risk,” wrote the judge.



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     If convicted, two other people — Ezequiel Pereyra and Braian Paiz — may face four to 15
     years in prison for the alleged sale of cocaine to the singer, and were ordered preventative
     jail time for the alleged crime.


                                                                    A D V E RT I S E M E N T




     The wrongful death charges against hotel workers Martin and Grassi came after reviewing
     evidence that “clearly” captured Payne being “dragged up” to his hotel room on Oct. 16
     while he was in an alleged “vulnerable state,” with the judge claiming that them bringing
     him to his room with that level of intoxication “created a legally disapproved risk to his life.”
     Payne died of multiple traumas and internal bleeding after the fall, according to a post-
     autopsy report.

     “Payne’s consciousness was altered and a balcony was in the room. The proper thing to do
     was to leave him in a safe place, and with company, until a doctor arrived,” wrote the judge
     in her ruling, adding that the two hotel workers “did not act maliciously” but were
     “imprudent” in their actions. (Martin allegedly instructed Grassi and the other workers to
     carry Payne to his room.)


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     Despite a previous claim from the prosecutor that the One Direction singer fainted on the
     hotel balcony and fell, the judge declared that Payne — in a severely intoxicated state —
     was “trying to leave his room through the balcony” before his fall.

     “I maintain that [Payne] tried to leave from the balcony of the place where he was left
     because the forensic experts noted that he did not lose his balance. This is how the fall
     occurred,” wrote the judge.

     As for Payne’s friend, the judge claimed that Nores, who now faces wrongful death charges,
     had taken the “position of guarantor” to Payne’s family and was the main point of contact
     for the musician at the hotel. The judge wrote that, based on the autopsy results, “Payne’s
     state of vulnerability was evident” when Nores left CasaSur Palermo 50 minutes before the
     fall.



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     “He should have consulted with a doctor given the commitment made to the family of the
     deceased,” wrote the judge. “He should have done this without trusting how the hotel
     employees could have dealt [with Payne].”

     According to the investigation, the new wrongful death charges followed reviews of
     interviews and footage surrounding Payne’s death that confirmed Payne’s high level of
     addiction and the “presence of cocaine and alcohol in large quantities” in his body at the
     time of his death. (Nores claimed in a filing reviewed by Rolling Stone earlier this month
     that Payne came “close to death” because of his struggle with substance abuse multiple
     times in the past two years.)


                                                                    A D V E RT I S E M E N T




     The people accused of selling Payne drugs — Pereyra and Paiz — will have to face
     preventative jail time. Payne allegedly paid Pereyra $100 for drugs, per the judge, and later
     sent a car to his home to bring more cocaine. As for Paiz, despite him claiming that the pair
     did drugs together but he wasn’t paid for it, the judge determined that Payne “asked for
     money at the reception desk” while Paiz was in the room.


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                   WORLD


                   Liam Payne’s manager, two hotel workers charged in
                   One Direction singer’s death
                   By Alexandra Del Rosario and Karen Garcia, Los Angeles Times The Tribune Content Agency
                   Updated December 31, 2024 2:03 AM




                   Liam Payne poses on the red carpet for the BRIT Awards 2019 in London on Feb. 20, 2019. (Tolga Akmen/AFP/Getty Images/TNS)
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                   A representative for Liam Payne was charged with manslaughter in connection with
                   the One Direction veteran's death in October, Argentine officials confirmed Monday.

                   The National Criminal and Correctional Prosecutor's Office of Argentina announced
                   in a Spanish-language statement that Judge Laura Graciela Bruniard on Friday
                   prosecuted five people for alleged involvement in the pop singer's death. Payne's
                   representative (identified as "R.L.N.") and the manager and the head of reception of
                   the Buenos Aires hotel where the British singer fell to his death were charged with
                   manslaughter.




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                   Another hotel employee and a waiter whom Payne met in a restaurant were charged
                   with allegedly supplying the singer with narcotics.

                   Payne, an "X Factor" alum who was one-fifth of the global boy-band sensation One
                   Direction, died Oct. 16 after falling from a balcony at the CasaSur Palermo Hotel. He
                   was 31. Shortly after his death, officials determined the singer died from multiple
                   traumas and internal and external bleeding caused by the fall.

                   Payne had traces of alcohol, cocaine and a prescription antidepressant in his system
                   when he fell, officials announced in November. Prosecution at the time said it was
                   considering ruling out the possibility of suicide.

                   In Monday's announcement, the prosecutor's office detailed the defendants' alleged
                   roles in Payne's death. The hotel employee (identified as "E.D.P.") and waiter
                   ("B.N.P.") both allegedly supplied Payne with cocaine multiple times during his stay
                   in Buenos Aires. Payne died two weeks after arriving in Argentina, where he
                   attended an Oct. 2 concert by his former bandmate Niall Horan.


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                   According to Monday's announcement, Payne's representative "failed to comply with
                   his duties of care, assistance and assistance that he had with respect to" the singer.
                   Prosecutors alleged R.L.N. abandoned the singer despite knowing he was "unable to
                   fend for himself" and having previous knowledge of Payne's struggles with
                   addiction.




                   The prosecutor's office detailed an alleged incident where Payne was carried up to
                   his third-floor room by a group of three people prior to his death. The hotel manager
                   (identified as "G.A.M.") and the hotel's head of reception ("E.R.G."), who allegedly led
                   the group, should have kept Payne "in a safe area without sources of danger, in
                   company and until he could be provided with medical care," the prosecutor's office
                   said.

                   Bruniard, the judge, said Monday that the hotel managers "did not act maliciously"
                   in connection with Payne's death "but they have been reckless in enabling him to be
                   taken to his room and driven there respectively."

                   "They created a legally disapproved risk and Payne's death is the realization of that
                   risk," Bruniard said.

                   R.L.N. is "responsible for the crime of manslaughter ... given that he had assumed a
                   position of guarantor toward" Payne's family, Bruniard added.

                   Ultimately, Payne's representative and the hotel managers "have contributed,
                   although not in a planned manner, to creating a risk that resulted in Payne's death,
                   whether by action or omission," Monday's statement said.

                   The two people charged with supplying Payne drugs before his death were
                   sentenced to pre-trial detention. R.L.N. and the two hotel managers were charged
                   without pretrial detention, according to the prosecutor's office.


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                    More than a month after Payne's death, his former bandmates, family and friends
                    gathered for a funeral service in England. Harry Styles, Zayn Malik, Louis Tomlinson
                    and Horan attended the ceremony northwest of London. Also in attendance were "X
                    Factor" judges Simon Cowell and Cheryl Cole (who shares a young son with Payne),
                    and his girlfriend Kate Cassidy.

                    Though Payne is best known for his work with One Direction, he also pursued a solo
                    career after the boy band went on hiatus in 2016. As a soloist he released songs
                    "Strip That Down," "Bedroom Floor" and "Teardrops" and teamed with artists
                    including Quavo, Ed Sheeran and Charlie Puth.

                    Payne was also open about his struggles with mental health and addiction. In a
                    YouTube vlog shared in 2023, he revealed he was six months sober.

                    Times staff writer Nardine Saad contributed to this report.

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  Revelations from Liam Payne's father that complicate the businessman prosecuted for the death of his son
  Geoff Payne became a key witness for the Argentine Justice case, which seeks to clarify the death of his
  son. His conversation with “Roger” Nores minutes after the death


  By Federico Fahsbender
  09 Jan, 2025 09:00 am EST
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  Geoff Payne, Liam Payne's father, in front of the altar made by fans at the hotel door

  On October 22, 2024, accompanied by a psychologist and an interpreter, Geoff Payne appeared as a witness before prosecutor Andrés Madrea , the person in charge
  of clarifying the death of his son Liam, who eight days earlier had fallen from his balcony in his third-floor room at the CasaSur hotel in Palermo. Payne Sr. had arrived
  in Buenos Aires less than 48 hours after the news of the death, which occurred on Wednesday afternoon, the 16th. Shortly after landing, with Liam's body still in the
  Judicial Morgue, he visited the CasaSur , where the fans of the group One Direction who loved his son in life were holding a vigil. They erected a shrine there. Payne
  Sr., in a sport coat, visited it, stunned, dazed, in front of the candles and the photos and the stuffed animals, but with a gesture perhaps of peace. He kissed his right hand,
  as if kissing the memory of his son in the air .


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  analysis revealed


  Thus, the 63-year-old Englishman remained in Buenos Aires, awaiting news in the case in charge of the prosecutor Madrea and for Judge Laura Bruniard to decide on the
  repatriation of the body , staying at the Casa Lucía hotel on Arroyo Street, surrounded by guards, while the news of the final scandal was known, one after the other: the
  cocaine and alcohol and the powerful antidepressant sertraline found in his son's body which, combined, would have caused the mental health crisis that pushed him

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  to his death, the two prostitutes from El Talar and Isidro Casanova who had called CasaSur to have sex hours before dying, the Argentine businessman who
  accompanied Liam , whom Geoff Payne knew well.




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  Liam's parents Karen and Geoff Payne attend their son's funeral in Amersham (REUTERS/Toby Melville)

  Payne father and son had a pleasant relationship before his death, fluid: they met every month in London, at the singer's house, to play all afternoon with Bear, the son
  of the former One Direction , Geoff's grandson. He knew that his son was an addict. They had last seen each other on August 29 last year in Manchester, for the singer's
  birthday. "He was fine, stable, clean ," he said in his testimony in Buenos Aires. But, according to the contents of his statement, he did not know everything. He assured
  investigators that Liam planned to stay only five days in Argentina. Also, that the former One Direction singer did not have a phone.


  You may be interested in:He had been missing since December and was found after being involved in an accident and trying to
  escape


  “Liam didn’t have his own cell phone and it was his decision . Over the last few years he changed his cell phone many times. He decided to be offline as a protection
  method to avoid social media and also to stay away from the possibility of relapsing into his addictions. That decision was his personal one and he had the full support of
  the family group. Personally, I agreed that it was really a way for him to take care of himself .”




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  It wasn't like that: Liam, in Argentina, had his cell phone , which he used, for example, to contact prostitutes via WhatsApp. It was seized by the City Police after his
  death and examined by order of the Court. Geoff, then, depended on intermediaries to find out about his son. " For that reason, my telephone contact with Liam was
  not direct, it was always through third parties ," he said.


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  to their beds


  Then, he identified them by name and surname: Kate Cassidy, Liam's girlfriend, and businessman Rogelio Nores, alias "Roger." "They were in his care because of his
  addictions. Kate was there because of love and Roger because he accompanied and cared for Liam in these last months and reported to me on his condition ."




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  Liam Payne

  He didn’t find out from the television. It was Nores himself who told him that his son had died, in a way : “I learned of Liam’s death from Roger. I was at home with
  my wife. He called me at 5:23 p.m., Buenos Aires time, but I didn’t see the call until about an hour later. In the meantime, he called me once more and sent me a message
  to call him as soon as possible. When I saw all those calls at 6:18 p.m. here, I called him back, ” according to his testimony, which Infobae had access to.

  - What happened? Geoff Payne asked.

  - An accident happened , Nores replied: It's true, it's true.

  -He's dead?! He's dead?!

  -You have to come to Argentina.

  Luego, Geoff Payne contactó a sus hijas, las hermanas mayores de Liam: ya lo sabían, como el resto del mundo. Nores lo llamaba mientras tanto, una y otra vez. El
  padre del cantante, esta vez, no le devolvió el contacto.

  Minutos más tarde, el asistente personal de Liam en Londres le buscaba un pasaje a Buenos Aires, en el primer vuelo disponible.




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  "Roger" Nores y Liam Payne

  Hoy, “Roger” Nores está procesado por la jueza Laura Bruniard el homicidio culposo de Liam, junto con otros cuatro acusados más, señalados por la jueza Laura
  Bruniard por venderle cocaína al cantante y garantizar su muerte con sus imprudencias. Nores fue definido como “un garante” de Liam en su estadía en el país. Ante la
  jueza, en un descargo escrito, el empresario negó cualquier rol formal con el ex One Direction, al que solo lo unía un lazo de amistad, sin ningún contrato de por
  medio.

  Según declaró el jefe de recepción Esteban Grassi, también procesado por el homicidio culposo, Nores se presentó en el CasaSur como “el manager de Payne”. Así lo
  marcaba, por ejemplo, un mail interno del hotel que entregó el acusado, publicado ayer por este medio.

  Payne padre conocería bien a Nores a mediados de 2024. El empresario aparece con fuerza en un momento de crisis. "Logramos mantenerlo, estabilizarlo, pero Liam
  no estaba mejorando. Estaba estable pero no mejoraba. En ese periodo, Liam recibía llamadas de Roger, yo no sabía quién era", continuó. El empresario, aseguró Payne
  padre, se ofreció a apoyar al ex One Direction “a cambio de nada”.

  Así, viajaron a Wellington, Florida, a una hora y media de viaje del aeropuerto de Miami, el punto clave del polo en Estados Unidos, donde un amigo de Nores
  controlaba varias canchas del deporte.

  “Nos quedamos 10 semanas ahí con Liam, los cuatro. Durante ese tiempo formamos un equipo con Roger y el guardaespaldas para la recuperación de Liam,
  siempre monitoreado por psicólogos y psiquiatras, todos contactos de Roger por lo que yo ahora no tengo sus datos. La novia de Liam iba y venía".

  Sin embargo, la simple amistad luego cambiaría, al menos, según Payne padre.


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  El mail interno del hotel CasaSur que señala a Nores como "manager" de Payne

  The circle of trust and “business”
  El vínculo entre Nores y Liam, con el correr del caso, se volvería una clave de la imputación.

  Payne padre afirmó:

  “Ellos dos tenían una relación de amistad. Es verdad que Roger este año gestionó reuniones para que Liam ingresara en el mercado laboral nuevamente, pero él
  decía que lo hacía para ayudarlo, no por algo a cambio ni con un contrato de por medio, buscaba sus relaciones nada más. Yo igualmente este último tiempo noté que
  Roger lo direccionaba a Liam para que se desarrollara más en los negocios que en su parte artística. Este cambio de dirección en lo laboral de Liam no era
  favorecedor para él, porque a él lo que le gustaba hacer y le hacía bien era hacer música", aseveró.

  Aquí, entra en juego otra pieza en el tablero, que no fue imputada por la Justicia: la supuesta novia de Nores.

  “Liam sabía que yo creía que era errado dejara la música por las inversiones. Cuando yo lo conocí a Roger, él estaba enfocado en el bienestar de Liam y lo creí genuino;
  luego, Roger cambió su enfoque cuando intentó integrar a su novia al circulo de confianza que teníamos con Liam, su novia, el guardaespaldas y yo”. La novia,
  incluso, apareció en Wellington.

  Al final, Payne padre ni siquiera supo en qué hotel se hospedaba Liam antes de su muerte.


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 One Direction Night - A Night For Liam in West Palm Beach is happening on Friday,January
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                             EXHIBIT G
           Confirmation of Palm Beach County Access to
                             Articles.
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                                            Exhibit G
   Confirmation of the Publication of Relevant Contents to Defendant Geoff Two Sworn
   Declaration being available in Palm Beach County Florida and confirming the accessibility
   to the content from Palm Beach County Florida.

         1. The below and other online articles and media/video posts were accessible and were viewable
            from Palm Beach County, Florida and are generally available to the public accessing from Palm
            Beach County Florida.

         2. Specific articles that accessed and viewed from Palm Beach County, Florida include:
               o Newsweek:
                          Article published on October 22, 2024 entitled :”New Details Emerge as Liam
                              Payne’s Dad helps with son’s death investigation”:
                              https://www.newsweek.com/liam-payne-dad-geoff-death-investigation-update-
                              1972993

                     o     Infobae.com:
                                Article published on November 30, 2024 entitled: “Liam Payne’s father gave the
                                  courts the main evidence to charge Rogelio Nores with the singer’s death.”
                                  https://www.infobae.com/sociedad/policiales/2024/11/30/el-padre-de-liam-
                                  payne-entrego-a-la-justicia-la-principal-prueba-para-imputar-a-rogelio-nores-por-
                                  la-muerte-del-cantante/

                                      Article published on January 9, 2025 entitled: “Revelations from Liam Payne’s
                                       father complicate the businessman prosecuted for the death of his son.”
                                       https://www.infobae.com/sociedad/policiales/2025/01/09/las-revelaciones-del-
                                       padre-de-liam-payne-que-complican-al-empresario-procesado-por-la-muerte-de-
                                       su-hijo/

                     o     Elespectador.com
                                Article published on November 30, 2024 entitled: “Liam Payne’s father showed
                                  key evidence against Rogelio Nores for the death of his son.”




   RN/F/Father Court/Compalint Exhibits – Exhibit G Declaration of Palm Beach
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                             EXHIBIT H
         Liam’s July 2024 one-year lease of residence in
        Wellington, Florida shared with Kate Cassidy (prior
         girlfriend) and Bledar Vata (prior bodyguard) in
                  September 2024. REDACTED.
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                              EXHIBIT I
       August 23-26, 2024 e-mails between Plaintiff and
     Defendant Geoff – Plaintiff confirms not responsible for
          Liam and Defendant Geoff acknowledgment
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    To: Roger Nores <                              >

    Cc: "geoff.payne.60" <                                  >, Liam Payne                           >,
    Ignacio Bard <                   >, Lawrence Engel                                         >

    Subject: Re: Past 4 months

    Thank you for your email Roger and apologies I missed your call on Friday evening.

    I’m not sure any purpose would be served by a response from me at this stage.

    ‘As discussed over the phone…’

    Just to be clear we didn't discuss anything over the phone as we didn't speak on Friday.

    Likewise, I’m copying Lawrence to keep him informed.

    Regards

    A

    Alan McEvoy

    Director LBM

    From my iPhone




    From: Roger Nores                                  >
    Sent: Friday, August 23, 2024 11:42 p.m.
    To: Alan McEvoy                >
    Cc: geoff.payne.60 <                                   >; Liam Payne                           >; Ignacio
    Bard <                    >
    Subject: Past 4 months

    Hey Alan,

    As discussed over the phone I wanted to send you a recap of the last 4 months.

    Liam stayed at my friend's ranch down in Palm beach and since the first day he arrived he was
    monitored and treated by professional doctors who specialize in addictions.

    He stayed fully clean without access to any hard drug during his whole stay.


                                                                                                                2
    RN/RNF/RNFD5004 emails August 23-26.2024
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    The plan was for him to work on the preparation for a music tour and stay healthy and busy with work.

    A plan he successfully followed during his whole stay in the US.

    I personally helped him close the Netflix building the band deal as instructed by him and he signed
    himself to CAA after going to their offices and meeting with their whole team multiple times.

    I never received any salary inspite of having paid for a big part of his expenses during his stay including a
    private jet trip down in South America.

    As you very well know I never sent an invoice for Liam to cover for my expenses either.

    I don't need to get reimbursed for my out of pocket expenses as I helped him out as a friend.

     Please note that now that he is back in the UK I decided to stop helping him as I don't live in Europe and
    frankly don't have the time anymore due to my business schedule.

    I'm really concerned for his well-being while he is out there and I hope you can bring professional
    doctors to check on his health regularly as soon as possible as I did while he was out in the US.

    I am going to stay fully out of the picture and disconnected from now on and I wish you all the best with
    Liam's health and career.

    I also wanted to point out I received a call from Bledar today asking me to stop a payment coming out
    of Liam's JPMorgan personal account.

    I wanted to make it very clear, Liam opened a personal account in JPMorgan by himself while he was in
    the US after meeting with JPMorgan representatives.

    I don't have and I never had access, nor I'm authorized to even view his personal account and I am
    certainly not going to get involved with any of Liam's personal financial decisions.

    I'm cc'ing Geoff and Liam as they can vouch for everything I am saying on this email.

    Also cc'ing my lawyers from DLA Piper to keep them informed.

    Thank you

    Kind regards

    Roger




                                                                                                               3
    RN/RNF/RNFD5004 emails August 23-26.2024
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                                                                              4
    RN/RNF/RNFD5004 emails August 23-26.2024
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                              EXHIBIT J
    Defendant Geoff Payne 1st Sworn Declaration – October
                          22, 2024
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                             EXHIBIT K
    Defendant Geoff Payne 2nd Sworn Declaration – October
                          25, 2024
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                             EXHIBIT L
     Screenshot of video call of July 30, 2024 between Liam
     and certain advisors about: (1) Liam moving to Florida;
        and (2) Liam moving his business operations and
             structure to Palm Beach County, Florida
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                                                Exhibit L –

    Screenshot of Video call on July 30, 2024 between Liam and certain advisors about (1) Liam moving to
    Florida and (2) Liam moving his business operations and structure to Palm Beach County, Florida
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                             EXHIBIT M
    Photo of Liam Payne and Niall Horan meeting together in
            Buenos Aires, Argentina in October 2024
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                                         Exhibit M –
    Photo of Liam Payne and Niall Horan meeting together in Buenos Aires, Argentina in
    October 2024. [Note that in the Exhibit M Paul Higgins Sworn Declaration at page 9/10 Mr.
    Higgins falsely stated that Liam Payne did not meet together with Niall Horan in October
    2024 in Buenos Aires, Argentina



    Liam Payne and Niall Horan meeting together in October 2024 in Buenos Aires, Argentina:




       1. Below is an extract from bottom of page 9 and top of page 10 of the Exhibit M Paul Higgins
          October 23, 2024 Sworn Decoration which is in Spanish and English.

       2. Mr. Higgins falsely stated that Liam Payne and Niall Horan did not meet in October 2024
          in Buenos Aires, Argentina because Niall Horan refused to meet with Liam Payne because
          Liam was using drugs. Mr. Higgins statement is simply false.
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    English Certified Translation:

    …that they were going to travel to Argentina to see Niall (Liam's ex-partner) and to renew his US visa. That
    seemed like a good plan to me because Niall is a very healthy person and I thought it was good for Liam
    to strengthen that relationship. I specifically asked Roger to look after Liam, that he could not consume
    alcohol or drugs, that he had to be looked after for his well-being, and also if the intention was for him to
    go back to work, because no one in the industry would work with him if he was unwell. Roger assured me
    at the time (September before traveling to Argentina) that Liam was clean, [that he was] not using alcohol
    or drugs. Roger asked me if I could please get him 15 tickets for Naill's concert. It seemed very strange to
    me because I realized that his intention to reunite Liam with Naill [sic] was not genuine, because otherwise
    you would not ask me for 15 tickets. That meeting did not occur because apparently, Naill [sic] refused to
    meet with Liam because he saw on social media that he was not well, he realized that he was using drugs.
    I watched those videos four days before Liam died, and I could tell by the way Liam moved that he was
    unwell.

    Spanish Original Version:

    que iban a viajar a Argentina para ver a Niall (ex compafiero de Liam) y para renovar su visa Americana.
    Eso me parecio un buen plan porque Niall es una persona muy sana y me parecia que estaba bueno que
    Liam fortaleciera esa relacion. Yo expresamente le pedi a Roger que cuidara a Liam, que no podia consumir
    alcohol ni drogas, que habia que cuidarlo por su bienestar y tambien si la idea era que volviera a trabajar
    porque nadie de la industria iba a trabajar con el si estaba mal. Roger me aseguro en ese momento
    (septiembre previo a viajar a Argentina) que Liam estaba limpio, no consumia alcohol ni drogas. Roger me
    pidio por favor si le conseguia 15 tickets para el recital de Naill. A mi me parecio muy raro porque me di
    cuenta que su intencion de reunir a Liam con Naill, no era genuina, porque sino, no me pedis 15 tickets.
    Ese encuentro no existio porque aparentemente Naill rechazo a Liam porque veia en las redes sociales
    que el no estaba bien, se dio cuenta que estaba consumiendo. Yo cuatro dias antes de la muerte de Liam
    vi esos videos, y me di cuenta por la forma de moverse de Liam que estaba mal.
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                                                                            Certified Translation

…that they were going to travel to Argentina to see Niall (Liam's ex-partner) and to renew his US visa. That seemed like a
good plan to me because Niall is a very healthy person and I thought it was good for Liam to strengthen that relationship. I
specifically asked Roger to look after Liam, that he could not consume alcohol or drugs, that he had to be looked after for his
well-being, and also if the intention was for him to go back to work, because no one in the industry would work with him if he
was unwell. Roger assured me at the time (September before traveling to Argentina) that Liam was clean, [that he was] not
using alcohol or drugs. Roger asked me if I could please get him 15 tickets for Naill's concert. It seemed very strange to me
because I realized that his intention to reunite Liam with Naill [sic] was not genuine, because otherwise you would not ask me
for 15 tickets. That meeting did not occur because apparently, Naill [sic] refused to meet with Liam because he saw on social
media that he was not well, he realized that he was using drugs. I watched those videos four days before Liam died, and I
could tell by the way Liam moved that he was unwell.
_____________________________________________________________________________________________________________________________
                                                               CERTIFICATION: Translation from Spanish into English
I, Diego D. Rodriguez, a professional translator with over 20 years of experience in the translation business, member number 231266 of the American Translators Association,
President and Director of Tranlanguage Inc., a certified translation services company duly incorporated in the State of Florida, hereby certify the foregoing to be a translation made
by a professional and qualified translator, fluent in the abovementioned languages and experienced in the translation of this type of documents. To the best of my knowledge and
belief, this translator produced a true and accurate translation of the pertinent part of the photocopy of the source document, which is attached hereto. This certification does not cover
the legitimacy of the source document nor the truthfulness of the information contained therein. In witness whereof, I set my hand and seal on January 13, 2025.
_____________________________________________________________________________________________________________________________




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   …que iban a viajar a Argentina para ver a Niall (ex compañero de Liam) y para renovar su visa americana.
   Eso me pareció un buen plan porque Niall es una persona muy sana y me parecía que estaba bueno que
   Liam fortaleciera esa relación. Yo expresamente le pedí a Roger que cuidara a Liam, que no podía
   consumir alcohol ni drogas, que había que cuidarlo por su bienestar y también si la idea era que volviera
   a trabajar porque nadie de la industria iba a trabajar con él si estaba mal. Roger me aseguro en ese
   momento (septiembre previo a viajar a Argentina) que Liam estaba limpio, no consumía alcohol ni
   drogas. Roger me pidió por favor si le conseguía 15 tickets para el recital de Naill. A mí me pareció muy
   raro porque me di cuenta que su intención de reunir a Liam con Naill, no era genuina, porque sino, no
   me pedís 15 tickets. Ese encuentro no existió porque aparentemente Naill rechazo a Liam porque veía
   en las redes sociales que él no estaba bien, se dio cuenta que estaba consumiendo. Yo cuatro días antes
   de la muerte de Liam vi esos videos, y me di cuenta por la forma de moverse de Liam que estaba mal.
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                                       EXHIBIT N –
      January 10, 2025 email from English Counsel Bray & Krais acting as counsel for Defendant
                                              Geoff
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    From: Simon Goodbody <simong@brayandkrais.com>
    Sent: Friday, January 10, 2025 6:18 PM
    To: James Whisenand <jdw@w-tgroup.com>
    Cc: Richard Bray <richard@brayandkrais.com>; Udo Onwere <udo@brayandkrais.com>; Catherine
    Rogers <catherine@brayandkrais.com>
    Subject: Geoff Payne - Rogelio Nores

    Dear Mr Whisenand

    We are instructed by the Estate of Liam Payne.

    Liam’s father, Geoff Payne (“GP”), has provided us with a copy of your two letters to him dated
    8 January 2025 (copies attached) and the various related enclosures.

    Your correspondence purports to express condolence and sympathy for GP’s loss, before
    seeking to articulate the basis for a claim in defamation against GP on behalf of Rogelio Nores
    in consequence of the evidence provided by GP to the Argentinian authorities in support of their
    investigation into the death of Liam Payne.

    The statements of which your client complains were not enclosed with your correspondence
    (despite the suggestion that they were to appear as appendices to your second
    letter). Nonetheless, you suggest that Mr Nores has suffered irreparable damage and monetary
    damages in excess of $10m, with daily damages “in excess of $100,000”, and invite GP to
    withdraw substantial parts of the evidence which he has provided to the authorities.

    We are deeply concerned by your client’s actions. Quite apart from the obviously distasteful
    nature of your client’s decision to engage lawyers to send threating and upsetting
    correspondence to GP at a time when he and his wider family are overwhelmed by the most
    profound grief, it seems to us that your client is seeking to interfere with a Police investigation by
    pressuring GP to change his evidence. If that is right, and your client does not urgently
    reconsider his position, we will be compelled to bring his actions to the attention of the
    Argentinian authorities.

    The Estate is also extremely concerned by the effect of your client’s actions on Liam Payne’s
    son, Bear Payne (the sole beneficiary of Liam Payne’s Estate). The suggestion that Mr Nores
    will “donate the net financial proceeds paid for the benefit of Liam’s son” is pointless and of no
    comfort when compared to the irreparable damage that would be done to Bear if your client
    were to initiate a public claim against his grandfather when he is trying to process the loss of his
    father. Mr Nores cannot pretend that he has Bear’s best interests at heart.

    The Estate could not take this matter more seriously. It has therefore taken the decision to
    support GP in this matter. GP denies, in the strongest possible terms, that he has defamed or
    otherwise caused any harm to your client (in the manner set out by your correspondence of 8
    January 2025 or otherwise). If compelled to do so, he will instruct counsel in Florida to deal with
    any claims which Mr Nores maintains. The Estate will also take whatever steps are necessary
    to preserve the integrity of the Police investigation in Argentina.

    In all the circumstances, we invite your client to voluntarily withdraw his claims such that the
    parties may draw a line under this regrettable episode now. Please take instructions and let us
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    know his position by close of business on Monday 13 January 2025. Absent an affirmative
    response from you at that time, we will pick this matter up with counsel in Argentina and Florida
    (the latter who will be engaged to respond substantively to the allegations which have been
    advanced by your correspondence to date).

    We look forward to hearing from you. In the meantime, all our client’s and GP’s rights and
    remedies in this matter are, and will remain, fully and expressly reserved.

    Yours faithfully

    Bray & Krais


    Simon Goodbody
    Partner
    Bray & Krais
    Suites 9 & 10
    Fulham Business Exchange
    The Boulevard
    Imperial Wharf
    London SW6 2TL

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    Mob: +44 (0)7799 895993
    www.brayandkrais.com
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                                      EXHIBIT O –
           January 13, 2025 email from Plaintiff’s Counsel to Defendant Geoff’s Counsel
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    From: James Whisenand
    Sent: Monday, January 13, 2025 1:37 PM
    To: 'Simon Goodbody' <simong@brayandkrais.com>
    Subject: RE: Geoff Payne - Rogelio Nores

    Dear Mr. Goodbody.

    Thank you for your note.

    If you have any information documents or independent corroboration that proves the contents of the
    January 8, 2025 letter to Mr. Payne inaccurate in any respect, please forward the information and
    documents at your earliest convenience

    Unless you have already done so, it would be most appreciated if you would please do a detailed and
    complete due diligence review of each paragraph of the Geoff Payne declarations of October 22 and 25,
    2024. The purpose is to do post sworn declaration signing deliberative due diligence to ascertain
    whether the statements in the 2 Geoff Payne sworn declarations are false in any respect, omit material
    information and documents which omission makes the declaration false and misleading, are self-
    incriminating to the author, are internally inconsistent, are not made on personal knowledge rather or
    made on rumor and hearsay and to establish any verifiable independent corroboration of each
    paragraph the sworn statements made.

    If this important exercise has not been done, I respectfully urge you to do so. If it has been done and you
    believe the results support the veracity of the 2 sworn declarations, please forward the information and
    documents forthwith.

    As stated in the January 8, 2025 letter, we believe that some important parts of each declaration are
    false and clear fiction. As published false and clear fiction, the statements are defamatory per se causing
    injury and damage to Mr. Nores and his reputation on a continuing daily basis.

    As an example Geoff Payne omitted the August 23-26, 2024 email exchange with Mr. Nores and the
    many people copied in which Mr. Nores made it crystal clear he was not involved in the care of Liam. If
    you have information and documents to the contrary please forward to me forthwith.

    Furthermore, the “another psychiatrist” reference in Mr. Payne’s 2nd Sworn Declaration is pure fiction. It
    is inconceivable that Mr. Payne has personal knowledge of this false assertion. It is inconceivable that
    Mr. Payne has any ability to have independent corroborative evidence. Liam and Roger Nores never met
    with any psychiatrist after September 16, 2024. It is complete fiction. If you have information and
    documents to the contrary please forward to me forthwith.

    You as an attorney have a duty of care to ensure that any sworn declaration is truthful and accurate and
    a duty of care to correct any false sworn declarations. Please do so immediately. The failure to conduct
    this due diligence and to allow the 2 false sworn declarations to be perpetuated raises serious issues.

    This a tragic situation in all respects for all people. We respectfully request your assistance in handling
    this matter correctly with a mutually agreed retraction or clarification which contains accurate facts
    supported by independent corroboration.
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    If you have any of the requested information to provide, please provide it forthwith.

    Kind regards

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